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                          Exhibit 002
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       Expert Report & Declaration on Sunni
              Militant Organizations

    Martino, et al., v. Islamic Republic of Iran

          Dr. Daveed Gartenstein-Ross
       Chief Executive Officer, Valens Global
                November 29, 2023
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I.       Introduction

I have been retained by the Plaintiffs to provide expert opinions on the Islamic Republic of Iran’s
historical use of violent non-state actors (VNSAs) as proxy forces; the emergence and evolution of
Sunni VNSAs in Iraq following the 2003 U.S. invasion; the emergence and evolution of al-Qaeda in
Iraq (which I refer to as the Zarqawi organization throughout this report); and Iran’s material support to
Sunni VNSAs in Iraq, including the Zarqawi organization and Ansar al-Islam/Ansar al-Sunna.

Relying on my background, education, training, and experience, as well as substantial evidence
commonly used by experts in relevant fields, it is my expert opinion, to a reasonable degree of
professional certainty, that:

     ● The Islamic Republic of Iran has an extensive history of using VNSAs as proxy groups to
       advance its foreign policy goals. Among other things, Iran has used these groups to launch
       attacks against U.S. forces in Iraq while retaining a degree of plausible deniability. The Islamic
       Republic has backed militant groups that include al-Qaeda, the Zarqawi organization (aka al-
       Qaeda in Iraq), and Ansar al-Islam/Ansar al-Sunna, when such support aligned with Iran’s state
       interests.

     ● From as early as the 1990s through the present, Iran provided substantial support to al-Qaeda,
       the Zarqawi organization, and Ansar al-Islam/Ansar al-Sunna, in the form of training, financial
       support, weapons, safe haven, lodging, travel and transportation, and expert knowledge and
       assistance in tactics, techniques, procedures, and attack planning. Iranian support to al-Qaeda
       also enabled al-Qaeda to support the Zarqawi organization and Ansar al-Islam/Ansar al-Sunna.

The following sections of this report explain how I reached these conclusions. Section II overviews
my qualifications and methodology. In Section III, I provide a history of the Zarqawi organization in
its various iterations throughout the Iraq War. Section IV covers Iranian support for al-Qaeda. Section
V turns to Iranian support for the Zarqawi organization. Section VI outlines the emergence and
evolution of Ansar al-Islam/Ansar al-Sunna, as well as the support Iran provided to the group. Finally,
Section VII highlights my principal conclusions.

II.      Qualifications
This section describes my professional background, then discusses the methods I employ in analyzing
terrorist groups and violent non-state actors (VNSAs). Then I discuss the framework I employ for
understanding VNSAs, and the significance of the method I employ to evaluate factual assertions.

Professional Background
My professional life has been dedicated to understanding VNSAs’ role in the world and to helping
policymakers, government agencies, private companies, and others fashion innovative solutions to the
challenges that VNSAs pose. I am the Chief Executive Officer of Valens Global, a private commercial
firm, and hold appointments at think tanks in the United States and Europe. I am a Senior Advisor
on Asymmetric Warfare at the Foundation for Defense of Democracies (FDD), a nonpartisan policy
institute in Washington, D.C., with which I have been affiliated for 16 years. 1 I am also an Associate

1 I served as FDD’s Vice President of Research (2007-10), then as a Senior Fellow (2010-18), and a Non-Resident Fellow

(2018-19). For a sense of the work I have undertaken for FDD, see the following books and studies that I authored for



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Fellow at the International Centre for Counter-Terrorism – The Hague (ICCT). I have authored
several studies for ICCT, some of which required international field research. 2 Past positions that I
have held include Senior Advisor to the Director of the U.S. Department of Homeland Security’s
Office for Community Partnerships (2016-17) and Fellow at Jigsaw, a tech incubator within Google
with the mission of exploring threats to open societies and building technology that inspires scalable
solutions. I led several major projects responding to violent extremists’ use of online platforms for
Jigsaw.3

I have experience teaching, leading national-security simulations, and lecturing at the university level.
I serve as an Adjunct Instructor at Duke University (2021-present) and as an Instructor at Carnegie
Mellon University (2022-present). From 2013-17, I held an appointment as an Adjunct Assistant
Professor in Georgetown University’s Security Studies Program, where I taught a graduate course on
violent non-state actors. I also held an appointment as a Lecturer at the Catholic University of
America, where I taught a graduate course on violent non-state actors and an undergraduate course
on al-Qaeda and its affiliates. I have also taught classes for, or held faculty appointments at, the
University of Southern California (teaching for the school’s Executive Program in Counterterrorism)
and the University of Maryland (Faculty Research Assistant in the Institute for Advanced Computer
Studies, 2013-14).

I have been contracted to design and lead national-security simulations (also known as war games) for
numerous colleges and universities, including American University, Carnegie Mellon University, Duke
University, Georgetown University, Johns Hopkins University, National Defense University, Regent
University, the University of North Carolina at Chapel Hill, and Wake Forest University. Several of
our simulations involve central challenges focused on the Zarqawi organization. In addition to running
these simulations for academic institutions, I have designed and led simulations for government
agencies (including the U.S. State Department’s Foreign Service Institute and Canada’s Department
of National Defence), multilateral institutions (e.g., the Global Counterterrorism Forum), and think
tanks (e.g., the Foundation for Defense of Democracies).

I have also delivered presentations at or for a number of colleges, universities, and academic
conferences, including the American Political Science Association Annual Meeting, the Association
for the Study of the Middle East and Africa Annual Conference, Campbell University (Buies Creek,
N.C.), Campbellsville University (Campbellsville, Ky.), Columbus State University (Columbus, Ga.),
the George C. Marshall European Center for Security Studies (Garmisch, Germany), Georgia State
University (Atlanta, Ga.), Harvard Law School, High Point University (High Point, N.C.), the U.S.
Marine Corps Command and Staff College (Quantico, Va.), the National Defence College (Abu

the institute, or for which I served as a volume editor: Daveed Gartenstein-Ross et al., Evolving Terror: The Development of
Jihadist Operations Targeting Western Interests in Africa (Washington, D.C.: FDD Press, 2018); Daveed Gartenstein-Ross et al.,
Islamic State 2021: Possible Futures in North and West Africa (Washington, D.C.: FDD Press, 2017); Daveed Gartenstein-Ross
& Jonathan Schanzer eds., Allies, Adversaries and Enemies: America’s Increasingly Complex Alliances (Washington, D.C.: FDD
Press, 2014).
2 See Daveed Gartenstein-Ross et al., The Islamic State’s Global Propaganda Strategy (The Hague: ICCT – The Hague, 2016);

Daveed Gartenstein-Ross et al., Raising the Stakes: Ansar al-Sharia in Tunisia’s Shift to Jihad (The Hague: ICCT – The Hague,
2014); Daveed Gartenstein-Ross, Ansar al-Sharia Tunisia’s Long Game: Dawa, Hisba, and Jihad (The Hague: ICCT – The
Hague, 2013).
3 Much of the work I undertook for Jigsaw/Google remains confidential, but one project, known as the Redirect Method,

has been made public. See Andy Greenberg, “Google’s Clever Plan to Stop Aspiring ISIS Recruits,” Wired, September 7,
2016. Jigsaw maintains a website that explains the Redirect Method at https://redirectmethod.org/. I led Valens Global’s
efforts to map the counter-ISIS narrative space on YouTube for this project.


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Dhabi), the United States Naval Academy (Annapolis, Md.), the New York University School of Law,
O.P. Jindal Global University (Sonipat, India), Universität Tübingen (Tübingen, Germany), and
Uppsala University (Uppsala, Sweden). A number of these presentations have been about the Zarqawi
organization and Iraq.

I hold a Ph.D. and M.A. in World Politics from the Catholic University of America, a J.D., magna cum
laude, from the New York University School of Law, and a B.A. with Honors, magna cum laude, from
Wake Forest University. I also hold a 10,000 Small Businesses Certificate of Entrepreneurship, which
I received from a program sponsored by the Goldman Sachs Foundation (classes held at Babson
College, in Wellesley, Mass.).

As part of my topical research, which began in approximately 1995 during my undergraduate studies,
I have traveled overseas to conduct field research or do professional work in numerous countries. I
have reviewed thousands of open-source documents about jihadist VNSAs in English, French, Italian,
Spanish, and Arabic. I have served as a consultant and expert on terrorism and national security issues
for the U.S., Canadian, and Dutch governments, NATO, the European Union, the Global
Counterterrorism Forum, and private organizations. In the course of this work, I have been certified
by governmental bodies as an expert on terrorism and violent non-state actors on numerous occasions,
including for the following projects:

        serving as a Subject-Matter Expert (SME) for U.S. Customs and Border Protection (2017-
         present). My work has included delivering open-source strategic reports about sub-state
         violence, including on Iran’s influence in Iraq and Syria and the Zarqawi organization’s
         activities; and delivering training and high-level briefings for officials and analysts.
        leading Valens Global’s efforts to support the drafting, threat assessment, and crafting of
         priority actions for the U.S. Department of Homeland Security’s Strategic Framework for
         Countering Terrorism and Targeted Violence, which was released in September 2019 and has
         subsequently guided DHS’s approach to confronting terrorism. That document received
         widespread acclaim, with The New York Times editorializing that the document “focuses
         unapologetically on right-wing terrorism, particularly white supremacist extremism,” which
         constitutes “a shift that is both urgently needed and long overdue.” 4
        serving as a co-Principal Investigator for a one-year, $154,921 grant funded by the National
         Counterterrorism Innovation, Technology, and Education Center (NCITE) to assess the
         benefits of simulations and wargames for Homeland Security Enterprise workforce
         development.
        serving as a co-Principal Investigator for a three-year, $1.5 million project for the Office of
         Naval Research using big data to analyze relationships among terrorist groups and anticipate
         where fractures are likely to occur in terrorist organizations. The data collected for this project
         included the full range of terrorist groups active in Iraq.
        serving as the Principal Investigator for eleven different grant-funded research projects related
         to terrorism and VNSAs for the Mobilizing Insights in Defense and Security (MINDS)
         program funded by Canada’s Department of National Defence, as well as its predecessor



4 Alex Kingsbury (editorial board member), “Rethinking Counterterrorism,” The New York Times, September 23, 2019.




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         program. The grants, awarded from 2016-21, included a study on the Islamic State’s (ISIS)
         possible futures in North and West Africa.5
        designing and delivering a lecture titled “Jihadist Propaganda and the Rise of ISIS” for the
         U.S. State Department’s Islam & the Muslim World (AR194) course, from June 2020 to
         present.
        designing and delivering lectures on global terrorism for the U.S. Army Corps of Engineers’
         Individual Terrorism Awareness Course (INTAC), for which I have been one of the lead
         instructors since June 2016. This course included discussion of the Zarqawi organization and
         Iraq.
        lecturing for U.S. Army units about to deploy to dangerous countries, including Iraq, through
         the Naval Postgraduate School’s Center for Civil-Military Relations (CCMR), for which I
         taught on over 70 occasions since 2009.
        serving as a SME providing analysis to the U.S. Department of Defense’s Joint Improvised
         Threat Defeat Organization (JIDO) four times, including on a project examining possible
         futures of the Zarqawi organization.
        serving as a SME on seven separate initiatives for the Global Counterterrorism Forum
         (GCTF). For example, I was the lead SME for the Berlin Memorandum on Good Practices for
         Countering Terrorist Use of Unmanned Aerial Systems.6 Other initiatives for which I served as a high-
         level SME for GCTF have pertained to watch-listing, maritime terrorist travel, and racially or
         ethnically motivated violent extremism.
        serving as the Principal Investigator in 2016-17 for two VNSA-related projects for NATO. In
         the first, I authored a study proposing a new methodology for monitoring and evaluation
         (M&E) of counterterrorism capacity-building efforts. In the second, I played a lead role in
         designing a demo for software capable of tracking M&E of future counterterrorism capacity
         building missions.
        organizing and facilitating a 2016 conference in Nigeria, as a European Union-appointed
         Strategic Communication Expert, helping civil society activists to understand terrorist groups’
         use of social media and to forge a strategic action plan for countering it. The key terrorist
         group of interest was the Zarqawi organization-aligned Boko Haram.
        serving as a SME for the U.S. Department of State’s Office of Anti-Terrorism Assistance,
         designing curriculum and leading instruction for the organization.
        leading training for the U.S. Department of Justice’s Anti-Terrorism Advisory Council
         (ATAC) four times.

I have also been court-certified to testify as an expert witness or serve as a litigation consultant on
terrorism and jihadist groups in the following federal cases:

        On ten occasions, I have been admitted as an expert witness on the Zarqawi organization (also
         known as ISIS or al-Qaeda in Iraq). In 2023, I have been admitted as an expert witness on the


5 ISIS/the Islamic State is the most recent rebranding employed by the Zarqawi organization, as this report discusses

subsequently.
6 GCTF is an international forum consisting of 29 countries and the European Union that describes its mission as

“reducing the vulnerability of people worldwide to terrorism by preventing, combating, and prosecuting terrorist acts and
countering incitement and recruitment to terrorism.”



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         Zarqawi organization in Baarbé v. Syrian Arab Republic and Mueller v. Syrian Arab Republic.7 In
         2022, I was admitted as an expert witness on the Zarqawi organization in Est. of Parhamovich v.
         Syrian Arab Republic (D.D.C. 2022); Fishbeck v. Islamic Republic of Iran (D.D.C. 2022); and
         Neiberger v. Islamic Republic of Iran (D.D.C. 2022).8 In United States v. Young (E.D. Va. 2017), the
         first criminal prosecution of a U.S. law enforcement officer for material support for ISIS, I
         served as an expert witness for the prosecution. The defense raised a Daubert challenge, and
         my expertise was affirmed by the District Court based on my background, “extensive academic
         credentials,” and “the fact that the United States government uses him for training in these
         areas.” The United States Court of Appeals for the Fourth Circuit affirmed the District Court
         on appeal, noting that the lower court “reached a reasonable decision in qualifying Dr.
         Gartenstein-Ross based on his extensive credentials and areas of expertise.”9 I also served as
         an expert witness on the Zarqawi organization in Sotloff v. Syrian Arab Republic (D.D.C. 2021),
         Doe v. Syrian Arab Republic (D.D.C. 2020), and Foley v. Syrian Arab Republic (D.D.C. 2017).10

7 See Baarbé v. Syrian Arab Republic, No. 5:20-CV-230-BO, 2023 WL 4236184 (E.D.N.C. June 28, 2023); Mueller v. Syrian

Arab Republic, No. 1:18-cv-01229-CJN, 2023 WL 1398434 (D.D.C. Jan. 31, 2023).
8 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61 (GMH), 2022 WL 18071921, at *5 n.5 (D.D.C. Dec. 28, 2022)

(“The Court finds that Dr. Daveed Gartenstein-Ross is qualified as an expert on issues related to terrorist groups operating
in Iraq. He currently serves as Chief Executive Officer of Valens Global, is a Non-Resident Fellow at the Foundation for
the Defense of Democracies, and an Associate Fellow at the International Centre for Counter-Terrorism at The Hague.
He has been qualified as an expert witness in federal court on issues related to the Zarqawi organization and other terrorist
groups and related issues in federal court. Dr. Gartenstein-Ross has testified before multiple House and Senate
Committees, the United Nations, European Parliament, and the Canadian House of Commons”); Tr. of Evid. Hr’g at
130:11-12, Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C. Sept. 12, 2022); Neiberger v. Islamic Republic of
Iran, No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), report and recommendation adopted, No.
16-cv-2193-EGS, 2022 WL 17370160 (D.D.C. Sept. 30, 2022). See also Fields v. Syrian Arab Republic, No. 18-cv-1437-RJL,
2021 WL 9244135, at *1 n. 1 (D.D.C. Sept. 29, 2021) (“Dr. Gartenstein-Ross is the Chief Executive Officer of Valens
Global, a private commercial firm focused on analyzing violent non-state actors. Gartenstein Report at 1. He holds a Ph.D.
and M.A. in World Politics from the Catholic University of America, as well as a J.D. from the New York University
School of Law. Id. at 2. He has a robust background in studying and publishing articles on the Zarqawi organization and
has been accepted as an expert on Syria’s support for ISIS in other federal courts…. As such, I find that Dr. Gartenstein-
Ross is qualified as an expert in Syria’s relationship with and support of ISIS”).
9 United States v. Young, 916 F.3d 368, 380 (4th Cir. 2019)
10 See Sotloff v. Syrian Arab Republic, 525 F. Supp. 3d 121, 133 (D.D.C. 2021) (“The first expert, Dr. Daveed Gartenstein-

Ross, is an anti-terrorism scholar and author who has worked, in various capacities, on issues related to violent non-state
actors for over a decade. Gartenstein-Ross Hr’g Tr. 13:1–12. He has testified as an expert on terrorism and jihadist groups
in many courts, including in this District. The Court qualified him as an expert on violent non-state actors generally, ISIS’s
evolution from its predecessor organizations, and ISIS’s material supporters”) (citation omitted); Doe v. Syrian Arab Republic,
No. 18-CV-0066-KBJ, 2020 WL 5422844, at *9 n. 7 (D.D.C. Sept. 10, 2020) (“The undersigned finds that Dr. Gartenstein-
Ross is qualified as an expert in the areas of terrorism and jihadist groups. He has been qualified in federal courts on six
occasions in those fields. In addition, he has also testified in five hearings directly related to ISIS before the U.S. House
and Senate. He has taught related topics at Georgetown University, Catholic University, University of Southern California,
and University of Maryland. He received his Ph.D. and M.A. in World Politics from Catholic University and a J.D. from
New York School of Law. As a result of his work, Dr. Gartenstein-Ross has been certified by governmental organizations
as an expert on terrorism and jihadist groups, including the U.S. Customs and Border Protection and the U.S. Department
of Defense’s Joint Improvised-Threat Defeat Organization. He is presently the Chief Executive Officer of Valens Global,
a firm focused on responses to violent non-state actors, a Senior Advisor on Asymmetric Warfare at the Foundation for
Defense of Democracies, and an Associate Fellow at the International Centre for Counter-Terrorism. He also served as a
Senior Advisor to the Director of the U.S. Department of Homeland Security’s Office for Community Partnerships from
2016-2017”); Foley v. Syrian Arab Republic, 249 F. Supp.3d 186, 193 n.4 (D.D.C. 2017) (“Having considered the requirements
set forth in Federal Rule of Evidence 702 for the admission of expert testimony, the Court qualified Daveed Gartenstein-
Ross as an expert in the evolution of the history of terrorist organizations and their claims of responsibility for acts of
terrorism”).



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        I served as an expert witness on al-Qaeda in two separate cases: Bernhardt v. Islamic Republic of
         Iran, No. 18-2739 (D.D.C. 2023), and In the Matter of B.O. in Removal Proceedings (Boston
         Immigration Court 2012).11
        In United States v. Abdul Kareem (D. Ariz. 2016), I served as a litigation consultant for the
         defense. The defendant was accused of conspiring to support a Zarqawi organization/ISIS
         attack in the United States in 2015.
        In Fritz v. Islamic Republic of Iran (D.D.C. 2018), I served as an expert witness on the Iraqi Shia
         group Asaib Ahl al-Haq.12
        I have been admitted as an expert witness on the Taliban in two separate cases: Selig v. Islamic
         Republic of Iran (D.D.C. 2021) and In the Matter of Abdul Qadir (Arlington, Va. Immigration
         Court 2015).13
        I served as an expert witness on al-Shabaab (a Somalia-based al-Qaeda affiliate) in the
         following cases: In the Matter of A.A.W. (Bloomington, Minnesota Immigration Court 2021),
         In the Matter of A.D. (Memphis, Tenn. Immigration Court, 2012), In the Matter of A.A.I.
         (Colorado Immigration Court, 2011), In the Matter of the Application for Withholding of A.A.M.
         (Boston Immigration Court 2011), and In the Matter of the Application for Asylum of M.A.A. (N.J.
         Immigration Court 2009).

In addition to the aforementioned work that required my certification as an expert, I have undertaken
a considerable amount of relevant professional work for various clients. A small sample of this work
includes:

        I have served as a consultant for the Anti-Defamation League, playing a lead role in producing
         reports on extremist groups and leading training for domestic law enforcement (2016-present).
        I have produced country-specific and actor-specific analytic reports for three firms in the oil
         and gas industry—Check-Six, Equinor, and Tullow Oil—that needed to make investment
         decisions related to VNSAs, or to protect their facilities and personnel in various locations
         (2014-15).

11 See Bernhardt v. Islamic Republic of Iran, No. 18-cv-2739-TJK, 2023 WL 2598677, at *8 n.7 (D.D.C. Mar. 22, 2023). The

Court wrote: “Gartenstein-Ross’s report is based on his extensive knowledge, experience, training, and education
concerning violent non-state actors, see ECF No. 48-1 at 4-15, and his comprehensive review of the relevant primary and
secondary sources on the matter, id. at 15-16. Consistent with the well-established practice of courts in this Circuit, and
‘[c]onsidering the requirements of Federal Rule of Evidence 702, the Court [finds] Dr. Gartenstein-Ross qualified to offer
the opinions relied upon herein as an expert on Iranian support for violent non-state actors . . . .’ See Neiberger v. Islamic
Republic of Iran, No. 16-cv-2193 (EGS/ZMF), 2022 WL 17370239, at *3 n.2 (D.D.C. Sept. 8, 2022) (collecting cases), report
and recommendation adopted, 2022 WL 17370160 (D.D.C. Sept. 30, 2022); see also, e.g., Fritz v. Islamic Republic of Iran, 320 F.
Supp. 3d 48, 63 (D.D.C. 2018) (‘credit[ing] Dr. Gartenstein-Ross’s expert opinion that Iran provided significant material
support’ (citation omitted)); Foley v. Syrian Arab Republic, 249 F. Supp. 3d 186, 193 (D.D.C. 2017) (‘qualif[ying] Daveed
Gartenstein-Ross as an expert in the evolution of the history of terrorist organizations and their claims of responsibility
for acts of terrorism’).”
12 Fritz v. Islamic Republic of Iran, 320 F. Supp .3d 48, 58 n.2 (D.D.C. 2018) (“Many of the Court’s findings in this section

are derived from the testimony and expert reports of Dr. Matthew Levitt and Dr. Daveed Gartenstein-Ross. Having
considered the requirements of Federal Rule of Evidence 702, the Court qualified … Dr. Gartenstein-Ross as an expert
on (1) violent non-state actors, including identifying and analyzing online content generated by violent non-state actors;
(2) Iran’s use of proxy organizations in Iraq from the 1990s to 2012; and (3) Iraqi Shia militias in general and AAH in
particular”)
13 See Selig v. Islamic Republic of Iran, 573 F. Supp. 3d 40, 51 n. 1 (D.D.C. 2021) (“The Court has reviewed the qualifications

of Plaintiffs’ experts and is satisfied that each is qualified to offer the opinions discussed below. See Gartenstein-Ross Rep.
at 2–9 (listing qualifications)”).


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       I led training for analysts about Sunni terrorist groups in the Horn of Africa for the contractor
        BAE Systems (2011).
       I served as a Subject Matter Consultant to the private security firm Corporate Risk
        International during a hostage negotiation with the Iraq-based group Asaib Ahl al-Haq (2008-
        09).

I have testified about my areas of core competency before the U.S. House and Senate more than a
dozen times, and before the European Parliament and Canadian House of Commons. Additionally, I
am an author with specialized knowledge about violent non-state actors, and in particular about the
Zarqawi organization. I am the author or volume editor of over thirty books and monographs, and I
have written extensively on these topics in peer-reviewed academic publications and the mainstream
press. Some selections that pertain to the key issues in this case include:

Books and Monographs
    Enemies Near and Far: How Jihadist Groups Strategize, Plot and Learn (Columbia University Press,
       2022).
    Islamic State 2021: Possible Futures in North and West Africa (with J. Zenn and N. Barr), Foundation
       for Defense of Democracies, 2017.
    The Islamic State’s Global Propaganda Strategy (with N. Barr and B. Moreng), ICCT—The Hague,
       2016.
    The War Between the Islamic State and al-Qaeda: Strategic Dimensions of a Patricidal Conflict (with J.
       Fritz, B. Moreng and N. Barr), New America Foundation, 2015.
    Bin Laden’s Legacy (New York: John Wiley & Sons, 2011).

Book Chapters
    “Jihadism in the Post-Arab Spring Maghreb,” in S. King & A. Magraoui eds., The Lure of
      Authoritarianism: The Maghreb After the Arab Spring (Indiana University Press, 2019).
    “The United States’ Post-9/11 Fight Against al-Qa’ida and the Islamic State: A Losing Effort
      in Search of a Change,” in David W. Lesch & Mark L. Haas eds., The Middle East and the United
      States: History, Politics and Ideologies 6th ed., Routledge 2018.
    “The Genesis, Rise, and Uncertain Future of al-Qaeda,” in R. Law ed., The Routledge History of
      Terrorism (Routledge, 2015).
    “The Legacy of Osama bin Laden’s Strategy,” in David Kamien ed., The McGraw-Hill Homeland
      Security Handbook (New York: McGraw-Hill, 2012).

Academic and Technical Publications
    “Understanding Shifting Triadic Relationships in the Al-Qaeda/ISIS Faction Ecosystem”
      (with V.S. Subrahmanian et al.), IEEE Transactions on Computational Social Systems, September
      23, 2020.
    “When Jihadist Factions Split: A Data-Driven Network Analysis” (with S. Hodgson et al.),
      Studies in Conflict & Terrorism, 2019.
    “Fluidity of the Fringes: Prior Extremist Involvement as a Radicalization Pathway” (with M.
      Blackman), Studies in Conflict & Terrorism, 2019.
    “How al-Qaeda Works: The Jihadist Group’s Evolving Organizational Design” (with N. Barr),
      Current Trends in Islamist Ideology, May 30, 2018.



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      “We Squeezed the Balloon: As ISIL Collapses, Jihadism Remains in a Growth Phase,”
       symposium contribution, Texas National Security Review, March 20, 2018.
      “How al-Qaeda Survived the Islamic State Challenge,” Current Trends in Islamist Ideology, August
       30, 2016.
      “The Role of Iraqi Tribes after the Islamic State’s Ascendance” (with S. Jensen), Military Review,
       July-August 2015.
      “Lone Wolf Islamic Terrorism: Abdulhakim Mujahid Muhammad (Carlos Bledsoe) Case
       Study,” Terrorism and Political Violence 26:110-28 (2014).

Selected Commentary, Op-Eds, and Policy Analysis
     “The Evolution and Escalation of the Islamic State Threat to Mozambique” (with E. Chace-
        Donahue and C. Clarke), Foreign Policy Research Institute, April 13, 2021.
     “The Threat of Jihadist Terrorism in Germany” (with E. Chace-Donahue & C. Clarke),
        International Centre for Counter-Terrorism – The Hague, May 22, 2020.
     “The Enduring Legacy of French and Belgian Islamic State Foreign Fighters” (with C. Clarke
        & E. Chace-Donahue), Foreign Policy Research Institute, February 5, 2020.
     “What Do Asia’s Returning Isis Fighters Do Next?: You’re About to Find Out” (with C.
        Clarke), South China Morning Post, February 2, 2020.
     “How to Win Friends and Wage Jihad: Understanding al Qaeda’s Pragmatism” (with V.
        Koduvayur), Foreign Affairs, July 1, 2019.
     “The Emigrant Sisters Return: The Growing Role of the Islamic State’s Women” (with V.
        Hagerty and L. Macnair), War on the Rocks, April 2, 2018.
     “ISIL’s Virtual Planners: A Critical Terrorist Innovation,” War on the Rocks, January 4, 2017.
     “Bloody Ramadan: How the Islamic State Coordinated a Global Terrorist Campaign,” War on
        the Rocks, July 20, 2016.
     “Sunni Tribes Need Arms and Support to Fight ISIS,” New York Times, June 1, 2015.

I have also spoken at events and conferences across the globe, including delivering keynote speeches
about VNSAs at U.S. Special Operations Command’s Sovereign Challenge Program Annual
Conference (Pittsburgh, Pa., May 2019), the Airport IT & Security 2018 conference in Amsterdam
(December 2018), the Counter Terrorism Symposium at the Miami International Airport (January
2018), the “After ISIL” conference sponsored by U.S. Army Special Operations Command and Duke
University’s Laboratory for Unconventional Conflict & Simulation (December 2016), the Social Media
Narratives and Extremism Workshop (sponsored by the Near East South Asia Center, National
Defense University, in Casablanca, August 2016), U.S. Army Special Operations Command
Commander’s Conference (May 2016), the University of Southern California’s National Center for
Risk and Economic Analysis of Terrorism Events (September 2011), and the Global Futures Forum
(April 2011). Relevant presentations and conference papers that I have delivered on the Taliban, its
terrorist syndicate, and South Asia include:

      “NCITE Access the Author: Daveed Gartenstein-Ross,” National Counterterror Innovation,
       Technology, and Education Center (NCITE), Omaha, Neb., February 16, 2023 [discussing
       Enemies Near and Far, which has a strong focus on the Zarqawi organization].
      “Shifting International Norms: Natural Evolution or a Battle for Leadership?,” 13th Strategic
       Multilayer Assessment Conference, Joint Base Andrews, Md., February 8, 2023.



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   “State of Terrorism 2023,” Association of Former Intelligence Officers, Kennebunk, Maine,
    January 21, 2023.
   “Technology: A Help or Hindrance on Security and Society,” Countering Violent Extremism:
    The Evolution of Radicalization and Responses Workshop, Near East South Asia Center for
    Strategic Studies, National Defense University, Casablanca, August 2, 2022.
   Panelist, “9/11 Lessons Learned,” 4th Great Power Competition Conference: Two Decades
    After 9/11, co-sponsored by the University of South Florida and National Defense University,
    webinar, September 23, 2021.
   “Preventing Misuse of Cyberspace and New Technologies: Developing Ideas, Skills, and
    Toolkits for Practitioners,” Second United Nations High-Level Conference of Heads of
    Counter-Terrorism Agencies of Member States, June 28, 2021.
   “Terrorists, Technology, Tactics: Understanding How Violent Non-State Actors Engage in
    Organizational Learning,” Global Terrorism Trends and Analysis Center Speaker Series,
    December 17, 2020.
   “Maritime Security and Terrorist Travel: A Global Overview,” keynote presentation, Virtual
    Consultation on the Implications of Terrorist Travel in the Maritime Domain, Global
    Counterterrorism Forum, July 21, 2020.
●   “How Terrorist Organizations and Violent Extremists Are Operating in the Fog of COVID-
    19,” Foundation for Defense of Democracies webinar, June 23, 2020.
●   “Update on Terrorism—Expectations for 2020 and Beyond,” Infonex Canadian BCP and
    Emergency Management 2020 Conference, Ottawa, January 28, 2020.
●   “Future Global Trends and Asymmetric Warfare,” keynote speech, Changing Nature of
    Conflicts Workshop, Near East South Asia Center for Strategic Studies, National Defense
    University, Casablanca, Morocco, June 18, 2019.
●   “CT Challenges: What’s Going Well, What’s Not Going Well,” Beyond Christchurch and the
    Caliphate: Terrorism’s Futures, conference hosted by the Australian Government & Australian
    National University, Canberra, Australia, June 5, 2019.
●   “Countering Radicalization: What Can Be Done?,” Enriching the Middle East’s Economic
    Future conference, sponsored by UCLA Center for Middle East Development, Doha, Qatar,
    November 13, 2017.
●   “Sixteen Years After 9/11: Assessing the Terrorist Threat” (panel), New America Foundation,
    Washington, D.C., September 11, 2017.
●   “Change or Continuity Since 2014: ISIS in Global Context,” The Evolving Terrorist Threat
    conference, The RAND Corporation, Arlington, Va., June 27, 2017.
●   “Terrorism in 2020” (panel), Department of Defense Combating Terrorism Intelligence
    Conference, Reston, Va., May 9, 2017.
●   “The Jihadi Threat: ISIS, al-Qaeda and Beyond,” panel, U.S. Institute of Peace, Washington,
    D.C., December 12, 2016.
   “The Competition between the Islamic State and al-Qaeda,” Kazakhstan Institute for Strategic
    Studies, Astana, Kazakhstan, March 2, 2016.
   “The Competition between the Islamic State and al-Qaeda: Implications for Regional States
    and the Future of the Jihadist Movement,” NATO Advanced Research Workshop, Brussels,
    October 6, 2015.
   “Al-Qaeda and Its Affiliates,” National Center for Risk and Economic Analysis of Terrorism
    Events (CREATE), Executive Program in Counterterrorism, University of Southern
    California, Los Angeles, August 19, 2015.


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        “The ISIS Campaign in Anbar,” National Defense University, Washington, D.C., October 20,
         2014.
        “The Arab Awakening and the Future of al-Qaeda,” Woodrow Wilson International Center
         for Scholars, Washington, D.C., May 10, 2012.
        “Al-Qaeda After bin Laden,” School of Advanced International Studies, Johns Hopkins
         University, Washington, D.C., February 21, 2012.

Methodology
I employ a comparative analysis method for understanding VNSAs. The comparative analysis method
has been validated multiple times in written opinions by various U.S. courts, including by this Court. 14
Comparative analysis involves identifying relevant primary sources and scholarly literature, examining
each source, and comparing these materials to one another in order to better establish baseline facts
for my analysis. Here I will explain the framework I employ for understanding VNSAs, and the
significance of the method I employ to evaluate factual assertions.

The framework for understanding VNSAs is designed to apply across a range of these actors. Some
of my writings and professional projects have classified various kinds of VNSAs and analyzed how
they can be compared and contrasted with one another. As I outline in my chapter “Violent Non-
State Actors: Paradigmatic Lessons Learned” in the 2014 book National Security Management in Federal
Structures, several common factors should be analyzed across the range of VNSAs. These factors
include:

        leadership,
        ideology,
        group goals,
        strategy,
        organizational structure,
        recruiting, and
        financial support.15



14 See, e.g., United States v. Farhane, 634 F.3d 127, 159 (2d Cir. 2011) (upholding the permissibility of an expert’s testimony

in a case where the expert employed the comparative analysis method and noting that this methodology was “similar to
that employed by experts that have been permitted to testify in other federal cases involving terrorist organizations”)
(citations omitted); Order at 4, United States v. Hausa, No. 1:12-cr-0134-BMC-MDG-1 (E.D.N.Y. Feb. 10, 2017). All the
opinions that have qualified me as an expert, detailed above, also validated my comparative analysis methodology, at least
implicitly. See Mueller v. Syrian Arab Republic, No. 1:18-cv-01229-CJN, 2023 WL 1398434 (D.D.C. Jan. 31, 2023); Bernhardt
v. Islamic Republic of Iran, No. 18-cv-2739-TJK, 2023 WL 2598677 (D.D.C. Mar. 22, 2023); Est. of Parhamovich v. Syrian Arab
Republic, No. 17-cv-61, 2022 WL 18071921, (D.D.C. Dec. 28, 2022); Tr. of Ev.d Hr’g at 130:11-12, Fishbeck v. Islamic Republic
of Iran, No. 1:18-cv-02248-CRC (D.D.C.); Neiberger v. Islamic Republic of Iran, No. 1:16-cv02193-EGS-ZMF, 2022 WL
17370239 (D.D.C. Sept. 8, 2022), report and recommendation adopted, No. 16-cv-2193-EGS, 2022 WL 17370160 (D.D.C.
Sept. 30, 2022); Fields v. Syrian Arab Republic, No. 18-cv-1437-RJL, 2021 WL 9244135 (D.D.C. Sept. 29, 2021); Selig v. Islamic
Republic of Iran, 573 F. Supp. 3d 40 (D.D.C. 2021); Sotloff v. Syrian Arab Republic, 525 F. Supp. 3d 121 (D.D.C. 2021); Doe v.
Syrian Arab Republic, No. 18-CV-0066-KBJ, 2020 WL 5422844 (D.D.C. Sept. 10, 2020); Fritz v. Islamic Republic of Iran, 320
F. Supp. 3d 48 (D.D.C. 2018); Foley v. Syrian Arab Republic, 249 F. Supp.3d 186, 193 n.4 (D.D.C. 2017).
15 Discussed in Daveed Gartenstein-Ross, “Violent Non-State Actors: Paradigmatic Lessons Learned,” in National Security

Management in Federal Structures: Perspectives from India and the United States (Kochi, India: Centre for Public Policy Research,
2014).


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My academic and professional work has further explored and defined the best practices for analyzing
and understanding each of these aspects of VNSAs. One best practice I employ is relying mainly on
primary-source information, including statements and social media postings by violent extremist
groups and their supporters, and the intercepted internal documents of these organizations. These are
documents commonly relied upon by experts. I cross-check all primary sources I read against other
primary-source information, against information about events on the ground in relevant theaters, and
against relevant secondary-source literature that allows me to determine whether my conclusions are
consistent with those of other scholars and practitioners.

Though I generally rely on primary sources, many secondary sources also serve useful purposes. First,
secondary sources can provide valuable historical information, adding rich context. Second, some
secondary sources do a strong job of synthesizing large amounts of information. Third, some
secondary sources contain the intrepid work of journalists who pursue leads and uncover new, original
information. All secondary sources deserve scrutiny, but for this report I was able to cross-check all
the secondary sources I utilized for claims that are material to my conclusions against primary sources,
other secondary sources, and on-the-ground events before deciding to rely on any single secondary
source, in addition to assessing the reputation and reliability of the author.

Another best practice I have adopted to complement the comparative analysis method is employing
a system of evaluating my own analytic conclusions adapted from Superforecasting, a book by Philip
Tetlock, who is an Annenberg University Professor at the University of Pennsylvania. 16 Evaluating my
own conclusions critically enables me to further ensure the accuracy of my corpus of work.

Based on my knowledge, experience, training, and education, and based on a comprehensive review
of relevant primary and secondary source materials using the comparative analysis method, my expert
opinion on the issues laid out above follows.

III.     The Zarqawi Organization

On March 20, 2003, the United States invaded Iraq. As U.S. and coalition forces’ involvement in Iraq
continued, the militant group al-Qaeda came to view the U.S. presence in the country as a chance to
attack Americans and to bog the U.S. down. One of the major groups active during the Iraq war,
which publicly allied itself with al-Qaeda in 2004, is the Zarqawi organization, which has undergone
several name changes since its emergence in the early 1990s. Since its founding in 1993, the Zarqawi
organization has been known by the following names:

 Name employed                                                                      Years used
 Bayat al-Imam                                                                      c. 1993-1999
 Jund al-Sham                                                                       c. 1999-2004
 Jamaat al-Tawhid wal-Jihad                                                         2004
 Tanzim Qa’idat al-Jihad fi Bilad al-Rafidayn (al-Qaeda in Iraq or                  2004-2006
 AQI)
 Majlis Shura al-Mujahedin fi-l-Iraq (Mujahedin Shura Council)                     2006
 Islamic State of Iraq (ISI)                                                       2006 – April 2013
 Islamic State of Iraq and al-Sham (ISIS)                                          April 2013 – June 2014

16 Philip E. Tetlock & Dan Gardner, Superforecasting: The Art and Science of Prediction (New York: Random House, 2015).




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 Islamic State                                                                        June 2014 – present

The Zarqawi organization was a highly significant militant group in Iraq. The group was frequently
able to drive events on the ground and was directly responsible for many deaths. The Coalition deemed
the Zarqawi organization to be the “primary terrorist threat to the Coalition” in February 2004.17
Other historical assessments that have been able to consider the full course of the insurgency in Iraq
concur with the Coalition’s contemporaneous assessment. For example, a comprehensive history
published by the U.S. Army War College in 2019 concludes with respect to this period that “the most
significant change within the Sunni insurgency … came when Abu Musab al-Zarqawi’s group, Tawhid
wal-Jihad, evolved from an independent jihadist group into a part of al-Qaeda in late 2004 and early
2005.”18 Bolstered by support from Iran and al-Qaeda, the Zarqawi organization executed deadly
attacks, established campaigns of violence, and held area of operations dominance in critical locations
throughout the Iraq war, with one of its peaks occurring between 2004 and 2008. 19

This section describes Abu Musab al-Zarqawi, the Zarqawi organization’s founding father, then details
the group’s evolution through its current incarnation. It demonstrates that there was organizational
continuity through the time of the organization’s rebranding as the Islamic State of Iraq. In other
words, despite the group’s name changes and organizational evolution, at no point should the name
changes be understood as signaling that the Zarqawi organization had become a truly new organization
with discontinuity from what came before.

A Short Biography of Abu Musab al-Zarqawi
Ahmed Fadil al-Nazal al-Khalayleh, better known as Abu Musab al-Zarqawi, attained international
notoriety for his brutality and success as a militant leader. Zarqawi and his network were responsible
for some of the worst atrocities committed in Iraq during the height of the country’s civil war,
particularly between 2004 and 2008. This made Zarqawi one of the world’s most wanted men, with
the U.S. government offering the same reward amount for Zarqawi as it did for Osama bin Laden. 20
He was directly responsible for a wave of assassinations, hostage takings, terrorist attacks, and
beheadings.




17 “Chapter Four: The Insurgency Grows and Fights Pitched Battles,” in Study of the Insurgency in Anbar Province, Iraq (Marine

Corps Intelligence Activity, June 13, 2007), p. 3, https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf.
18 Col. Joel D. Rayburn & Col. Frank K. Sobchak eds., The U.S. Army in the Iraq War: Volume 1 Invasion - Insurgency - Civil

War 2003-2006 (Strategic Studies Institute and U.S. Army War College Press, 2019), p. 393.
19 US. Treasury Department, “Treasury Designates Iranian Ministry of Intelligence and Security for Human Rights Abuses

and Support for Terrorism,” February 16, 2012, https://home.treasury.gov/news/press-releases/tg1424; Rayburn &
Sobchak eds., The U.S. Army in the Iraq War: Volume 1, p. 393; “Chapter Six: AQI Dominates the Insurgency,” in Study of
the Insurgency in Anbar Province, Iraq (Marine Corps Intelligence Activity, June 13, 2007), p. 1,
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/1007.%20Chapter%206.pdf; “Chapter Four: The
Insurgency Grows and Fights Pitched Battles (2004),” in Study of the Insurgency in Anbar Province, Iraq (Marine Corps
Intelligence    Activity,   June     13,    2007),    p.   32,    https://ahec.armywarcollege.edu/CENTCOM-IRAQ-
papers/1000.%20Chapter%204.pdf; Michael Knights, How to Secure Mosul: Lessons From 2008-2014 (Washington, DC:
Washington Institute for Near East Policy, October 2016), p. 7, https://www.washingtoninstitute.org/policy-
analysis/how-secure-mosul-lessons-2008-2014.
20 Federal Bureau of Investigation, press release, “FBI Updates Most Wanted Terrorists and Seeking Information—War

on Terrorism Lists,” February 4, 2006; “U.S. Raises Zarqawi Reward to $25m,” CNN, July 1, 2004.



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Zarqawi was born in 1966 in the Jabal Alabiad area
of Zarqa, Jordan, to a poor, conservative family
belonging to the Bani Hassan tribe.21 Known as a
thug in his early life, he spent time in the streets
rather than in school, and as a youth generally did
not attend religious services. In a well-regarded
biographical account of Zarqawi, Mary Anne Weaver
describes the interviews she conducted in Jordan
with people who knew him during this period:
“Everyone I spoke with readily acknowledged that as
a teenager al-Zarqawi had been a bully and a thug, a
bootlegger and a heavy drinker, and even, allegedly,
a pimp in Zarqa’s underworld. He was disruptive,
constantly involved in brawls. When he was fifteen
(according to his police record, about which I had been briefed in Amman), he participated in a
robbery of a relative’s home, during which the relative was killed. Two years later, a year shy of
graduation, he had dropped out of school. Then, in 1989, at the age of twenty-three, he traveled to
Afghanistan.”22

Prior to traveling to Afghanistan, Zarqawi underwent a religious awakening at the al-Falah mosque in
Zarqa. Scholar Brian Fishman notes that Zarqawi’s mother first enrolled him in religious classes, “no
doubt hoping to keep him out of a life of crime.”23 Following his turn toward piety, Zarqawi went to
Afghanistan hoping to fight the Soviet Union, which invaded in December 1979. Though Zarqawi
arrived too late to fight the Soviets, he joined the transnational jihadist movement in Afghanistan.

Al-Qaeda leader Osama bin Laden was in Afghanistan while Zarqawi was there, and Zarqawi trained
for combat in al-Qaeda’s Sada camp, which bin Laden ran.24 While there, Zarqawi also met fellow
Jordanian Abu Muhammad al-Maqdisi (born Isam Muhammad Tahir al-Barqawi). Maqdisi was (and
remains) a renowned Salafist cleric who became Zarqawi’s ideological mentor. Zarqawi also built
relationships with other jihadists in Afghanistan that allowed him to form the Zarqawi organization.

Bayat al-Imam/Jund al-Sham
While in Afghanistan, Zarqawi and Maqdisi established their own militant Islamist group. Composed
of around a dozen men, it was known by police and reporters as Bayat al-Imam (Allegiance to the
Imam). But members of the group reportedly rejected that name, referring to their organization as
Tawhid wa-l-Jihad (Monotheism and Jihad, or TwJ).25 The group’s primary goal was to overthrow
Jordan’s monarchy and replace it with an Islamic government, a goal consistent with al-Qaeda’s
ambition to replace Middle Eastern governments with Islamist regimes.

Bayat al-Imam/TwJ naturally attracted Jordanian authorities’ attention. Zarqawi and Maqdisi returned
to Jordan in 1993, and authorities arrested them the following year. Prior to their arrest, their group
21 Fouad Hussein, Al-Zarqawi: The Second Generation of al-Qaeda (London, 2005, translated from Arabic), p. 7.
22 Mary Anne Weaver, “The Short, Violent Life of Abu Musab Al-Zarqawi,” The Atlantic, July/August 2006.
23 Brian Fishman, The Master Plan: ISIS, al-Qaeda, and the Jihadi Strategy for Final Victory Kindle ed. (New Haven, CT: Yale

University Press, 2016), loc. 207 of 8220.
24 Weaver, “The Short, Violent Life of Abu Musab Al-Zarqawi.”
25 Didier Francois, “Top Billing,” Libération (Paris; original in French), June 13, 2005.




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“tried several ill-fated attacks” and was finally apprehended “after members attacked a Jordanian
border crossing with Israel, likely in an effort to torpedo the ongoing peace negotiations.” 26 Both men
were convicted on terrorism charges and sentenced to 15 years in prison. 27

Zarqawi’s years in Jordanian prison were pivotal to his career as a militant. One journalist who met
Zarqawi in prison in September 1996 recalled that Zarqawi’s organization was “amongst the strongest
and most influential” associations in the prison.28 Zarqawi had a strong leadership style, and “was able
to control everyone and organize all the details of relations within the group.” 29 Eventually Zarqawi
eclipsed the more accommodation-minded Maqdisi and became the prison group’s emir. 30

Bayat al-Imam/TwJ maintained links to militants beyond the prison walls, in places like Zarqa, Irbid,
and Salt.31 Prisoners’ family members routinely smuggled out religious tracts written by Maqdisi.
Prominent London-based Salafi jihadist cleric Abu Qatada al-Filistini in turn published writings by
Bayat al-Imam members in his magazine Al-Minhaj, thus allowing other jihadists across the globe,
including Saif al-Adl—a senior al-Qaeda leader who will be discussed in more detail later in this
report—to stay abreast of the activities of their “brothers” in Jordan’s prisons. Adl recalled following
Al-Minhaj closely during this period: “We read the brother Abu Muhammad al-Maqdisi’s letters as well
as Abu Musab’s. We also read the transcripts of what they said in court. Our brother Abu Qatada al-
Filistini would always tell us that we have good brothers operating in Jordan and that they have a
promising future ahead of them.”32

In 1999, King Abdullah II declared a general amnesty for Jordanian prisoners, and Zarqawi and
Maqdisi were released. Zarqawi promptly returned to South Asia. He was briefly arrested in
Hayatabad, Pakistan for overstaying a residence permit, after which he left Pakistan for Afghanistan. 33

Two weeks after his arrival in Kandahar, Zarqawi met with Saif al-Adl, who was then al-Qaeda’s
security chief.34 Adl played an important role in facilitating al-Qaeda’s partnership with Zarqawi,
though there is some dispute among jihadist leaders about how central he was. 35 According to Adl,
bin Laden and Ayman al-Zawahiri were initially reluctant to associate with Zarqawi. Bin Laden found
Zarqawi’s boisterous and brazen nature off-putting, and there were stark strategic differences between
Zarqawi and al-Qaeda’s top leaders.36 But Adl said that he counseled al-Qaeda’s leadership to work
26 Fishman, The Master Plan, Kindle ed. loc. 257.
27 George Michael, “The Legend and Legacy of Abu Musab Al-Zarqawi,” Defence Studies 7:3 (2007), p. 340.
28 Al-Sharq al-Awsat, March 8, 2004.
29 Ibid.
30 Joby Warrick, Black Flags: The Rise of ISIS (New York: Knopf Doubleday, 2015), p. 26; Hazim al-Amin, “Al-Zarqawi’s

Followers in Jordan Visit Their Shaykhs in Jail and Wait for the Chance to Join Abu Musab in Iraq,” Al-Hayah (London;
original in Arabic), December 14, 2004.
31 Weaver, “The Short, Violent Life.”
32 Hussein, Al-Zarqawi; see also Weaver, “The Short, Violent Life” (noting that Maqdisi’s tracts “were smuggled out” of

prison by the wives and mothers of inmates).
33 PEX 219, Jean-Charles Brisard & Damien Martinez, Zarqawi: The New Face of Al-Qaeda (New York: Other, 2005), p. 66;

Hussein, Al-Zarqawi.
34 Hussein, Al-Zarqawi.
35 As this section notes, and as has been widely recounted, Adl has framed himself as central to overcoming the initially

heavy skepticism that bin Laden and Zawahiri had toward Zarqawi. But bin Laden disputed this account and pointed to
at least one factual error in Adl’s telling. See discussion in Fishman, The Master Plan, Kindle ed. locs. 459-63 of 8220. This
intra-jihadist factual dispute is not material to my conclusions in this section.
36 Hussein, Al-Zarqawi.




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with Zarqawi, arguing that collaborating with the Zarqawi organization would enable al-Qaeda to gain
a foothold in Palestine and Jordan.37

With bin Laden’s consent, Adl met with Zarqawi and discussed plans to establish a military camp in
the city of Herat, in western Afghanistan.38 Bin Laden indirectly provided funding and equipment for
the camp.39 Al-Qaeda and Zarqawi also worked together to plot numerous terrorist attacks during the
period before the 9/11 attacks and deepened their cooperation further thereafter. A U.S. Treasury fact
sheet about Zarqawi issued in September 2003 details these voluminous connections:

           Abu Musa’ab al-ZARQAWI, a Jordanian citizen, has ties to al-Qaida, Asbat al-Ansar
           and Hizballah. In addition to providing the financial and material support for the
           assassination of a U.S. diplomat, he has participated in acts of terrorism, trained
           terrorists, led terrorist cells, facilitated transport of terrorists and is being cited in the
           international press as a suspect in the recent devastating bombing of the Jordanian
           embassy in Baghdad.

           ZARQAWI has arranged training for terrorists at al-Qaida camps. While he was in
           Pakistan, ZARQAWI made contact with al-Qaida to train Jordanians. His operatives
           (called “Jund al-Sham”) began to arrive in Afghanistan in large numbers in 1999. Some
           of these operatives trained at al-Qaida’s al-Faruq Camp, where they received full
           support from al-Qaida. ZARQAWI eventually established his own cell and camp in
           Herat, Afghanistan.

           Plans were made to send ZARQAWI’s operatives to meet with Asbat al-Ansar
           (designated under E.O. 13224 as a Specially Designated Global Terrorist on
           September 24, 2001 and as a Foreign Terrorist Organization on March 27, 2002),
           Hizballah and any other group that would enable them to smuggle mujaheddin into
           Palestine. This plan was launched by ZARQAWI with other terrorist leaders in order
           to smuggle operatives into Israel to conduct operations. In addition to being tasked
           with finding a mechanism that would enable more suicide martyrs to enter Israel, these
           operatives were also sent to provide training on explosives, poisons, and remote
           controlled devices.

           In October 2000, ZARQAWI was indicted in absentia in Jordan for his role in the al-
           Qaida Millennium bombing plot targeting the Radisson SAS hotel in Amman as well
           as other American, Israeli, and Christian religious sites in Jordan.

           In mid 2001, ZARQAWI returned to Qandahar from Herat. At this time, he had
           received more than U.S. $35,000 for work in Palestine. ZARQAWI planned to use the
           money to bring more Jordanian and Palestinian mujaheddin to the camp in Herat, to
           purchase passports, and to facilitate travel to Lebanon. He received assurances that
           further financing would be provided for attacks against Israel. In early 2002,
           ZARQAWI was reported to have found a way into Palestine.

37 Ibid.
38 Ibid.; see also Hazim al-Amin, “Al-Zarqa Produces al-Khalayleh and al-Maqdisi, and the Returnees from Kuwait Rallied

Around Them,” Al-Hayah (London; original in Arabic), December 15, 2004.
39 Hussein, Al-Zarqawi.




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         On October 28, 2002, U.S. diplomat Laurence Foley, an officer with the U.S. Agency
         for International Development, was assassinated in Amman, Jordan. ZARQAWI
         provided financial and material support for this assassination. Key individuals involved
         in both the planning and execution of the operation had strong ties to Afghan Jihad,
         the International Mujaheddin Movement, and al-Qaida. One of these individuals,
         Salim Sa’d Salim Bin-Suwayd, a member of al-Qaida, received more than U.S. $50,000
         for his cooperation in planning assassinations in Jordan against U.S., Israeli, and
         Jordanian government officials. ZARQAWI instructed Suwayd to hide after he had
         completed his first operation and to plan to pursue additional operations against Israeli
         and Jordanian targets in Amman in the future. Jordanian authorities arrested Suwayd
         for the murder. The trial of Suwayd, a Libyan national, is currently underway in
         Jordan.40

Though al-Qaeda did not develop a public alliance with Zarqawi at the time, the above activities make
clear their cooperation and alignment even prior to Zarqawi’s involvement in the Iraq War. Brian
Fishman details specific terms of the early agreement between Zarqawi and al-Qaeda that existed
during this period:

         There is no dispute about the ultimate arrangement between al-Qaeda and Zarqwi. Al-
         Qaeda would arrange start-up money for Zarqawi to build a camp near Herat, along
         the Iranian border, and provide logistical support through a network of safe houses in
         the Iranian cities of Tehran and Mashaad. Zarqawi would not join al-Qaeda, but he
         would complete a special training program at al-Qaeda’s facilities near Kandahar.
         Subsequently, he would provide al-Adl with monthly updates on his progress. 41

From the very outset, Zarqawi attracted recruits who would later prove critical to his efforts in Iraq,
including the Syrian Sulayman Khalid Darwish (aka Abu Ghadiyah), “who would manage the first
generation of jihadi logistical networks that moved foreign fighters through Syria to Zarqawi’s eventual
insurgency in Iraq.”42 Moreover, Zarqawi was able to benefit from al-Qaeda’s logistical assistance,
which rested on its relationship with Iran. Fishman writes:

         Al-Qaeda’s financial support to Zarqawi was useful, but its logistical assistance was
         invaluable. Herat sits very near the Iranian border, which immediately emerged as the
         most useful vector for new recruits to enter Afghanistan. But if Zarqawi looked at the
         Taliban askance, he despised the Shia government in Iran. Iran’s intelligence service
         no doubt understood Zarqawi’s sectarian disposition, but they also had a policy of
         tolerating jihadis transiting their territory, especially if those fighters were hostile to the
         Taliban. In 1998, the Taliban executed eight Iranian diplomats, which prompted
         Tehran to give Gulbuddin Hekmatyar, a legendary Afghan fighter and opponent of



40 U.S. Department of the Treasury, “Fact Sheet: Abu Musa’ab al-Zarqawi,” September 23, 2003.
41 PEX 218, Brian Fishman, The Master Plan: ISIS, al-Qaeda, and the Jihadi Strategy for Final Victory (New Haven, CT: Yale

University Press, 2016), p. 19.
42 Ibid.




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          the Taliban, extensive latitude to set up shop on Iranian territory. Sayf al-Adl was quick
          to capitalize on those networks for use by al-Qaeda and he offered them to Zarqawi. 43

The Zarqawi organization’s network in Herat became known as Jund al-Sham (Soldiers of the Levant),
though the banner above the entrance to the Herat camp continued to read Tawhid wa-l-Jihad (which,
as previously mentioned, is the name that insiders called the group during this period). 44 Graduates of
the Herat camp took part in notable terrorist plots, including the 2002 assassination of U.S. diplomat
Laurence Foley in Amman.45

Alliance with Ansar al-Islam
Shortly after the establishment of the Herat camp, Zarqawi tasked Abu Abdel Rahman al-Shami, a
fellow Jordanian militant, with expanding his network into northern Iraq. 46 On September 1, 2001,
Shami helped form the group Jund al-Islam with Kurdish jihadist leader Abu Abdullah al-Shafi’i and
Iraqi militant Abu Wa’il. Following the 9/11 attacks, Jund al-Islam merged with a Kurdish jihadist
organization operating in northern Iraq known as Ansar al-Islam. 47

The U.S. invasion of Afghanistan in late 2001 forced Zarqawi and around 300 Jund al-Sham members
to relocate from Herat.48 Zarqawi and a number of followers first moved to Iran, then in May 2002
moved from Iran to Iraq. There Zarqawi made his way to northern Iraq and found refuge with Ansar
al-Islam.49 Ansar al-Islam/Ansar al-Sunna will be discussed in greater detail in the next section of this
report. Thereafter, though Zarqawi expanded his organization into other countries in the region, his
main focus was on building his organization in Iraq. 50

Eventually the Zarqawi network underwent another rechristening, emerging as Jamaat al-Tawhid wa-
l-Jihad.

Jamaat al-Tawhid wa-l-Jihad (JTJ)
The origins of the JTJ moniker can be traced back to Zarqawi’s days as the leader of Bayat al-Imam
in Suwaqah prison. It was another of the names that the militants in Suwaqah prison used to refer to
themselves.

There is no consensus among observers as to when the Zarqawi organization adopted the JTJ name
publicly. According to journalist Fouad Hussein, whose interviews with Saif al-Adl and other Zarqawi
associates gave him impressive access to the Zarqawi organization’s inner workings, Zarqawi’s group
formally announced itself as JTJ at the beginning of 2004.51


43 Ibid., p. 20.
44 Hussein, Al-Zarqawi; Michael Weiss & Hassan Hassan, ISIS: Inside the Army of Terror (New York: Regan Arts, 2015), p.

13.
45 Weiss & Hassan, ISIS, p. 13.
46 Ibid., p. 14.
47 Hussein, Al-Zarqawi.
48 Mary Anne Weaver, “The Short, Violent Life”; Hussein, Al-Zarqawi.
49 Isma’il Zayir, “Dozens of Arab Afghans ‘Slip’ Into Northern Iraq,” Al-Hayah (London; original in Arabic), February 1,

2002; Husni Mahalli, “Another ‘al-Qaeda’ and New Mullahs in Iraqi Kurdistan; Will Kurdistan Become Tora Bora?,” Al-
Majallah (original in Arabic), February 10, 2002.
50 See, for example, PEX 219, p. 142.
51 Hussein, Al-Zarqawi. Indeed, the first communiqué issued in JTJ’s name was posted online in April 2004.




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JTJ benefited from a diverse pool of foreign fighters, including militants from Jordan, Syria,
Afghanistan, Pakistan, and the Kurdish regions of Iraq. This enabled Zarqawi and JTJ to become
“among the most prominent actors in the insurgency.”52 By October 2004, when the Zarqawi
organization next took on a new moniker, the U.S. military “held Zarqawi responsible for the deaths
of 675 Iraqis and 40 foreigners, in addition to over 2,000 wounded since the beginning of the
coalition’s offensive.”53

As JTJ, the group retained the same structure, membership and goals that it possessed when it was
publicly known as Jund al-Sham. This is illustrative of the tendency toward organizational continuity
despite public changes in name.

Al-Qaeda in Iraq (AQI)
In October 2004, Zarqawi publicly pledged bayah (an oath of allegiance) to bin Laden, thus making
the Zarqawi organization into al-Qaeda’s first publicly announced affiliate group. Despite extensive
cooperation between the Zarqawi organization and al-Qaeda prior to this public pledge, Zarqawi’s
pledge to bin Laden in 2004 was significant. It served as Zarqawi’s public endorsement by al-Qaeda’s
leadership and challenged (at least temporarily) earlier perceptions that Zarqawi’s organization
intended to rival al-Qaeda. The declaration further served “as a recruiting statement for the Iraqi
insurgency.”54

With Zarqawi’s public declaration of bayah, his organization adopted the moniker Tanzim Qa’idat al-
Jihad fi Bilad al-Rafidayn (al-Qaeda of Jihad Organization in the Land of Two Rivers). The group was
better known as al-Qaeda in Iraq (AQI). Even as it became a publicly-acknowledged al-Qaeda affiliate,
the Zarqawi organization’s leadership structure and membership ranks remained intact. Those who
had worked with Zarqawi in the early days of JTJ either maintained their positions in the organization
or grew in stature (e.g., through the natural process of promotion) once Zarqawi publicly aligned with
al-Qaeda.

One such leader was Abu al-Ghadiyah (born Sulayman Khalid Darwish), who was a cofounder of
Jund al-Sham.55 He traveled with Zarqawi to Iran, and then to Iraq, where he played a key role in
helping the Zarqawi organization establish itself.56 Following Zarqawi’s public pledge to bin Laden,
Abu al-Ghadiyah continued his high-level role in the rechristened al-Qaeda in Iraq. 57 In 2005, the U.S.
Treasury Department designated Abu al-Ghadiyah a terrorist, including for his fundraising and
recruiting for AQI. The designation made the continuity in Abu al-Ghadiyah’s high-level role clear, as
it described him as a member of Zarqawi’s shura council, as well as “one of the most prominent
members of the Zarqawi organization in Syria.”58

52   Mapping Militant Organizations, Stanford University, “The Islamic State,” last modified April 2021,
https://cisac.fsi.stanford.edu/mappingmilitants/profiles/islamic-state.
53 PEX 219, p. 141.
54 Jeffrey Pool, “Zarqawi’s Pledge of Allegiance to al-Qaeda: From Mu’asker Al-Battar, Issue 21,” Terrorism Monitor 2:24

(Jamestown Foundation), December 16, 2004.
55 Muhammad Abu Rumman, “Sulayman Khalid Darwish, also known as Abu al-Ghadiyah, One of the Most Prominent

Leaders of the al-Qaeda Organization in Iraq Killed,” Al-Ghadd (Amman; original in Arabic), June 25, 2005.
56 Ibid.
57 Ibid.
58 U.S. Department of the Treasury, press release, “Syrian National Designated by U.S. as Terrorist Financier,” January 25,

2005.



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Another leader demonstrating the continuity in personnel from JTJ to AQI was Abu Azzam al-Iraqi.
According to a Zarqawi organization eulogy produced after Abu Azzam’s death in September 2005,
he had been a member of the Salafist underground in Iraq during Saddam Hussein’s rule. 59 Following
the Baathist regime’s collapse, Abu Azzam acquired a small group of militant followers whom he
quickly aligned with Zarqawi and JTJ. Abu Azzam traveled across Iraq as a JTJ recruiter and also
featured in JTJ’s military operations, participating in the First Battle of Fallujah and a number of early
terrorist attacks in the Baghdad area. After JTJ became known as AQI, Abu Azzam continued to rise
in the ranks. After the Second Battle of Fallujah and the death of AQI official Umar Hadid, Abu
Azzam was appointed AQI’s emir of Baghdad.60 Abu Azzam was subsequently elevated to AQI’s
shura council, where he answered directly to Zarqawi.61 Following Zarqawi’s injuries during fighting
in al-Qa’im in May 2005, Abu Azzam served as the overall supervisor of AQI’s activities throughout
the Anbar-Baghdad corridor.62

The career trajectories of Abu al-Ghadiyah and Abu Azzam al-Iraqi serve as just two examples among
many of the continuity of leadership maintained throughout the evolution of Zarqawi’s organization
despite name changes and attempts to rebrand.

The Mujahedin Shura Council (MSC)
On January 15, 2006, AQI deputy emir Abu Maysarah al-Iraqi announced the establishment of the
Majlis Shura al-Mujahidin fi-l-Iraq (better known as the Mujahedin Shura Council, or MSC), an
umbrella group composed of six Iraqi Sunni militant factions. These factions were AQI, the Victorious
Sect Army, the Monotheism Supporters Brigades (Saraya Ansar al-Tawhid), the Islamic Jihad Brigades
(Saraya al-Jihad al-Islami), the Al-Ghuraba (Foreigners) Brigades, and the Al-Ahwal (Fear) Brigades. 63
ISIS’s eventual “caliph” Abu Bakr al-Baghdadi formally came into AQI’s orbit weeks later, when the
group Jaysh Ahl al-Sunna wa-l-Jama’a, in which Abu Bakr served as the emir of the Sharia Committee,
joined MSC on January 29.64 These groups’ cooperation before January 2006 culminated in MSC’s
establishment, which can be seen in part as the formalization of prior relationships.

Though MSC purported to function as a coalition, the group was AQI’s brainchild. At the time, AQI
faced growing criticism from Iraqis for representing a foreign agenda and conducting indiscriminate
attacks against civilians. AQI envisioned MSC as a way to rebrand, highlighting its local connections
in an effort to regain the support of other Iraqi factions and the population. The person chosen to
lead this group was a previously unknown figure called Abdallah bin Rashid al-Baghdadi, who
provided MSC’s leadership with an Iraqi face.65 Attacks in Iraq claimed by MSC during its brief


59 Media Division of the Mujahedin Shura Council in Iraq, “Biographies of Eminent Martyrs, Part XLV: Abu Zahra al-

Issawi,” July 18, 2010.
60 Al-Sharqiyah television, September 28, 2005.
61 Al-Furqan Media Production Establishment, “From History’s Secrets: Al-Zarqawi as I Knew Him, Part 1,” September

7, 2007.
62 Hazim al-Amin & Miyasar al-Shammari, “Reports on Smuggling of Leader of the al-Qaeda of Jihad Organization in the

Land of the Two Rivers to a Neighboring Country for Medical Treatment,” Al-Hayah (original in Arabic), May 26, 2005.
63 See, e.g., Muhammad al-‘Ubaydi et al., The Group That Calls Itself a State: Understanding the Evolution and Challenges of the

Islamic State (West Point: Combating Terrorism Center, 2014).
64 PEX 218, p. 151.
65 Ibid., p. 79.




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existence did not invoke AQI’s name, seemingly to downplay AQI’s involvement in the insurgency
and to draw attention instead to Iraqi militants.

Though the MSC was designed to provide cover to AQI and showcase the “Iraqi-led” insurgency,
AQI quietly remained the dominant player. As one illustration, Muharib al-Juburi, who was an original
MSC member and the emir of al-Ghuraba Brigades, had formed an alliance with Zarqawi as early as
2004.66 From 2004-2006, Muharib al-Juburi served as one of Zarqawi’s most trusted couriers, and as
a representative of the Zarqawi organization’s senior leadership—and later served in the same role for
Abu Ayyub al-Masri, Zarqawi’s successor in the organization.67 The case of Muharib al-Juburi and the
al-Ghuraba Brigades helps illustrate how the transition to MSC was a minor adaptation of AQI’s
existing strategy in response to the shifting political climate. The MSC was, like AQI and JTJ before
it, a continuation of the Zarqawi organization.

The main thing MSC accomplished, in addition to providing a cover for AQI, was formalizing
longstanding alliances between AQI and lesser-known insurgent groups. The establishment of the
Islamic State of Iraq, described in the following section, can be understood as a continuation of this
strategy of rebranding and expansion in an effort to gain greater support and legitimacy within the
Iraqi insurgent landscape and the global Muslim community.

Islamic State of Iraq (ISI)
On October 15, 2006, MSC announced its establishment of the Islamic State of Iraq (ISI). 68 Zarqawi
died prior to ISI’s creation, but its establishment advanced AQI’s longstanding strategic objectives
while in other ways moving beyond what AQI had been. According to Saif al-Adl, establishing an
Islamic state was one of Zarqawi’s core goals when he relocated to Iraq. 69 Indeed, in 2005 al-Qaeda’s
deputy emir Ayman al-Zawahiri had articulated the establishment of an Islamic emirate as one of the
jihadists’ earliest priorities for Iraq in a letter he wrote to Zarqawi. 70

Following Zarqawi’s death in June 2006, Zawahiri used his eulogy for the slain militant to re-
emphasize the strategic priority of establishing an Islamic emirate, saying: “My mujahid brothers in
Iraq, know that the Islamic Ummah has put its hope in you, and that you must establish an Islamic
state in Iraq, then make your way towards captive Jerusalem and restore the Caliphate which was
toppled through the cooperation of the Crusaders and the traitorous slaves of the English.” 71
According to a 2008 interview with ISI’s war minister, Abu Hamzah al-Muhajir, Zarqawi organization
members began consulting various insurgent leaders to lay the groundwork and build support for the
establishment of the Islamic State of Iraq around the time that Zawahiri’s eulogy was released. 72




66 Al-Arabiyah television, March 6, 2009.
67 Al-Furqan Establishment for Media Production, “Biographies of Eminent Martyrs, Part XLVIII: Abd al-Aziz Atiq al-

Atiq (Abu Suhayb al-Najdi),” September 15, 2011.
68 Majlis Shura al-Mujahidin fi-l-Iraq, statement on the establishment of the Islamic State of Iraq, October 15, 2006.
69 Quoted in Cole Bunzel, From Paper State to Caliphate: The Ideology of the Islamic State (Washington, D.C.: Center for Middle

East Policy at the Brookings Institution, 2015), p. 15.
70 Zawahiri’s letter to Zarqawi can be found at https://ctc.usma.edu/app/uploads/2013/10/Zawahiris-Letter-to-

Zarqawi-Translation.pdf.
71 Ayman al-Zawahiri, eulogy of Abu Muhammad al-Zarqawi, posted on the Islamic Renewal Organization’s website, June

24, 2006.
72 Abu Hamzah al-Muhajir, audio interview, posted by Al-Furqan Media Production Establishment, October 24, 2008.




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When the MSC rebranded to ISI, the coalition appeared to have added seven new member
organizations since its founding: Ahl al-Sunna wal-Jama’a Army, al-Murabitin Brigades, Jund al-
Sahabah Group, Kataib Ansar al-Tawhid wal-Sunna, Kurdistan Brigades, Millat Ibrahim Brigades, and
Fursan al-Tawhid Brigades. Close examination of the founding member groups reveals that four were
MSC holdovers, and one group had former affiliations with AQI. In other words, only two
organizations lacked previous public affiliation with the MSC or AQI. This again underscores that ISI
as a group was dominated by the Zarqawi organization, and hence represented organizational
continuity. Here is a brief look at ISI’s founding members:

    ● Jund al-Sahabah Group & Kataib Ansar al-Tawhid wal-Sunna. Both the Jund al-Sahabah Group
      and Kataib Ansar al-Tawhid wal-Sunna were members of the Hilf al-Mutaiyabin Coalition,
      and thus affiliates of the MSC before they joined ISI.

    ● Al-Murabitin Brigades. Though it is not clear when al-Murabitin Brigades joined the MSC, it is
      clear that by May 2006 the brigade was one of the eight member organizations in the coalition.
      In a MSC video released that month, MSC highlights the organizations united under its
      banner—the two notable additions since its statement being Ahl al-Sunna wal-Jama’a Army
      and al-Murabitin Brigades.73

    ● Ahl al-Sunna wal-Jama’a Army. Established in 2003, Ahl al-Sunna wal-Jama’a Army began
      exhibiting ideological affinity with the Zarqawi network as early as 2005, and began
      cooperating with AQI on the battlefield in early 2006. 74 In one statement attributed to the
      Central Office of the Ahl al-Sunna wal-Jama’a Army and published to a jihadist forum in
      December 2005, the group “exalted” Zarqawi and bin Laden, and condemned Iraqi media for
      sowing discord and disunity among Iraqi jihadist groups. 75 About one month later, Ahl al-
      Sunna wal-Jama’a Army issued its first video production. In it, the group again highlighted key
      al-Qaeda figures like bin Ladin, Zarqawi, and Zawahiri, and stressed the need to mitigate
      against “political divisions” among insurgent groups.76 Less than a week later, a jihadist website
      published undated statements attributed to the Ahl al-Sunna wal-Jama’a Army, claiming
      responsibility for an attack in Diyala in coordination with “a unit belonging to al-Qaeda
      organization.”77 On January 28, 2006, the emir of the Ahl al-Sunna wal-Jama’a Army issued a
      statement expressing a desire to join the MSC, and the following day MSC welcomed the
      group into its ranks.78

    ● Kurdistan Brigades. Though the Kurdistan Brigades do not appear to have ever joined the MSC,
      the group had clear ties to al-Qaeda. In May 2007, AFP described the group as “an Ansar-
      allied group calling itself the ‘Kurdistan Brigades of al-Qaeda.’”79 Following the incorporation

73 Mujahedin Shura Council, “Call to Unite Ranks of Mujahedin in Land of the Two Rivers,” part 3, posted to the al-Meer

Forums, May 16, 2006.
74 Charles Lister, “Islamic State Senior Leadership: Who’s Who?” The Brookings Institution, December 2014,

https://www.brookings.edu/wp-content/uploads/2014/12/en_whos_who.pdf.
75 Ahl al-Sunna wal-Jama’ah Army, statement posted to Bayt al-Maqdis Islamic Forums, December 11, 2005.
76 Ahl al-Sunna wal-Jama’a Army, video posted to Al-Meer Forums, January 18, 2006.
77 Ahl al-Sunna wal-Jama’a Army, statement posted to Shamila Net, January 23, 2006.
78 Ahl al-Sunna wal-Jama’a Army, statement posted on Al-Meer Forums, January 28, 2006; Mujahedin Shura Council,

statement welcoming Ahl al-Sunna wal-Jama’a Army into its group, January 29, 2006.
79 AFP news agency, May 10, 2007.




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         of the Kurdistan Brigades into ISI, the group continued to identify with al-Qaeda. In a
         statement featured on Al-Arabiyah’s program “Death Industry” in November 2008, the group
         stressed its al-Qaeda affiliation.80 And in an interview with an online Kurdish news source in
         May 2011, the head of the Iraqi Kurdish Anti-Terror Agency drew direct connections between
         al-Qaeda leadership and officials within the Kurdistan Brigades. 81

    ● Millat Ibrahim Brigades & Fursan al-Tawhid Brigades. The final groups highlighted as founding
      members of ISI, Millat Ibrahim Brigades and Fursan al-Tawhid Brigades, are the only two
      groups that seemingly had no prior ties to AQI or MSC. However, a BBC Monitoring report
      released shortly after the MSC announced the pledge of allegiance from Millat Ibrahim
      Brigades and Fursan al-Tawhid Brigades questioned the existence of these groups, describing
      them as “previously unknown battalions.”82 If these militant groups did in fact exist (and there
      have been other cases in the jihadist landscape where non-existent militant groups were
      claimed to have joined broader networks in order to influence public perceptions), it can be
      said that they were dwarfed by the other al-Qaeda-connected groups that comprised ISI.

In sum, the organizational makeup of ISI demonstrates that the establishment of the “state”
formalized existing alliances. This is not to say that ISI’s establishment had no impact on the
organization—it did, as I will detail—but rather it demonstrates continued dominance by the Zarqawi
organization. I now profile several key members of ISI’s leadership, which generally consisted of
individuals with clear ties to AQI or else previously unknown Iraqi figures for which there is little to
no information available even now. Here are the pedigrees of some of ISI’s top leaders from the
cabinet level to the regional emir level:

    ● Emir: Abu Umar al-Baghdadi. The chosen leader of ISI, Abu Umar al-Baghdadi, was an
      unknown figure prior to becoming the organization’s emir.83 Born Hamid Dawud Muhammad
      Khalil al-Zawi, Baghdadi originated from Anbar Province. Born into an affluent family,
      Baghdadi worked as a police officer for 11 years before he was fired for promoting extremist
      beliefs. After his termination from the police force, he became an imam. 84 Though he was
      relatively obscure when he became emir, a biography published on jihadist forums revealed
      that Baghdadi’s ties to the Zarqawi organization dated back to as early as 2003, when he joined
      JTJ. He later became a member of the MSC and served as the organization’s governor of
      Diyala province before assuming the position of ISI’s emir after Zarqawi’s death. 85

    ● Minister of War: Abu Ayyub al-Masri. Though Baghdadi held the position of ISI’s emir, most
      analysts believe he was in many ways a figurehead, and that the person really calling the shots
      was minister of war Abu Ayyub al-Masri (aka Abu Hamzah al-Muhajir).86 Masri’s ties to

80 Death Industry, Al-Arabiyah television, November 8, 2014.
81 Kurdistani Nuwe Online (Kurdish), May 10, 2011.
82 BBC Monitoring, “Islamic State of Iraq Claims Two Battalions Pledged Allegiance,” November 30, 2006.
83 PEX 218, p. 89; Al-Durar al-Shamiyah (Arabic), April 5, 2014 (quoting an ISIS defector who described Abu Umar al-

Baghdadi as “not known in the organization as a leader, small or big,” and saying that instead he was just “a normal
person”).
84 Death Industry, Al-Arabiyah television, May 7, 2010; PEX 218, p. 89.
85 “Biographies of the Islamic State’s Men,” video posted to al-Minbar al-Ilami Jihadist Forum, November 20, 2014.
86 See, for example, a publicly-available Defense Intelligence Agency document that outlines a source interview claiming

that “Al Baghdadi is an Iraqi and was put in power to try and gain support for the ISI. He is more of a figurehead than a



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         Zarqawi and the Zarqawi organization date back to 1999, when the two trained together at the
         al-Faruq camp in Afghanistan.87 Originally from Egypt, al-Masri emerged in the jihadist scene
         in the 1980s as part of Ayman al-Zawahiri’s group, Egyptian Islamic Jihad (EIJ). After
         spending time in Sudan and then Pakistan in the mid-1990s, al-Masri travelled to Afghanistan,
         where he became an expert in explosives.88 In 2002, al-Masri travelled to Iraq. During his time
         fighting as an insurgent in the country, al-Masri joined AQI and began working closely with
         Zarqawi as a “master bomb maker and terror coordinator.”89 Following Zarqawi’s death,
         Ayman al-Zawahiri reportedly “hand-picked” al-Masri to lead the al-Qaeda-affiliated jihadist
         group in Iraq.90 Prior to the formation of ISI, the MSC’s media commission announced Abu
         Ayyub al-Masri as AQI’s new emir on June 12, 2006. The establishment of ISI just four
         months later, as well as the selection of Abu Umar al-Baghdadi as the state’s emir, shows that
         the jihadist organization was continuing the “Iraqization program” that Zarqawi had started,
         giving the militant group an Iraqi face.91 Though al-Masri may have been truly pulling the
         strings within ISI, he was a foreigner and thus likely understood that he could not publicly
         assume leadership of the nascent state. Shortly after the MSC announced ISI’s establishment
         under Abu Umar al-Baghdadi’s leadership, al-Masri issued a statement urging other Iraqi
         insurgent groups to pledge allegiance to Baghdadi and unite under the ISI banner. He publicly
         declared his own allegiance to al-Baghdadi.92

    ● Public Relations Minister/Official Spokesman: Muharib Abd al-Latif al-Juburi (aka Abu Abdullah).
      Juburi’s ties to the Zarqawi network date back to at least 2004.93 Following Zarqawi’s death,
      Juburi continued to serve as a trusted courier for Abu Ayyub al-Masri, and, according to al-
      Masri, he was instrumental in establishing ISI and securing the support of tribal leaders in
      Anbar Province and Baghdad.94 According to the late Iraqi analyst Hisham al-Hashimi,
      following ISI’s establishment, Juburi was one of the masterminds behind the creation of the
      group’s media arm, which would become known as al-Furqan Establishment for Media
      Production.95 Juburi managed al-Furqan and served as ISI’s official spokesman until he died
      in April 2007.96

real leader. All of the orders and commands come from” al-Masri. The DIA document is available at
http://www.dia.mil/FOIA/FOIA-Electronic-Reading-Room/FOIA-Reading-Room-Iraq/FileId/84074/.
87 Shaun Waterman, “Confusion Swirls Over Zarqawi Successor,” UPI, June 20, 2006 (quoting information provided by

Gen. William Caldwell).
88 “Biographies of the Islamic State’s Men,” video posted to al-Minbar al-Ilami jihadist forum, November 20, 2014.
89 Bill Roggio, “Abu Ayyub al Masri, al Qaeda in Iraq’s Leader, Reported Captured in Mosul,” Long War Journal, May 8,

2008.
90 Bill Roggio, “U.S. and Iraqi Forces Kill al Masri and Baghdadi, al Qaeda in Iraq’s Top Two Leaders,” Long War Journal,

April 19, 2010.
91 This conclusion aligns with the analysis in Michael Weiss & Hassan Hassan, ISIS: Inside the Army of Terror (New York:

Regan Arts, 2015), p. 63.
92 Abu Hamzah al-Muhajir, audio message, posted to the Islamic Renewal Organization forum, November 10, 2006.
93 As the emir of al-Ghuraba Brigades, Muharib al-Juburi had formed an alliance with Zarqawi as early as 2004. From

2004-06, Muharib al-Juburi served as one of Zarqawi’s most trusted couriers and a representative of the Zarqawi
organization’s senior leadership. When the MSC announced its formation in 2006, al-Ghuraba Brigades became one of
the founding members.
94 Abu Hamzah al-Muhajir, audio interview, Al-Furqan Media Production Establishment, October 24, 2008.
95 Mu’ayyad Basim, “Iraqi Researcher Reveals Organizational Structure of ISIL’s Media Arm [trans. from Arabic],” Al-

Sabah al-Jadid, June 4, 2014.
96 Islamic State of Iraq, “The Islamic State of Iraq Brings the Good Tidings to the Muslim Nation of the Martyrdom of

Its Official Spokesman,” World News Network website, May 3, 2007.



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     ● General Security Minister: Abu Abd-al-Jabbar al-Jannabi. Though not a member of AQI per se,
       another Zarqawi organization associate in the ISI cabinet was cleric Abu Abd-al-Jabbar al-
       Jannabi. Prior to becoming General Security Minister of ISI, Jannabi served as the emir of the
       Mujahideen Shura Council in Fallujah. As the New York Times reported, he was known to have
       “provided safe haven for foreigners like Mr. Zarqawi and anyone willing to take up arms
       against the Americans or the interim Iraqi government.” 97

Beyond the cabinet, many regional emirs were also AQI members. Here are some notable examples:

     ● Jarrah al-Shami (aka Abu Hajar). Described by a jihadist biographer as “one of the pillars of the
       Islamic State of Iraq,” ISI’s emir of Anbar, Jarrah al-Shami, became involved in the Iraq
       jihadist scene as early as 2004, when he participated in the Second Battle of Fallujah. 98 After
       being imprisoned briefly in 2005, al-Shami joined up with Zarqawi. During his career in the
       Zarqawi organization, al-Shami was promoted to the military emir of Jazirat al-Ramadi, then
       the emir of Anbar Province. He continued to serve as the emir of Anbar Province after ISI
       was established and continued to hold this position until his death in 2007.

     ● Abu Qaswarah al-Maghribi. Described by AFP as having “ties” to Zarqawi, Abu Qaswarah al-
       Maghribi was considered “al-Qaeda’s number two in Iraq” before his death in October 2008. 99
       While little is known about his trajectory within AQI, according to a biography published by
       the jihadist al-Battar Media Foundation, in addition to being AQI’s second in command, he
       was also ISI’s “emir of Northern Iraq.”100 Following Maghribi’s death, ISI’s media arm al-
       Furqan Media Production Establishment published an 8-minute audio statement by Abu
       Umar al-Baghdadi eulogizing him.101

     ● Manaf Abd al-Rahim al-Rawi. Longtime Zarqawi associate Manaf Abd al-Rahim al-Rawi, a
       veteran AQI member, ultimately served as ISI’s Baghdad emir. As Fishman explains, “al-Rawi
       was not part of the jihadi inner circle, but he was adjacent to it.”102 Al-Rawi began his jihadist
       career as the driver and assistant to Abu Muhammad al-Lubnani, one of Zarqawi’s most
       trusted advisors.103 In a 2010 television interview aired on Al-Iraqiyah, al-Rawi described his
       relationship with Lubnani as “very close” and recounted his experience working in proximity
       to the leaders of the nascent Zarqawi organization, such as Zarqawi and Abu Anas al-Shami. 104
       In 2004, al-Rawi participated in the major battles in Fallujah, during which he met other
       notable jihadist figures. In June 2004, U.S. forces arrested al-Rawi and imprisoned him in
       Camp Bucca, a U.S. military prison later known for housing some of the most radical elements
       of the Iraqi jihadist movement, including Abu Bakr al-Bagdadi. After his release three and a
       half years later, al-Rawi leveraged the contacts he had made in prison, as well as his pre-


97 Robert F. Worth, “Marines Find Vast Arms Cache in Falluja Leader’s Mosque,” New York Times, November 25, 2004.
98 “Biographies of the Islamic State’s Men,” video posted to al-Minbar al-Ilami jihadist forum, November 20, 2014.
99 “Swede Killed Was AQ Second in Command in Iraq,” Agence France-Presse, October 15, 2008.
100 “Biographies of the Islamic State’s Men,” video posted to al-Minbar al-Ilami jihadist forum, November 20, 2014.
101 Abu Umar al-Baghdadi, video released by Al-Furqan Media Production Establishment, October 22, 2008.
102 PEX 218, p. 141.
103 Ibid., p. 140.
104 Al-Iraqiyah Television, May 12, 2010.




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            incarceration jihadist connections, to rejoin AQI.105 With the help of al-Masri, al-Rawi secured
            a position as deputy to Hajji Abd al-Wahid, the head of ISI in Baghdad. When al-Wahid was
            demoted a year later, al-Rawi took over.106 From 2008 until he was arrested again in 2010, al-
            Rawi directed ISI’s deadly operations and activities in Baghdad and Anbar province, including
            attacks and assassinations. Al-Rawi became one of Abu Ayyub al-Masri’s most trusted
            associates and was put in charge of coordinating and distributing messages to and from the
            top echelons of ISI’s leadership.107 This trust ultimately led to al-Masri’s demise. In March
            2010, Iraqi forces arrested al-Rawi, and a few weeks later he gave up the names of two key ISI
            couriers. This information allowed U.S. forces to find, and kill or capture, the top leaders of
            ISI.108

While ISI remained dominated by the Zarqawi organization, it is worth detailing the major area in
which it represented a significant evolution for the Zarqawi organization. As Brian Fishman notes, the
group “immediately set out to build a scalable bureaucratic framework that would eventually define
the Islamic State during the Syrian civil war.”109 Fishman outlines a number of steps that ISI took
during this period that later defined the bureaucracy of a later iteration of the Zarqawi organization,
which was known as the Islamic State (ISIS). Among other things, ISI:

            ● Named a cabinet, including Ministries of Agriculture and Marine Wealth, Oil, and
              Health;

            ● Executed small-scale public works projects, like irrigation canals;

            ● Managed health and safety regulations, including setting speed limits on roads;

            ● Created an internal bureaucracy for political and military administration;

            ● Called on “Muslim brothers around the world, especially those neighboring our
              dear state” to emigrate, and promised to “provide them with benefits and
              expertise”;

            ● Enforced strict financial accounting procedures;

            ● Completely rebranded all of its propaganda;

            ● Enforced rigorous pay scales and cared for the family of deceased fighters; and

            ● Recruited members with a range of administrative and scientific backgrounds, not
              just military experience.110


105 Ibid.
106 Ibid.
107 Al-Durar al-Shamiyah, April 5, 2014 (reporting the testimony of ISIS defector Abu Ahmad).
108 Michael R. Gordon & Bernard E. Trainor, The Endgame: The Inside Story of the Struggle for Iraq, from George W. Bush to Barack

Obama (New York: Vintage Books, 2013), p. 622.
109 Fishman, The Master Plan, Kindle ed. loc. 1794 of 8220.
110 Ibid., locs. 1801-08 of 8220.




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But ISI encountered a significant challenge that produced the group’s defeat—albeit a temporary one,
as it powerfully reemerged in the post-Arab Spring environment as ISIS. Though the Zarqawi
organization had tried to mask its activities in Iraq under the pretense of an Iraqi-led insurgent
coalition, many Sunni tribal leaders saw the jihadist organization as brutal, foreign in its conception,
and forcibly imposing an oppressive form of the Islamic faith that was alien to Iraq. In September
2006, around 30 of these leaders held a meeting to voice their opposition to the Zarqawi organization,
and formed a coalition called Majlis Inqadh al-Anbar, or the Anbar Salvation Council, to combat al-
Qaeda elements in their midst.111 This was the genesis of what would popularly become known as the
“Awakening” movement, which was instrumental in the Zarqawi organization’s defeat during this
period.

The establishment of the Awakening prompted the Zarqawi organization’s leadership to try to rally
tribal support to counter this growing opposition. On October 12, 2006, MSC formed its own tribal
coalition, the Hilf al-Mutaiyabin (“Alliance of the Perfumed Ones”).112 The MSC rebranded as ISI
three days later.

In April 2010, U.S. and Iraqi forces raided a safe house north of Baghdad and killed ISI leaders Abu
Ayyub al-Masri and Abu Umar al-Baghdadi. The blow was seen as the biggest hit inflicted upon the
organization since Zarqawi’s death in 2006. Around one month later, on May 16, 2010, ISI announced
the selection of a new emir, Abu Bakr al-Baghdadi al-Husayni al-Qurashi, who would in a few years
become ISIS’s first caliph.113 While the rise of ISIS is beyond the scope of this report, suffice it to say
that the group is sufficiently notorious that much ink has been spilled discussing it.

IV.      Iranian Support for al-Qaeda

Despite its Shia identity, Iran has at times provided significant material support to al-Qaeda, as well as
to its al-Qaeda in Iraq (AQI) affiliate. This section begins by providing an overview of Tehran’s
historical arc of support to al-Qaeda starting in the 1990s, continuing through the 9/11 terrorist
attacks. It then turns to the Islamic Republic’s backing of one of al-Qaeda’s most violent affiliates, the
Zarqawi organization, between 2001 and 2011.

Pre-9/11 Iranian Support for al-Qaeda
Ties between Iran and key al-Qaeda leaders date back to the early 1990s, when Ayman al-Zawahiri,
then the emir of Egyptian Islamic Jihad (EIJ), visited Iran to secure an agreement in which Tehran
would reportedly provide $2 million, as well as training support, to assist EIJ in its fight against Egypt’s
Hosni Mubarak regime.114 Indeed, Zawahiri and Iran found synergy in their goals. For his part,
Zawahiri had studied the Iranian revolution and saw it as a potential model for the transformation of
his own native country of Egypt.115 Meanwhile, the Iranian government publicly supported the
assassination of Anwar Sadat, even naming a street after the Egyptian president’s killer, Khalid



111 Al-Bayyinah al-Jadidah (Arabic), September 20, 2006.
112 Mujahedin Shura Council, announcement of new alliances, October 12, 2006.
113 For the announcement of Baghdadi’s ascension within ISI, see “God Is Great, A Statement of the Islamic State of

Iraq’s Shura Council [trans. from Arabic],” posted to Al-Fallujah Islamic Forums, May 16, 2010.
114 Lawrence Wright, The Looming Tower: Al-Qaeda and the Road to 9/11 (New York: Alfred A. Knopf, 2006), p. 174.
115 Ibid.




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Islambouli. Khalid’s brother, a Sunni jihadist named Mohammed Islambouli, received safe have in
Iran after the overthrow of the Taliban’s regime in late 2001.116

Though Zawahiri brokered this deal while serving as EIJ’s emir, his group and al-Qaeda were closely
linked even then by virtue of Zawahiri’s connections to Osama bin Laden. The two first met in the
1980s while supporting the mujahedin’s efforts in Afghanistan, and Zawahiri exercised significant
influence over bin Laden from this time onward.117 Following EIJ’s 2001 merger into al-Qaeda,
Zawahiri rose through the ranks of the group, serving for over a decade as the group’s deputy emir,
then becoming its emir after bin Laden’s 2011 death. This close relationship often made it difficult,
even prior to the al-Qaeda/EIJ merger, to practically distinguish between the two militant
organizations. Illustrating this, around 1992 the talks between EIJ and Iran began to include al-Qaeda
as well. These discussions culminated in an informal understanding between Iran, al-Qaeda and EIJ
that they would coordinate politically and militarily to confront the United States and Israel, and
undermine Arab regimes that they viewed as supporting these two states. 118

In executing this informal agreement, Iran made considerable use of Hizballah as a conduit for
channeling covert support to al-Qaeda. Hizballah has long played a unique and central role in the
Iranian regime’s international apparatus of militancy, not least by providing Tehran with a critical
conduit for carrying out plausibly deniable operations abroad.119 Operations linked to Hizballah, rather
than specifically to Iran, can be disavowed by Tehran if they prove costly or politically inconvenient.

EIJ operatives played a key role in brokering bin Laden and al-Qaeda’s relationship with Iran and
Hizballah. One EIJ member, Ali Mohamed, served as Zawahiri’s subordinate and arranged security
for a meeting between bin Laden and Hizballah’s chief terrorist, Imad Mughniyeh. “I was aware of
certain contacts between al-Qaeda and al-Jihad organization [EIJ], on one side, and Iran and Hizballah
on the other side,” Mohamed told the U.S. District Court for the Southern District of New York in
2000.120 “I arranged security for a meeting in the Sudan between Mughniyah, Hezbollah’s chief, and
Bin Laden,” Mohamed admitted.121 Imad Mughniyeh was the head of Hizballah’s terrorist operations
and is suspected of orchestrating the 1983 Beirut bombings, as well as other terrorist operations
targeting Western forces and interests in Lebanon. The 1983 bombings contributed to President
Reagan’s decision to withdraw American troops from Lebanese soil in February 1984. Bin Laden
referred to Reagan’s withdrawal in a May 1998 interview with ABC reporter John Miller. Bin Laden
stated: “We have seen in the last decade the decline of the American government and the weakness
of the American soldier who is ready to wage cold wars and unprepared to fight long wars. This was
proven in Beirut when the Marines fled after two explosions.” In making this statement, bin Laden
likely had in mind the operation that his organization was then preparing: the near-simultaneous
bombing of U.S. embassies in Kenya and Tanzania.

116 See Thomas Joscelyn, “CIA Releases Video of Hamza bin Laden’s Wedding,” Long War Journal, November 1, 2017.
117 Peter L. Bergen, The Osama bin Laden I Know (New York: Free Press, 2006), p. 63.
118 “Terrorism Establishment of a Tripartite Agreement Among Usama Bin Laden, Iran and the NIF,” Central Intelligence

Agency report, January 31, 1997, p. 3, available at https://www.documentcloud.org/documents/368918-1997-01-31-
terrorism-establishment-of-a.html.
119 See, for example, Flanagan v. Islamic Republic of Iran, 87 F. Supp. 3d 93, 108 (D.D.C. 2015). In that case, the Court

favorably quoted a plaintiff’s exhibit that stated: “In many of its operations involving terrorist groups, Iran uses Hizballah
as a facilitator.… Working through Hizballah offers Iran some degree of deniability if it chooses, as it places one more
degree of separation between the group in question and Iran.”
120 United States v. Mohamed, S(7) 98 Cr. 1023 (S.D.N.Y. October 20, 2000), p. 28.
121 Ibid.




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The 1998 East African Embassy Bombings & Iranian Support
In Owens v. Republic of Sudan, the United States Court of Appeals for the D.C. Circuit explained in brief
the devastating impact of the 1998 East Africa embassy bombings:

            On August 7, 1998 truck bombs exploded outside the United States embassies in
            Nairobi, Kenya and in Dar es Salaam, Tanzania. The explosions killed more than 200
            people and injured more than a thousand. Many of the victims of the attacks were U.S.
            citizens, government employees, or contractors.

            As would later be discovered, the bombings were the work of al Qaeda, and only the
            first of several successful attacks against U.S. interests culminating in the September
            11, 2001 attack on the United States itself.122

Iran played a causal role in those attacks. Iranian-backed militants, including Imad Maghniyah, had
met with bin Laden as the relationship between al-Qaeda and Iran deepened. According to Ali
Mohamed, Hizballah subsequently “provided explosives training for al-Qaeda and al-Jihad [EIJ],” as
well as providing them with explosives.123 Testifying in a different court case, al-Qaeda defector Jamal
al-Fadl described the same training. Fadl told the court that he spoke with another al-Qaeda operative,
Abu Talha al-Sudani, who attended Hizballah’s training in Lebanon. According to Fadl, Sudani
described Hizballah’s training as “very good,” and showed Fadl a videotape from the training, which
dealt with how to blow up “big buildings.”124

The 9/11 Commission added context for the training described by Mohamed and al-Fadl, explaining
that discussions between al-Qaeda and Iranian operatives in late 1991 or 1992 “led to an informal
agreement to cooperate in providing support—even if only training—for actions carried out primarily
against Israel and the United States.”125 Shortly after these discussions, “senior al Qaeda operatives
and trainers traveled to Iran to receive training in explosives.” 126 Then, during the “fall of 1993, another
such delegation went to the Bekaa Valley in Lebanon for further training in explosives as well as in
intelligence and security.”127 The trainees who received instruction from Iran and Hizballah included
al-Qaeda’s “top military committee members,” as well as al-Qaeda terrorists who belonged to the cell
responsible for attacking the U.S. Embassy in Kenya. 128 Indeed, the 9/11 Commission found that the
training provided by Iran and Hizballah gave al-Qaeda the “tactical expertise” it required for the 1998
U.S. Embassy bombings.129

The U.S. District Court for the District of Columbia subsequently confirmed the 9/11 Commission’s
conclusion, finding that Iran played a causal role in the 1998 U.S. Embassy attacks. In Owens v. Republic
of Sudan, in which Iran was also a defendant, the Court found that “prior to their meetings with Iranian
officials and agents, bin Laden and al-Qaeda did not possess the technical expertise required to carry

122 Owens v. Republic of Sudan, 864 F.3d 751, 762 (D.C. Cir. 2017).
123 United States v. Mohamed, S(7) 98 Cr. 1023 (S.D.N.Y. October 20, 2000), p. 28.
124 Trr. of Day 2 of trial, United States v. Bin Laden, No. S(7) 98 Cr. 1023 (S.D.N.Y February 6, 2001).
125 National Commission on Terrorist Attacks upon the United States, The 9/11 Commission Report (2004), p. 61.
126 Ibid.
127 Ibid.
128 Ibid., p. 68.
129 Ibid.




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out the embassy bombings in Nairobi and Dar es Salaam. The Iranian defendants, through Hezbollah,
provided explosives training to bin Laden and al-Qaeda and rendered direct assistance to al-Qaeda
operatives.”130 In its Havlish v. bin Laden opinion, the District Court for the Southern District of New
York rightly affirmed Iran’s support for al-Qaeda during this period, as well as the fact that Iranian
leadership was aware of this material support. 131

Iran also played a central role in facilitating al-Qaeda’s activities in the Arabian Peninsula. Al-Qaeda
had exercised some influence in Yemen as early as 1988, supporting anti-communist jihadists during
the country’s civil war.132 Iran helped transform this limited influence into a more potent operation by
serving as a transit route for al-Qaeda members traveling to and from the Gulf. The groundwork for
this travel facilitation was laid in the mid-1990s, when senior al-Qaeda associate Mustafa Hamid
“negotiated a secret relationship between Usama Bin Laden and Iran, allowing many al Qaida
members safe transit through Iran to Afghanistan.”133 Iran held up its end of the bargain by allowing
al-Qaeda to “establish a series of guest houses for its fighters making the long journey through
[Iranian] territory.”134 According to Dr. Patrick Clawson, the director of research at the Washington
Institute for Near East Policy, “during the late 1990s and through 2000,” Iran was the “common
route” for al-Qaeda members transiting between Afghanistan and Yemen. 135 Indeed, Saif al-Adl
identified Iran in 1999 as a “safe passage for the fraternal brothers after the Pakistani authorities began
to tighten the noose around our movement.” 136

Much of Iran’s support for al-Qaeda was rendered through its Ministry of Intelligence and Security
(MOIS) and the IRGC. In its 2000 report Patterns of Global Terrorism, the U.S. Department of State
noted that these two Iranian organs had supplied “support—including funding, training and logistics
assistance—to extremist groups in the Gulf” of Aden, as well as other areas. 137

The U.S. District Court for the District of Columbia later found that Iran’s support to al-Qaeda in the
Gulf played a causal role in the October 2000 suicide bombing attack on the USS Cole, which killed
17 American sailors while the vessel was refueling in the Port of Aden. The Court concluded that Iran,
“through the provision of material support and resources (the financial support, support for training,
and facilitation of travel) to Bin Laden and Al-Qaeda, facilitated the planning and execution of the
attack on the Cole.”138 In finding Iran culpable in the Cole bombing, the Court reasoned that “Iran
took primary responsibility for transferring, via Lebanese Hizballah, extensive technical expertise to
Al-Qaeda and other terrorist organizations.”139 The court also determined that al-Qaeda “used Iran as


130 Owens v. Republic of Sudan, 826 F.Supp.2d 128, 135 (D.D.C. 2011).
131 Havlish v. Bin Laden (In re Terrorist Attacks on September 11, 2002), No. 03 MDL 1570-GBD, 03-cv-09848-GBD, 2011 WL

13244047, at *18 (S.D.N.Y. Dec. 22, 2011).
132 Peter L. Bergen, The Osama bin Laden I Know (New York: Free Press, 2006), pp. 108-09; Nasser al-Bahri, Guarding Bin

Laden: My Life in al-Qaeda, trans. Susan de Muth (London: Thin Man Press, 2013), p. 22.
133 U.S. Department of the Treasury, press release, “Treasury Targets al Qaeda Operatives in Iraq,” January 16, 2009,

https://www.treasury.gov/press-center/press-releases/Pages/hp1360.aspx.
134 Flanagan, 87 F. Supp. 3d at 107.
135 Flanagan, 87 F. Supp. 3d at 108.
136 Bergen, The Osama bin Laden I Know, p. 354.
137 U.S. Department of State, Patterns of Global Terrorism, 2000 (Washington, D.C., April 2001), https://2009-

2017.state.gov/j/ct/rls/crt/2000/.
138 Flanagan, F. Supp. 3d at 115.
139 Id. at 117.




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a ‘transit point’ for moving money and fighters.”140 Finally, the court held that “in the years leading up
to the Cole bombing, Iran was directly involved in establishing Al-Qaeda’s Yemen network and
supported training and logistics for Al-Qaeda in the Gulf region.” 141 In my expert opinion, the Court’s
determinations about the relationship between Iran and al-Qaeda in this regard were correct.

The travel facilitation that Iran provided to al-Qaeda also helped the terrorist group to execute the
9/11 attacks, even if Iran did not necessarily know that al-Qaeda was then preparing such a massive
operation on U.S. soil. According to the 9/11 Commission, at least eight and possibly as many as ten
of the 15 Saudi hijackers involved in the 9/11 attacks passed through Iran while en route to Afghanistan
between October 2000 and February 2001.142 This was a preferred route for moving al-Qaeda
operatives during this period, as Tehran instructed its border guards not to stamp the passports of
these operatives, effectively cloaking their movements. Among other things, neglecting to stamp the
passports was an attempt by Iran to disguise its support for al-Qaeda. 143 Following a subsequent civil
lawsuit brought against Iran, the District Court for the Southern District of New York ruled that this
travel facilitation, along with other avenues of support, constituted direct material support to al-
Qaeda.144

The period of the al-Qaeda-Hizballah relationship, stretching from 1992 through at least 2001,
spanned multiple Iranian political administrations. The fact that this relationship continued even
through the Mohammad Khatami administration, which observers frequently describe as moderate or
reformist, suggests that changes in Iranian political administrations did not meaningfully alter its policy
regarding al-Qaeda. It is worth noting that the elected Iranian president wields far less power than the
country’s Supreme Leader, Ayatollah Ali Khamenei. Notoriously hardline, Ayatollah Khamenei has
been identified by the CIA as one of Hizballah’s “foremost supporters.” 145

Post-9/11 Iranian Support for al-Qaeda
Iranian support for al-Qaeda continued following the 9/11 attacks. Acting through a deal that Abu
Hafs al-Mauritani (born Mahfouz Ibn El Waleed) brokered with the IRGC’s elite Quds Force, Tehran
gave safe passage and sanctuary to hundreds of jihadists fleeing Afghanistan in the wake of the U.S.-
led invasion to overthrow the Taliban.146 Fighters in the first wave fleeing Afghanistan were detained

140 Id.
141 Id. at 118.
142 The 9/11 Commission Report: Final Report of the National Commission on Terrorist Attacks Upon the United States (2004), p. 240;

Unclassified Version of Director of Central Intelligence George J. Tenet’s Testimony Before the Joint Inquiry into Terrorist Attacks against the
United States, Central Intelligence Agency, June 18, 2002, https://www.cia.gov/news-information/speeches-
testimony/2002/dci_testimony_06182002.html.
143 Havlish v. Bin Laden, no. 03 MDL 1570-GBD, 03-cv-09848-GBD, 2011 WL 13244047, at *23 (S.D.N.Y Dec. 22, 2011).
144 Id. at 50-51.
145   Central Intelligence Agency, “Hizballah Reactions to Khatami’s Election,” December 22, 1997,
https://www.cia.gov/readingroom/docs/DOC_0001280265.pdf. Iran’s sustained support for al-Qaeda cannot be
attributed entirely to Khamenei, however. In October 1997, two months after his election, Khatami reassured Hizballah’s
leadership that his administration would maintain its support for the group. Ibid.
146 “Statement by Sulayman Abu Ghayth to the Federal Bureau of Investigation,” document number 415-A-NY-307616,

March 1, 2013, p. 7; Cathy Scott-Clark and Adrian Levy, The Exile: The Stunning Inside Story of Osama Bin Laden and Al Qaeda
in Flight (New York: Bloomsbury, 2017) p. 146.
           Mauritani is a leading Islamic scholar from Mauritania who became bin Laden’s personal consigliere and al-
Qaeda’s foremost religious authority. As for the Quds Force, it is now responsible for Iran’s extraterritorial covert and
military operations. At the end of the Iran-Iraq War, the IRGC merged several Quds Force predecessors, giving the new
elite division its current name and formalizing its structure. Nader Uskowi, Temperature Rising: Iran’s Revolutionary Guards and



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but then deported to countries of their choice after being documented, with Iran issuing some of them
special traveling papers to facilitate their exit. While detained, these fighters were provided with
comfortable accommodations rather than being held in military or prison facilities. 147 Indeed, General
Qassem Suleimani, the head of the Quds Force, reportedly took “personal responsibility” for tending
to Osama bin Laden’s fleeing family, as well as senior al-Qaeda members, when they “sought sanctuary
in Iran in 2002.”148

Indeed, the Islamic Republic permitted entry to some of al-Qaeda’s highest-ranking members,
including, among others, Saif al-Adl, Abu Muhammad al-Masri (a leading al-Qaeda figure who was
involved in the 1998 East African embassy attacks), Abu Musab al-Suri (one of al-Qaeda’s most
influential strategic voices), Sa’ad and Hamza bin Laden (Osama’s sons) and Abu Musab al-Zarqawi
(the future leader of AQI).149 Other al-Qaeda figures who found refuge in Iran after fleeing
Afghanistan included Abu Anas al-Libi (a prominent Libyan member who played an important role
in the 1998 East Africa embassy bombings), Abu Malik al-Libi, Atiyah Abd al-Rahman (a key al-Qaeda
manager, responsible for maintaining communications between al-Adl in Iran and bin Laden in
Pakistan), Thirwat Saleh Shihata (a former deputy to Zawahiri), and Muhammad Islambouli (an
Egyptian fighter who was a prominent al-Qaeda member).150

Iran monitored and surveilled al-Qaeda members in its territory, with the goal of maximizing the utility
al-Qaeda could offer to Iranian objectives (consistent with Iran’s pre-9/11 assistance to al-Qaeda)
while staving off the dangers that the terrorist group might pose to Iran. Prominent analyst Seth Jones
explained Iranian officials’ concerns in an essay for Foreign Affairs: “According to U.S. government
officials involved in discussions with Iran, over time, the growing cadre of AQ leaders on Iranian soil
apparently triggered a debate among senior officials in Tehran. Some worried that the U.S. would
eventually use the terrorist group’s presence as a casus belli. Indeed, in late 2002 and early 2003, U.S.
government officials held face-to-face discussions with Iranian officials demanding the regime deport


Wars in the Middle East (Lanham, MD: Rowman & Littlefield, 2019), p. 42; “Al-Quds Forces Associated with the Guards
of the Islamic Revolution,” Iraqi intelligence study (ISGZ 2005-001122-19954), October 2000,
https://ctc.usma.edu/harmony-program/iraqi-intelligence-study-of-the-iranian-revolutionary-guard-corps-original-
language-2/. However, as early as 1979, Quds Force predecessors began to support foreign militant groups and Shia
dissidents. For example, they provided training to Iraqi refugees in Iran, deploying them to fight in border skirmishes
against Iraqi forces even before the Iran-Iraq War began in 1980. Quds Force predecessors also trained Afghans in Iran
to fight first against the Communist government in Kabul in 1979, and later against occupying Soviet forces. National
Foreign Assessment Center, U.S. Central Intelligence Agency, “Iran: Exporting the Revolution,” March 10, 1980.
147 “Letter Dated 13 Oct 2010,” released in Bin Laden’s Bookshelf, Office of the Director of National Intelligence,

https://www.dni.gov/files/documents/ubl/english/Letter%20dtd%2013%20Oct%202010.pdf; Scott-Clark and Levy,
The Exile, p. 146.
148 Scott-Clark & Levy, The Exile, p. 520.
149 Levy & Scott-Clark, “Al Qaeda Has Rebuilt Itself – With Iran’s Help,” The Atlantic, November 11, 2017,

https://www.theatlantic.com/international/archive/2017/11/al-Qaeda-iran-cia/545576/.
150 See “Letter Dated 13 Oct 2010,” released in Bin Laden’s Bookshelf, Office of the Director of National Intelligence,

https://www.dni.gov/files/documents/ubl/english/Letter%20dtd%2013%20Oct%202010.pdf; “Letter Dated 5 April
2011,” released in Bin Laden’s Bookshelf, Office of the Director of National Intelligence,
https://www.dni.gov/files/documents/ubl/english/Letter%20dtd%205%20April%202011.pdf; Assaf Moghadam,
“Marriage of Convenience: The Evolution of Iran and al-Qa’ida’s Tactical Cooperation,” CTC Sentinel 10:4 (April 2017);
U.S. Department of the Treasury, press release, “Treasury Targets Key Al-Qa’ida Funding and Support Network Using
Iran as a Critical Transit Point,” July 28, 2011, https://www.treasury.gov/press-center/press-releases/pages/tg1261.aspx;
Adam Goldman, “Senior al-Qaeda Figure Leaves Iran Amid a Series of Departures by Terrorist Suspects,” Washington Post,
February 14, 2014.



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AQ leaders to their countries of origin. Iran refused, but around the same time, the country’s Ministry
of Intelligence (MOIS) took control of AQ members and their families.” 151 The concerns of Tehran’s
leadership resulted in further restriction on the movements and residences of al-Qaeda members, at
least temporarily, and sporadic detention of these individuals. 152

Even so, Iran provided al-Qaeda operatives with wide latitude in carrying out their roles for the
militant organization. As Fishman notes in The Master Plan, Saif al-Adl was “living freely in Shiraz
when the United States invaded Iraq,” and “he continued to play a key role in al-Qaeda’s broader
command structure.” Al-Adl’s “captors clearly gave him leeway to remain a productive member of al-
Qaeda’s leadership” during this period. 153 Illustrating the leeway provided to al-Adl, and thus providing
a window into the leeway that Iran gave also to other al-Qaeda leaders, is Saif al-Adl’s ability to produce
and disseminate the “master plan,” a highly consequential strategic document that would eventually
pave the way for al-Qaeda’s cooperation with Zarqawi and its expansion in Iraq.

Saif al-Adl and the Master Plan
Saif al-Adl’s “house arrest” in Iran gave him the space he needed to write and distribute the
consequential “master plan” text that helped frame a multi-step strategy for al-Qaeda and its affiliates’
future activities and strategies in Iraq and beyond. Fishman elaborates on al-Adl’s relatively lenient
detainment conditions, describing how Iran housed al-Adl in an Iranian villa where he could still
“repeatedly pass messages to al-Qaeda members in Saudi Arabia and Pakistan” 154 This environment
was directly conducive to al-Adl producing his master plan. Fishman writes: “Al-Adl had plenty of
opportunity to think big about al-Qaeda’s strategy and the opportunity created by Zarqawi’s growing
network in Iraq. And in the early years of his captivity, at least, he maintained regular contact with the
outside world. The result of these machinations was a master plan to finally integrate the Zarqawiists
into al-Qaeda, build a near-term strategy to reestablish the caliphate, and, eventually, secure final
victory.”155

Beyond providing the space for al-Adl to develop and record his thinking on these issues, Iran allowed
al-Adl to remain connected to members of his militant network who were located outside of Iran.
This was accomplished in part through the use of couriers. To send out his master plan document, al-
Adl used a Palestinian courier who “had been jailed with al-Adl decades earlier in Egypt and had been
more recently living in Tehran.”156 Al-Adl provided this messenger with 42 yellow sheets of paper
containing his master plan, as well as “al-Adl’s history of Zarqawi’s engagement with al-Qaeda.” The
recipient of these 42 yellow sheets was a Jordanian journalist well connected in militant circles, Fouad
Hussein.157 Hussein himself had extremist leanings, and had been imprisoned in Jordan for writing
pieces critical of Jordan’s government. Indeed, he had been “jailed in Jordan alongside Zarqawi and
Maqdisi in the 1990s.”158

151 Seth G. Jones, “Al Qaeda in Iran,” Foreign Affairs, January 29, 2012.
152 Nasser al-Bahri, Guarding Bin Laden: My Life in al-Qaeda, trans. Susan de Muth (London: Thin Man Press, 2013), p. 209;

“Letter Dated 13 Oct 2010,” released in Bin Laden’s Bookshelf, Office of the Director of National Intelligence,
https://www.dni.gov/files/documents/ubl/english/Letter%20dtd%2013%20Oct%202010.pdf.
153 Fishman, The Master Plan, Kindle ed. locs. 679-86.
154 Ibid., loc. 691.
155 Ibid.
156 Ibid., loc. 735.
157 Ibid., loc. 730.
158 Ibid., loc. 733.




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After receiving the document from al-Adl, in 2005 Hussein published the contents of these 42 pages
in a biographical book about Zarqawi entitled Al-Zarqawi: The Second Generation of Al Qaeda. In addition
to the information he had received from al-Adl, Hussein compiled additional insights that he gathered
from interviews with other jihadist leaders.159 The book published by Hussein is significant, as it
outlined not only al-Adl’s “visionary effort to incorporate the Zarqawist movement into al-Qaeda’s
strategic vision,” but also a broader seven-stage plan for al-Qaeda and its affiliates to reestablish the
caliphate within a 20-year period. 160 Lawrence Wright provides a competent summary of this seven-
stage plan:

         Al Qaeda’s twenty-year plan began on September 11th, with a stage that Hussein calls
         “The Awakening.” The ideologues within Al Qaeda believed that “the Islamic nation
         was in a state of hibernation,” because of repeated catastrophes inflicted upon Muslims
         by the West. By striking America—“the head of the serpent”—Al Qaeda caused the
         United States to “lose consciousness and act chaotically against those who attacked it.
         This entitled the party that hit the serpent to lead the Islamic nation.” This first stage,
         says Hussein, ended in 2003, when American troops entered Baghdad.

         The second, “Eye-Opening” stage will last until the end of 2006, Hussein writes. Iraq
         will become the recruiting ground for young men eager to attack America. In this
         phase, he argues, perhaps wishfully, Al Qaeda will move from being an organization
         to “a mushrooming invincible and popular trend.” The electronic jihad on the Internet
         will propagate Al Qaeda’s ideas, and Muslims will be pressed to donate funds to make
         up for the seizure of terrorist assets by the West. The third stage, “Arising and Standing
         Up,” will last from 2007 to 2010. Al Qaeda’s focus will be on Syria and Turkey, but it
         will also begin to directly confront Israel, in order to gain more credibility among the
         Muslim population.

         In the fourth stage, lasting until 2013, Al Qaeda will bring about the demise of Arab
         governments. “The creeping loss of the regimes’ power will lead to a steady growth in
         strength within Al Qaeda,” Hussein predicts. Meanwhile, attacks against the Middle
         East petroleum industry will continue, and America’s power will deteriorate through
         the constant expansion of the circle of confrontation. “By then, Al Qaeda will have
         completed its electronic capabilities, and it will be time to use them to launch electronic
         attacks to undermine the U.S. economy.” Islamists will promote the idea of using gold
         as the international medium of exchange, leading to the collapse of the dollar.

         Then an Islamic caliphate can be declared, inaugurating the fifth stage of Al Qaeda’s
         grand plan, which will last until 2016. “At this stage, the Western fist in the Arab region
         will loosen, and Israel will not be able to carry out preemptive or precautionary
         strikes,” Hussein writes. “The international balance will change.” Al Qaeda and the
         Islamist movement will attract powerful new economic allies, such as China, and
         Europe will fall into disunity.



159 Lawrence Wright, “The Master Plan,” The New Yorker, September 3, 2006.
160 Fishman, The Master Plan, Kindle ed. loc. 739.




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            The sixth phase will be a period of “total confrontation.” The now established
            caliphate will form an Islamic Army and will instigate a worldwide fight between the
            “believers” and the “non-believers.” Hussein proclaims, “The world will realize the
            meaning of real terrorism.” By 2020, “definitive victory” will have been achieved.
            Victory, according to the Al Qaeda ideologues, means that “falsehood will come to an
            end… The Islamic state will lead the human race once again to the shore of safety and
            the oasis of happiness.” 161

Al-Adl’s master plan proved highly consequential. Fishman writes that while “the seven-stage ‘master
plan’ is not the only ‘strategic plan’ that al-Qaeda has offered over the years,” and it “should not be
understood as a formal blueprint for every jihadi behavior,” the document’s significance can be found
in the fact that it presented a “remarkably prescient vision of future events, especially the Islamic
State’s declaration of a caliphate.”162

The main intellectual achievement of al-Adl’s theoretical work during his time in Iran was the way in
which he synthesized al-Qaeda and Zarqawi’s goals. Fishman notes that “integrating al-Qaeda’s long-
term strategic framework with Zarqawi’s action-oriented, near-term focus was no easy task.” 163 Yet al-
Adl achieved this—even if the relationship between the two would prove limited in duration. Fishman
writes that al-Adl’s suggested plan and timeline “was a revelation for al-Qaeda, which had long sought
to resurrect the caliphate but on a much more protracted, and intentionally vague, timeline.” 164

Al-Adl’s master plan is one of the most consequential jihadist strategic documents ever produced. The
fact that al-Adl was able to conceive, write, and distribute it during his time in Iran is indicative of the
latitude that the Islamic Republic provided to him, and to other al-Qaeda leaders.

The “Management Council”
By June 2003, just three months after the U.S. invasion of Iraq, U.S. intelligence officials were already
speaking publicly about Iran’s support for al-Qaeda. One news report published that month noted,
for example: “American intelligence officials said that Iran’s Ministry of Intelligence and Security, and
the Qods Division of the Islamic Revolutionary Guards Corps … are deeply involved in supporting
terrorists, including al Qaeda.”165 The Iran-based al-Qaeda hub rapidly established a “management
council” charged with providing strategic assistance to al-Qaeda’s main leadership that had regrouped
in Pakistan. This cadre helped to plan and direct the October 2003 truck bombing of a Western
housing complex in Riyadh, Saudi Arabia, suicide strikes against multiple targets in Casablanca,
Morocco that same month, and the bombing of the El-Ghriba synagogue in Djerba, Tunisia in 2002. 166


161 Wright, “The Master Plan.”
162 Fishman, The Master Plan, Kindle ed. loc. 756.
163 Ibid., loc. 742.
164 Ibid.
165 “U.S. Says Iran Harbors al Qaeda Associate,” Washington Times, June 10, 2003.
166 Levy & Scott-Levy, “Al-Qaeda Has Rebuilt Itself – With Iran’s Help”; Daniel Byman, “Unlikely Alliance: Iran’s

Secretive Relationship with Al-Qaeda,” IHS Defense, Risk and Security Consulting (July 2012), p. 31; Moghadam,
“Marriage of Convenience”; Toby Dershowitz, “Iran’s Support for al-Qaeda is Incompatible with FATF Standards,”
Foundation for Defense of Democracies, February 6, 2019, https://www.fdd.org/analysis/2019/02/06/irans-support-
for-al-Qaeda-is-incompatible-with-fatf-standards/; Seth Jones, “Al Qaeda in Iran; Why Teheran is Accommodating the
Terrorist Group,” Foreign Affairs, January 29, 2012.



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Al-Qaeda’s overarching leadership principle is known as “centralization of decision and
decentralization of execution.”167 Peter Bergen notes that, under this framework, “strategic targeting
decisions were made by bin Laden, but the planning and execution of attacks were undertaken by his
field commanders.”168 Applying this principle to the organization more broadly, al-Qaeda’s leadership
structure enabled the organization to operate even when senior leaders were physically separated from
field operatives.

Primarily due to pressure from the United States and other Arab states in the wake of these attacks,
Iran did detain several leading al-Qaeda figures sheltering in the country. However, it never publicly
specified who these operatives were. Further, subsequently uncovered evidence revealed that key
management council members—including Atiyah and Muhammad Islambouli—were still allowed to
operate with relative impunity, as I detailed was the case also for Saif al-Adl. It is now known that for
the most part the detained al-Qaeda figures were held under a loose form of military house arrest that
afforded a relatively high degree of movement. In a 2013 interview with the FBI, Sulayman Abu
Ghayth, who had served as al-Qaeda’s chief spokesman in the immediate aftermath of 9/11, described
the accommodations at these sites:

         GHAYTH advised that while initially incarcerated, the Iranians were official and
         formal and treated them well. They never received any verbal or physical abuse and
         they were told that treating them well was a recommendation from their leadership.
         GHAYTH stated that they were never interrogated and were only asked simple
         questions during the first week of incarceration…. After one year and eight months,
         they were moved to a military camp for approximately six months (Iran Location #2).
         GHAYTH said that Iran Location #2 was like a rest area for soldiers.… While
         incarcerated at Iran Location #2, they heard military training and anthems being sung.
         They were in a 100m by 100m compound and free to go in and out of their individual
         apartments within the military compound. The compound also had a mosque and
         soccer field…. After six months in Iran Location #2, they were set up in apartment
         like housing in which they stayed for approximately four years (Iran Location #3). Iran
         Location #3 was within the same Tehran military compound in which Iran Location
         #2 was located, but just in a different section of the overall compound…. After
         approximately four years at Iran Location #3, GHAYTH and his family, and the
         others who were co-located with GHAYTH at Iran Location #3 … were relocated to
         new accommodations within the same military compound in Tehran (Iran Location
         #4). Iran Location #4 was a walled off area with multiple houses, each with a yard,
         surrounding a central courtyard/playground. Each family had its own house at Iran
         Location #4. GHAYTH believed that the Iranians spent about a year refurbishing Iran
         Location #4 to get it ready for them…. GHAYTH and his fellow detained remained
         at Iran Location #4 until GHAYTH’s recent release from Iranian custody, a time-
         period of approximately three and a half years.169


167 See Peter Bergen, The Osama bin Laden I Know: An Oral History of al Qaeda’s Leader (New York: Free Press, 2006), p. 253

(quoting Nasser al-Bahri, whose kunya is Abu Jandal); Khalid al-Hammadi, “The Inside Story of al-Qaeda, Part 4,” Al-
Quds al-Arabi, March 22, 2005.
168 Peter L. Bergen, The Rise and Fall of Osama Bin Laden (New York: Simon and Schuster, 2021), pp. 112-13.
169 “Statement by Sulayman Abu Ghayth to the Federal Bureau of Investigation,” document number 415-A-NY-307616,

March 1, 2013, pp. 8-12.



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The accommodations offered to al-Qaeda members were so lax that some, including Abu Muhammad
al-Masri, chose to remain in Iranian detention rather than return home. In 2011, al-Masri and several
other al-Qaeda leaders in Iranian custody were offered release under the condition that they returned
to their home countries.170 Al-Masri rejected Iran’s offer, instead choosing to stay in Iranian custody. 171
Four years later, after a prisoner exchange with al-Qaeda in 2015, Iran formally released al-Masri from
prison, yet al-Masri again chose to remain in Iran.172 Former FBI agent and prominent terrorism
analyst Ali Soufan concluded that al-Masri likely chose to stay in Iran because Iran offered him
freedoms and security he would not receive had he returned to Egypt. 173 Indeed, despite nominally
being in Iranian custody, al-Masri was able to communicate with al-Qaeda operatives around the
world, unimpeded by Iranian security forces and immune from Coalition drone strikes. 174

Abu al-Qassam al-Urduni, a high ranking al-Qaeda member and the brother-in-law of Abu Musab al-
Zarqawi, likewise described al-Qaeda leaders’ extensive freedoms in Iran. In an essay published in
2017, Urduni suggested that al-Masri, along with Saif al-Adl, were detained only insofar as they could
not leave Iran, “for the fact that [al-Masri and Saif al-Adl] are in Iran is true, but as for being detained,
this was what had to be clarified and detailed…they got out of prison. So the two are not detained as
is understood and implied from this word, but they are prohibited from travelling until God can grant
them an exit, for they move about and live their ordinary life except for permission to travel. For the
word ‘detained’ gives the false impression that the two are in prison or incommunicado or deprived
of will or the like.”175

Tehran also continued to allow recruits making the journey to South Asia to access guest houses in
Iran, a fact referenced by Abu Muhammad al-Adnani, former ISIS spokesman, in his May 2014
denunciation of Zawahiri.176 Repeated reference to these sanctuaries being used to facilitate the travel
of al-Qaeda to and from Afghanistan is made in reports prepared at the Guantanamo Bay detention
facility that have been either declassified or appeared in press reporting. 177 According to one
document, dozens of Guantanamo prisoners were found to have traveled through the Islamic
Republic en route to al-Qaeda’s training camps in Afghanistan: “Travel through Iran is a known
modus operandi for al Qaeda operatives to get into Afghanistan via a chain of safe-houses and
operatives.”178 This route was operated by Yasin al-Suri since at least 2007, and possibly as early as


170 Ali Soufan, “Next in Line to Lead al-Qa`ida: A Profile of Abu Muhammad al-Masri,” CTC Sentinel 12:10 (November

2019), https://ctc.usma.edu/next-line-lead-al-qaida-profile-abu-muhammad-al-masri/.
171 “Statement by Sulayman Abu Ghayth to the Federal Bureau of Investigation,” document number 415-A-NY-307616,

March 1, 2013, p. 15.
172 Ali Soufan, “Next in Line to Lead al-Qa`ida.”
173 Ibid.
174 Ibid.
175 Aymenn Jawad Al-Tamimi, “The Hay’at Tahrir al-Sham-al-Qaeda Dispute: Primary Texts (III),” Aymenn Jawad Al-

Tamimi’s Blog, December 10, 2017, http://www.aymennjawad.org/2017/12/the-hayat-tahrir-al-sham-al-Qaeda-dispute-
primary-2.
176 Abu Muhammad al-Adnani, “Pardon, Emir of al-Qaeda,” audio recording of speech produced by ISIS’s al-Furqan

Media Foundation, posted to Twitter on May 11, 2014; see also Thomas Joscelyn, “ISIS Spokesman Blames Zawahiri for
Infighting in Syria,” Long War Journal, May 12, 2014.
177 Discussed in Thomas Joscelyn, “Al Qaeda’s Interim Emir and Iran,” Long War Journal, May 18, 2011,

https://www.longwarjournal.org/archives/2011/05/analysis_al_qaedas_i.php.
178 Tim Lister, “Military Documents Reveal Details About Guantanamo Detainees, al Qaeda,” CNN, April 25, 2011;

Clemmie Douchez, “Ex-Guantanamo Detainee Allegedly Led Recruiting Cell for the Islamic State,” Long War Journal,
March 1, 2016.



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2005. Tehran maintained ties with Suri, allowing him to operate in the country. 179 Access to guest
houses operated by Tehran also directly supported the operations of al-Qaeda leaders and facilitators
such as Abu Zubaydah and Hussein Salem Mohammed.180

Al-Qaeda Facilitators
The Islamic Republic has been complicit in allowing key al-Qaeda facilitators to operate from its
territory. In 2005, the U.S. Treasury Department designated Muhsin al-Fadhli, an Iran-based confidant
of bin Laden, for providing financial and material support to underwrite attacks against American and
coalition forces fighting in Iraq.181 In 2009, the United States sanctioned several top al-Qaeda
operatives based in Iran, including bin Laden’s son Sa’ad and also Mustafa Hamid, one of the main
people responsible for channeling strategic and tactical communications to and from Afghanistan
during the 1990s.182

In July 2011, the U.S. Treasury Department for the first time formally accused Tehran of forging an
alliance with al-Qaeda to move money and recruits from the Persian Gulf to the group’s leadership in
Afghanistan, Pakistan, and Iraq, with these personnel and assets moving through Iran. Al-Qaeda
leader Yasin al-Suri, who was born Ezedin Abdel Aziz Khalil, was identified as the chief architect
behind this enterprise, which drew on a logistical and financial network that operated in tandem with
donors and contributors based in Qatar and Kuwait.183 According to the 2011 announcement from
the Treasury Department, “Iranian authorities maintain a relationship with Khalil [Suri] and have
permitted him to operate within Iran’s borders since 2005.”184 Treasury also stated that Suri’s activities
included moving “money and recruits from across the Middle East into Iran, then on to Pakistan,”
where they served senior al-Qaeda leaders. Suri also arranged for al-Qaeda members detained in Iran
to be freed and sent to Pakistan. The Iranians did not merely turn a blind eye to Suri’s activities.
Instead, Suri operated “under an agreement between al Qaeda and the Iranian government.” 185

Treasury also designated Umid Muhammadi, an AQI supporter based in Iran who was involved “in
planning multiple attacks in Iraq and has trained extremists in the use of explosives.” 186 Treasury added
that Muhammadi had “also received training in Afghanistan on the use of rockets and chemicals.” 187
The next year, the U.S. Treasury named Adel Radi Saqr al-Wahabi al-Harbi as Fadhli’s chief deputy


179 See U.S. Department of the Treasury, press release, “Treasury Targets Key Al-Qa’ida Funding and Support Network

Using Iran as a Critical Transit Point,” July 28, 2011, https://www.treasury.gov/press-center/press-
releases/pages/tg1261.aspx.
180 Thomas Joscelyn, “5 Transferred GITMO Detainees Served al Qaeda, Leaked Files Allege,” Long War Journal,

November 21, 2014, https://www.longwarjournal.org/archives/2014/11/five_guanta_deta.php.
181 U. S. Department of the Treasury, press release, “Treasury Takes Action to Stem Funding to the Iraqi Insurgency,”

February 15, 2005.
182 U.S. Department of the Treasury, press release, “Treasury Targets al Qaeda Operatives in Iraq,” January 16, 2009,

https://www.treasury.gov/press-center/press-releases/Pages/hp1360.aspx; Ari R. Weisfuse, “The Last Hope for the al-
Qa’ida     Old       Guard?:      A      Profile     of    Saif  al-‘Adl,”   CTC      Sentinel    9:3   (March     2016),
https://ctc.usma.edu/app/uploads/2016/04/CTC-SENTINEL-Vol9Iss3_b7.pdf, p. 24.
183 See Office of the Spokesperson, U.S. Department of State, “Rewards for Justice – Ezedin Abdel Aziz Khalil (a.k.a.

Yasin al-Suri) Reward Offer,” December 22, 2011, https://2009-2017.state.gov/r/pa/prs/ps/2011/12/179618.htm.
184 U.S. Department of the Treasury, press release, “Treasury Targets Key Al-Qa’ida Funding and Support Network Using

Iran as a Critical Transit Point,” July 28, 2011, https://www.treasury.gov/press-center/press-releases/Pages/tg1261.aspx.
185 Ibid.
186 Ibid.
187 Ibid.




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inside Iran, and the main person responsible for assisting with the transfer of jihadists to the Middle
East and raising funds in support of al-Qaeda attacks. 188

The importance of these Iran-based facilitators is reflected in internal al-Qaeda documents penned by
the group’s senior leaders. In the 2011 raid on bin Laden’s compound in Abbottabad, Pakistan, U.S.
forces seized a letter that al-Qaeda’s emir wrote in 2007 to a jihadist referred to as “Karim,” likely Abu
Ayyub al-Masri. In it, bin Laden highlighted how critical Tehran was to his movement’s operations,
commenting: “Iran is our main artery for funds, personnel, and communication.… There is no need
to fight with Iran unless you are forced.”189 Seth Jones observes that “securing Iranian help was straight
forward” for al-Qaeda because the militant group “lacked the resources of a major state like Iran,”
and “having the ability to transit Iran was exceptionally useful for fights in Iraq, Afghanistan and
Pakistan.”190

Another letter, authored by Ayman al-Zawahiri and intercepted by Western intelligence agencies in
November 2008, further underscored al-Qaeda’s reliance on Iran. Zawahiri wrote the letter in the
aftermath of al-Qaeda’s September 2008 bombing of the U.S. embassy in Yemen, which killed 11
civilians, including one American.191 Zawahiri cited Iranian “monetary and infrastructure assistance”
as essential to the group’s success in carrying out the attack. He “also thanked Iran for having the
‘vision’ to help the terror organisation establish new bases in Yemen after al-Qaeda was forced to
abandon much of its terrorist infrastructure in Iraq and Saudi Arabia.” 192

In 2011, the aforementioned al-Suri network is believed to have negotiated a non-aggression pact with
Tehran. According to a statement from the U.S. Treasury, under the terms of this agreement, al-Qaeda
was required to desist from conducting any operations on Iranian soil—including recruiting
operatives—while keeping authorities apprised of its activities. In return, the Islamic Republic would
afford al-Qaeda operatives based in the country, and their families, freedom of movement and an
uninhibited ability to travel.193 The benefits of the arrangement appear to have been substantial for al-
Qaeda, providing it a secure base of operations and insulation from U.S. drone attacks.194 Indeed,
David S. Cohen, then the Under Secretary for Terrorism and Financial Intelligence, underscored the
benefits reaped by al-Qaeda in a statement released on July 28, 2011. Cohen stated that “by exposing
Iran’s secret deal with al-Qa’ida allowing it to funnel funds and operatives through its territory, we are
illuminating yet another aspect of Iran’s unmatched support for terrorism.” He added that al-Qaeda’s
deal with Iran provided a “key network” and “much-needed support” to al-Qaeda’s senior
leadership.195



188 U.S. Department of the Treasury, press release, “Treasury Further Exposes Iran-Based Al-Qa’ida Network,” October

18, 2012, https://www.treasury.gov/press-center/press-releases/Pages/tg1741.aspx.
189 “Letter to Karim,” released in Bin Laden’s Bookshelf, Office of the Director of National Intelligence,

https://www.dni.gov/files/documents/ubl2016/english/Letter%20to%20Karim.pdf.
190 Seth G. Jones, “Al Qaeda in Iran,” Foreign Affairs, January 29, 2012.
191 “Yemen: 30 Are Arrested After Attack on U.S. Embassy,” The New York Times, September 18, 2008.
192 Con Coughlin, “Iran Receives al Qaeda Praise for Role in Terrorist Attacks,” The Telegraph, December 2, 2019.
193 U.S. Department of the Treasury, press release, “Treasury Further Exposes Iran-Based Al-Qa’ida Network,” October

18, 2012, https://www.treasury.gov/press-center/press-releases/Pages/tg1741.aspx.
194 Moghadam, “Marriage of Convenience”; Byman, “Unlikely Alliance,” p. 33.
195 U.S. Department of the Treasury, press release, “Treasury Targets Key Al-Qa’ida Funding and Support Network Using

Iran as a Critical Transit Point,” July 28, 2011, https://www.treasury.gov/press-center/press-releases/Pages/tg1261.aspx.



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In the years that followed, the U.S. Treasury Department continued to report new details regarding
al-Qaeda’s Iran-based network. In February 2014, Treasury identified an Uzbek national, Olimzhon
Adkhamovich Sadikov, as an operative who “supports al-Qa’ida’s vital facilitation network in Iran,
that operates there with the knowledge of Iranian authorities.” 196 In August 2014, Treasury designated
Abdul Mohsen Abdullah Ibrahim al-Sharikh, a senior al-Qaeda leader also known as Sanafi al-Nasr,
who “served in early 2013 as chief of al Qaeda’s Iran-based extremist and financial facilitation
network.”197

The value al-Qaeda’s leadership placed on its Iran-based facilitation network became more apparent
in 2014 as al-Qaeda’s competition with its breakaway erstwhile affiliate ISIS deepened. ISIS
spokesman Abu Muhammad al-Adnani released a statement in May 2014 in which he “made a startling
admission: Al Qaeda has ordered its fighters and branches to refrain from attacking the Iranian state
in order to preserve the terror group’s network in the country.” 198 Adnani’s intention was to
demonstrate that al-Qaeda had forged an agreement with the Shia state of Iran, and that in doing so,
al-Qaeda constrained ISIS from attacking Iran. Adnani explained (with the grammatical peculiarities
appearing in the original) that:

         ISIS has kept abiding by the advices and directives of the sheikhs and figures of jihad.
         This is why the ISIS has not attacked the Rawafid [rejectionists, a term used to describe
         Shia Muslims] in Iran since its establishment. It has left the Rawafid safe in Iran, held
         back the outrage of its soldiers, despite its ability, then, to turn Iran into bloodbaths.
         It has kept its anger all these years and endured accusations of collaboration with its
         worst enemy, Iran, for refraining from targeting it, leaving the Rawafid there to live in
         safety, acting upon the orders of al Qaeda to safeguard its interests and supply lines in
         Iran. Yes, it [ISIS] has held back the outrage of its soldiers and its own anger for years
         to maintain the unity of the mujahideen in opinion and action. Let history record that
         Iran owes al Qaeda invaluably.199

Prominent analyst Bill Roggio points out that Adnani emphasized how “ISIS ‘complied’ and didn’t
attack Iran.”200 According to Roggio, Adnani’s admission demonstrates how al-Qaeda played a strong
role in restraining its affiliates (as ISIS was an al-Qaeda affiliate during the period that Adnani
describes) from attacking Iran via overt commands that were designed “to preserve the terror group’s
network in the country.”201

In July 2016, the U.S. Treasury imposed sanctions on three senior members of al-Qaeda, all of whom
were based in the Islamic Republic: Faisal Jassim Mohammed al-Amri al-Khalidi, Yisra Muhammad
Ibrahim Bayumi, and Abu Bakar Muhammad Muhammad Ghumayn. The trio had carried out a range


196 U.S. Department of the Treasury, press release, “Treasury Targets Networks Linked to Iran, February 6, 2014,

https://www.treasury.gov/press-center/press-releases/Pages/jl2287.aspx.
197 U.S. Department of the Treasury, press release, “Treasury Designates Additional Supporters of the Al-Nusrah Front

and Al-Qaida,” August 22, 2014, https://www.treasury.gov/press-center/press-releases/Pages/jl2613.aspx.
198 Bill Roggio, “‘Iran Owes al Qaeda Invaluably,’ ISIS Spokesman Says,” Long War Journal, May 12, 2014,

https://www.longwarjournal.org/archives/2014/05/iran_owes_al_qaeda_invaluably.php.
199 Quoted in ibid.
200 Ibid.
201 Ibid.




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of activities for al-Qaeda, including gathering intelligence, raising and transferring funds, procuring
weapons, and facilitating liaison with the Tehrik-e Taliban Pakistan militant group. 202

Also in July 2016, Abu Muhammad al-Masri made an important operational decision for al-Qaeda
while still in Iran. At the time, al-Qaeda’s Syrian affiliate Jabhat al-Nusra was considering rebranding
in an effort to distance itself from al-Qaeda’s senior leadership. 203 When the idea was presented to al-
Masri (among other senior al-Qaeda members), he voiced his opposition to the rebranding. Al-Masri’s
ability to weigh in on the rebranding decision highlights the senior role he continued to play in al-
Qaeda despite being in Iran. This incident showed that al-Masri was still in contact with al-Qaeda’s
leadership from his perch in Iran, that he communicated directly with al-Qaeda elements in Syria, and
that he retained significant decision-making power and influence within the organization. 204

In its 2017 Country Reports on Terrorism, the U.S. Department of State specifically singled out Iran’s
ongoing support for al-Qaeda as a serious issue: “Iran remained unwilling to bring to justice senior al-
Qa’ida (AQ) members residing in Iran and has refused to publicly identify the members in its custody.
Iran has allowed AQ facilitators to operate a core facilitation pipeline through Iran since at least 2009,
enabling AQ to move funds and fighters to South Asia and Syria.” 205

In July 2018, a report produced by the United Nations Security Council concluded that “Al-Qaida
leaders in the Islamic Republic have grown more prominent, working with Aiman al-Zawahiri and
projecting his authority more effectively than he could previously.” 206 The same report concludes that
senior al-Qaeda leaders based in Iran have been able to exert influence on the evolving situation in
northwestern Syria.207 The report’s conclusions are consistent with the roles played in February 2019
by Abu Muhammad al-Masri and Saif al-Adl in mediating tensions between Hayat Tahrir al-Sham and
Tanzim Hurras ad-Din, competing Syria-based factions that have been affiliated with al-Qaeda. At the
time, al-Masri and al-Adl were both in Iran.208

Another recent development pointing to Iran’s enduring permissiveness toward senior al-Qaeda
leaders is the information gleaned in the aftermath of the assassination of Abu Muhammad al-Masri




202 U.S. Department of the Treasury, press release, “Treasury Designates Three Senior Al-Qaida Members,” July 20, 2016.
203 Ali Soufan, “Next in Line to Lead al-Qa`ida: A Profile of Abu Muhammad al-Masri,” CTC Sentinel 12:10 (November

2019), https://ctc.usma.edu/next-line-lead-al-qaida-profile-abu-muhammad-al-masri/.
204 See Soufan, “Next in Line to Lead al-Qa`ida.”
205 Bureau of Counterterrorism and Countering Violent Extremism, Country Reports on Terrorism 2017 (Washington D.C.:

U.S. Department of State, 2018), p. 218.
206 United Nations Security Council, “Letter Dated 16 July 2018 from the Chair of the Security Council Committee

Pursuant to Resolutions 1276 (1999), 1989 (2011), 2253 (2015) Concerning Islamic State in Iraq and the Levant (Da’esh),
Al-Qaida and Associated Individuals, Groups, Undertakings and Entities Addressed to the President of the Security
Council,” July 27, 2018, p. 6, https://undocs.org/S/2018/705.
207 Ibid., p. 8.
208 See Thomas Joscelyn, “Analysis: Hay’at Tahrir al-Sham and Hurras al-Din Reach a New Accord,” Long War Journal,

February 15, 2019, https://www.longwarjournal.org/archives/2019/02/analysis-hayat-tahrir-al-sham-and-hurras-al-din-
reach-a-new-accord.php; Thomas Joscelyn, “Analysis: Ayman al Zawahiri Calls for ‘Unity’ in Syria Amid Leadership
Crisis,” Long War Journal, December 2, 2017, https://www.longwarjournal.org/archives/2017/12/analysis-ayman-al-
zawahiri-calls-for-unity-in-syria-amid-leadership-crisis.php; Thomas Joscelyn, “Senior al Qaeda Leaders Reportedly
Released from Custody in Iran,” Long War Journal, September 18, 2015.



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in August 2020. Al-Masri was assassinated in Tehran by Israeli operatives, after which it was
discovered that he was living freely in the upscale neighborhood of Pasdaran. 209

In January 2021, the State Department identified five additional al-Qaeda figures operating in Iran.
The most significant was a Moroccan national named Muhammad Abbatay, better known by his kunya
Abd al Rahman al-Maghrebi. Maghrebi is the son-in-law of Ayman al-Zawahiri and has served in a
number of senior roles for al-Qaeda. The State Department described him as the “longtime director”
of As Sahab, al-Qaeda’s central media arm, as well as the head of the group’s External
Communications Office. In that latter capacity, al-Maghrebi “coordinates activities with” al-Qaeda’s
affiliates. Al-Maghrebi has also been al-Qaeda’s “general manager in Afghanistan and Pakistan since
2012.” From his perch in Iran, al-Maghrebi “has continued to oversee al-Qa’ida activities
worldwide.”210

Categories of Iranian Material Support to al-Qaeda
There are numerous categories of Tehran’s material support to al-Qaeda:

    ● The first category of Iranian material support to al-Qaeda is training of its operatives to
      conduct mass casualty bombings and other related skills to shape al-Qaeda’s future
      capacity to carry out attacks. In the 1990s Iran provided al-Qaeda members with explosives
      training at a Hizballah training camp in Lebanon’s Bekaa Valley, and al-Qaeda directly applied
      this training in the 1998 bombings targeting U.S. embassies in Nairobi, Kenya, and Dar es
      Salaam, Tanzania.

    ● The second category of Iranian material support is Tehran providing sanctuary and refuge
      to al-Qaeda operatives that provided the organization with time and space to regroup
      after 9/11. After the U.S. invasion of Afghanistan, Iran gave sanctuary to al-Qaeda members
      and key leaders, such as Saif al-Adl. While Iran ostensibly put many of al-Qaeda’s leaders and
      members under house arrest, those detained were still able to operate and conduct their duties
      for al-Qaeda, including engaging in communication with the broader al-Qaeda network. Saif
      al-Adl’s production of his “master plan” illustrates this, as does the fact that al-Qaeda’s leaders
      in Iran continued to coordinate, plan, and execute terrorist attacks with the central leadership
      based in Afghanistan-Pakistan (including coordinating on such operations as the attack on the
      El Ghriba synagogue in Djerba, Tunisia in 2002, the truck bombing at a Western housing
      complex in Saudi Arabia in October 2003, and the suicide operations in Casablanca in October
      2003).

    ● A third category of Iranian material support to al-Qaeda is serving as a critical transit point
      for moving funds, supplies, and personnel. As the Treasury Department’s designations
      illustrate, Tehran’s leadership had a formal agreement with al-Qaeda from as early as 2005 to


209 Adam Goldman, Eric Schmitt, Farnaz Fassihi, & Ronen Bergman, “Al Qaeda’s No. 2, Accused in U.S. Embassy

Attacks,     Was      Killed      in    Iran,”      The     New     York      Times,     November       13, 2020,
https://www.nytimes.com/2020/11/13/world/middleeast/al-masri-abdullah-qaeda-dead.html.
210 U.S. Department of State, Rewards for Justice, “Wanted: Information that Brings to Justice … Muhammad Abbatay

(‘Abd        al-Rahman          al-Maghrebi)        Up         to       $7        Million        Reward,”    n.d.,
https://rewardsforjustice.net/english/muhammad_abbatay.html.



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         move “money and recruits from across the Middle East into Iran, then on to Pakistan.” 211 This
         agreement helped al-Qaeda set up what the Treasury Department defined as the militant
         group’s “core pipeline.”212 Treasury shared how the terms of this agreement were that “al-
         Qa’ida must refrain from conducting any operations within Iranian territory and recruiting
         operatives inside Iran while keeping Iranian authorities informed of their activities,” while in
         exchange Iran “gave the Iran-based al-Qa’ida network freedom of operation and uninhibited
         ability to travel for extremists and their families.”213

    ● A fourth category of Iranian material support for al-Qaeda is travel facilitation assistance
      for al-Qaeda members that often made a difference in helping al-Qaeda expand its
      influence into new countries. This also helped the terrorist group move operatives
      when preparing large-scale attacks around the world. Among other considerations, Iran’s
      policies assisted al-Qaeda in evading detection—for example, through passport stamp
      omission—thus directly impeding counterterrorism efforts by the United States and other
      countries. To flesh out some of the impacts of Iranian travel facilitation assistance, al-Qaeda’s
      expansion into the Arabian Peninsula in the late 1990s was connected to Iranian travel
      facilitation assistance. As this report details, Iranian travel facilitation helped al-Qaeda execute
      operations such as the October 2000 suicide bombing of the USS Cole. The 9/11 Commission
      found that at least eight to ten of the 15 Saudi hijackers who executed the 9/11 attacks had
      passed through Iran while traveling to Afghanistan between October 2000 and February
      2001—which would later result in a U.S. court finding Iran culpable for the 9/11 attacks. Such
      travel facilitation assistance continued long after the 9/11 attacks. This kind of travel
      facilitation could aid al-Qaeda in playing a role in Iraq during the Iraq War, as the militant
      organization could take advantage of travel facilitation to move into Iran’s neighbor. In
      February 2012, the U.S. Treasury Department disclosed how Iran’s Ministry of Intelligence
      and Security (MOIS) had “facilitated the movement of al Qa’ida operatives in Iran and
      provided them with documents, identification cards, and passports.” 214

    ● A fifth category of Iranian material support to al-Qaeda was financial and infrastructure
      assistance to carry out attacks and establish new bases. As I discuss, in November 2008,
      Western intelligence agencies intercepted a letter written by Ayman al-Zawahiri in which he
      attributed al-Qaeda’s success in pulling off an attack on the U.S embassy in Yemen to the
      “monetary and infrastructure assistance” of the IRGC. In the same letter, he also credited Iran
      with helping al-Qaeda establish new bases in Yemen. Iran’s financial and infrastructural
      support to al-Qaeda also critically enabled Zarqawi organization operations in Iraq, something
      that I discuss in detail in the following section.




211 U.S. Department of the Treasury, press release, “Treasury Targets Key Al-Qa’ida Funding and Support Network Using

Iran as a Critical Transit Point,” July 28, 2011.
212 Ibid.
213 U.S. Department of the Treasury, press release, “Treasury Further Exposes Iran-Based Al-Qa’ida Network,” October

18, 2012, https://www.treasury.gov/press-center/press-releases/Pages/tg1741.aspx.
214 U.S. Department of the Treasury, press release, “Treasury Designates Iranian Ministry of Intelligence and Security for

Human          Rights       Abuses         and    Support       for      Terrorism,”       February        16,      2012.
https://content.govdelivery.com/accounts/USTREAS/bulletins/2f1cdf.


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V.       Iranian Support for the Zarqawi Organization

In detailing Iranian support for the Zarqawi organization, this section first examines how Iranian
support for al-Qaeda allowed al-Qaeda to significantly bolster Zarqawi organization activities. But in
addition to Iran’s support for al-Qaeda that in turn benefited the Zarqawi organization, Iran provided
direct, specific support to the Zarqawi organization. It is this direct Iranian support for the Zarqawi
organization that this section examines next. Available evidence suggests that Iran had contact with
the Zarqawi organization and—despite ebbs, flows, and tensions in this relationship—provided
financial and logistical assistance that assisted the Zarqawi organization’s campaign of violence in Iraq
between at least 2003 and 2011. Iran’s degree of support for the Zarqawi organization of course
fluctuated over time, as the Zarqawi organization was virulently anti-Shia, but the existence of this
support, and its importance, is nonetheless clear.

Iran’s Permissive Environment Enabled al-Qaeda’s Facilitation and Support to the Zarqawi Organization
Iran’s support for al-Qaeda began in the 1990s. The Islamic Republic offered al-Qaeda training and
sanctuary; acted as a transit hub for its operatives; and provided the group with financial assistance, as
detailed in Section IV of this report. Support that the Zarqawi organization received from al-Qaeda
depended heavily on al-Qaeda’s relationship with Iran.

Al-Qaeda Support for the Zarqawi Organization Before and During the Iraq War. Key al-Qaeda leaders had a
longstanding relationship with Abu Musab al-Zarqawi, beginning long before Zarqawi made his oath
of allegiance (bayah) to the al-Qaeda organization public in October 2004. As I have already noted,
Zarqawi traveled to Afghanistan in 1989 and trained in al-Qaeda’s Sada camp, which bin Laden ran. 215
After the Jordanian government imprisoned Zarqawi and Muhammad al-Maqdisi for the activities of
their organization Bayat al-Imam/Tawhid wa-l-Jihad in 1994, prisoners’ family members routinely
smuggled out religious tracts written by Maqdisi. Prominent London-based Salafi jihadist cleric Abu
Qatada al-Filistini in turn published writings by Bayat al-Imam members in his magazine Al-Minhaj.
Senior al-Qaeda leader Saif al-Adl was one figure who derived inspiration from reading about the
Jordanian jihadist contingent. As he later explained, “we read the brother Abu Muhammad al-
Maqdisi’s letters as well as Abu Musab’s. We also read the transcripts of what they said in court. Our
brother Abu Qatada al-Filistini would always tell us that we have good brothers operating in Jordan
and that they have a promising future ahead of them.” 216

In 1999, King Abdullah II declared a general amnesty for Jordanian prisoners, leading to Zarqawi’s
release, after which he left for Afghanistan, which was then key to al-Qaeda’s global operations. 217 In
1999, Saif al-Adl requested that bin Laden and Ayman al-Zawahiri designate him as the al-Qaeda
organization’s liaison to Zarqawi.218 Al-Qaeda’s leadership granted his request, and Adl negotiated the
first agreement between al-Qaeda and Zarqawi: “Al-Zarqawi and his allies would undergo specialized
training with al-Qa`ida; in return, al-Qa`ida would provide financing, training, and support for al-




215 Weaver, “The Short, Violent Life of Abu Musab Al-Zarqawi.”
216 Hussein, Al-Zarqawi.
217 PEX 219, p. 66; Hussein, Al-Zarqawi.
218 “Saif al-Adel Profile,” Combating Terrorism Center at West Point, n.d., pp. 2-3, 4, https://ctc.westpoint.edu/wp-

content/uploads/2011/06/Saif.pdf.



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Zarqawi’s training camp near Herat.”219 Al-Qaeda’s leadership saw an opportunity in Zarqawi and his
fighters “because they wanted the Jordanian’s help in rebuilding jihadist networks in the Levant.” 220

Zarqawi and his fighters made their way to Iraq in 2002.221 Al-Qaeda supported the Zarqawi
organization in the early years of the Iraq war; bin Laden included the Zarqawi organization as a
recipient of some of the $1.5 million in monthly funding he sent to Iraq to support the insurgency. 222
Zarqawi formally pledged allegiance to al-Qaeda in October 2004, and his group became known as al-
Qaeda in Iraq (Tanzim Qa’idat al-Jihad fi Bilad al-Rafidayn), al-Qaeda’s first publicly announced affiliate
group.223

The U.S. Army War College’s comprehensive report The U.S. Army in the Iraq War: Volume 1 notes the
substantial battlefield effect of the Zarqawi organization’s formal affiliation with al-Qaeda: “The most
significant change within the Sunni insurgency, though, came when Abu Musab al-Zarqawi’s group,
Tawhid wal-Jihad, evolved from an independent jihadist group into a part of al-Qaeda in late 2004
and early 2005.”224 Thereafter, the report highlights, Zarqawi “received considerable external financial
support in 2005 from al-Qaeda’s senior leaders.”225 In 2006, Treasury “designated five individuals for
providing financial support to al Qaida and other terrorist organizations, as well as facilitating terrorist
activity.”226 The support and facilitation al-Qaeda provided to the Zarqawi organization included
recruiting “jihadists in Kuwait for terrorist activity including for al Qaida in Iraq” and funding their
expenses, including travel to Iraq. 227 The designation described al-Qaeda’s “support every stage of
the terrorist life-cycle,” evidenced in the details of one designated individual:

         As early as 2004, Al-Jalamah was coordinating a recruitment effort to send fighters
         and funds to al Qaida in Iraq. He facilitated travel for men he recruited and for men
         recruited by Kuwaiti imams. Al-Jalamah sent three kinds of people into Iraq: suicide
         bombers, anti-coalition fighters, and couriers who go to Iraq to provide funds for anti-
         coalition fighters.

         Al-Jalamah has sent a significant number of men to join al Qaida in Iraq. These
         operatives carried funds collected by Al-Jalamah for provision to the terrorist group.
         Trusted associates were sometimes given thousands of dollars to transport from
         Kuwait into Iraq.228


219 Brian Fishman, “Revising the History of al-Qai’da’s Original Meeting with Abu Musab al-Zarqawi,” CTC Sentinel 9:10,

October 2016, p. 29.
220 Ibid., p. 28.
221 “Saif al-Adel Profile,” Combating Terrorism Center at West Point, n.d., pp. 2-3, 4, https://ctc.westpoint.edu/wp-

content/uploads/2011/06/Saif.pdf.
222 Col. Joel D. Rayburn & Col. Frank K. Sobchak eds., The U.S. Army in the Iraq War: Volume 1 Invasion - Insurgency - Civil

War 2003-2006 (Strategic Studies Institute and U.S. Army War College Press, 2019), p. 206.
223 Jeffrey Pool, “Zarqawi’s Pledge of Allegiance to al-Qaeda: From Mu’asker Al-Battar, Issue 21,” Terrorism Monitor 2:24

(Jamestown Foundation), December 16, 2004.
224 Rayburn & Sobchak, The U.S. Army in the Iraq War: Volume 1, p. 393.
225 Ibid.
226 U.S. Department of the Treasury, press release, “Treasury Designations Target Terrorist Facilitators,” December 7,

2006, https://home.treasury.gov/news/press-releases/hp191.
227 Ibid.
228 Ibid.




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With an influx of recruits and funding, Zarqawi’s al-Qaeda in Iraq hired additional fighters, paid
civilians to act as spies, and commissioned attacks on coalition forces. Indeed, the Zarqawi
organization was able to pay its recruits a higher salary than they would receive from Iraqi security
forces: “While a low-ranking member of the Iraqi Army or police was paid roughly $150 per month,
Zarqawi could pay $100 to $200 for a single small arms, mortar, or IED attack, and even paid civilians
$10 a day to spy on coalition forces.” 229

Iran’s Permissive Environment for al-Qaeda Facilitation. Al-Qaeda’s support to the Zarqawi organization
during this period was enabled by Iran fostering a permissive facilitation environment for al-Qaeda.
This permissive environment provided space for al-Qaeda strategists to craft documents from Iran
that would influence the Zarqawi organization at the strategic level, and also allowed al-Qaeda to
bolster the Zarqawi organization with a range of support for its activities.

Abu Musab al-Zarqawi had long been aware of Iran’s permissive operating environment for al-Qaeda.
Prior to the 9/11 attacks, Zarqawi’s association with al-Qaeda allowed him to take advantage of Iran’s
permissive attitude toward Sunni jihadists during this period. In detailing the original agreement that
al-Adl negotiated between Zarqawi and al-Qaeda, Brian Fishman writes that al-Qaeda “would arrange
start-up money for Zarqawi to build a camp near Herat, along the Iranian border, and provide logistical
support through a network of safe houses in the Iranian cities of Tehran and Mashaad.” 230 These safe
houses may have been the same as those used by al-Qaeda operatives traveling between Afghanistan
and the Gulf. Fishman identifies that Herat was selected as the location for Zarqawi’s camp specifically
because of its “proximity to the Iranian border, which was useful for moving people and materiel in
and out of Afghanistan.”231 Iran’s permissiveness was an explicit and deliberate policy.232

In the immediate aftermath of the 9/11 attacks, Zarqawi and his supporters continued to enjoy a
similar permissive travel environment within Iran. For example, Muhammad Khalil al-Hakaymah, a
Zarqawi loyalist who would later rise to a prominent position in al-Qaeda, leveraged his connections
with Afghan warlord Gulbuddin Hekmatyar to transit Iran en route to Afghanistan after 9/11. Fishman
writes:

         Hakaymah was still in London on 9/11, but after seeing the carnage in the United
         States decided immediately to return to Afghanistan. To get there, like so many
         Zarqawi supporters before him, he would travel across Iran….

         After landing in Tehran, Hakaymah contacted Hekmatyar’s network, members of
         which arranged for him to travel to the Iranian border near Afghanistan’s Nimroz
         province. The journey was smooth until his family was arrested by Iranian intelligence
         along the border. As Hakaymah put it: “[The Iranians] were most interested in Sheikh
         Hekmatyar’s role in smuggling people across the border. At the time, the United States
         was putting pressure on Iran to close down [Hekmatyar’s] operations because [he] had
         declared jihad and urged [his] followers in Afghanistan to resist the Americans.” ….
229 Rayburn & Sobchak, The U.S. Army in the Iraq War: Volume 1, p. 393.
230 Brian Fishman, The Master Plan: ISIS, al-Qaeda, and the Jihadi Strategy for Final Victory Kindle ed. (New Haven: Yale

University Press, 2016), loc. 472.
231 Brian Fishman, “Revising the History of al-Qai’da’s Original Meeting with Abu Musab al-Zarqawi,” CTC Sentinel 9:10,

October 2016, p. 29.
232 Fishman, The Master Plan, Kindle ed. loc. 509.




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          He and his family were held for a week in a hotel near the border—and then, one
          morning, the guards simply disappeared. Hakaymah did not stop to reason why.
          Instead, he arranged for his family to stay in an Iranian Sunni town and contacted a
          smuggler. A few days later Hakaymah was trotting along amidst a crowd of gasoline-
          laden donkeys into Afghanistan.233

However, Hakaymah’s refuge in Afghanistan would be short-lived. He and other jihadists who fled
there shortly after 9/11 found that they had to reverse course following the U.S.-led invasion to oust
the Taliban. Indeed, while attending a November 2001 meeting of jihadist figures designed to plan the
final defense of Afghanistan’s Kandahar from the Coalition, Zarqawi and Hakaymah were targeted by
an airstrike that proved to be one of “a series of near misses.” 234 Thus, Zarqawi and his fighters fled
Afghanistan for Iran, where al-Adl awaited them.235 Iran supported Zarqawi’s flight from Afghanistan,
just as it allowed his passage to Afghanistan: the Islamic Republic allowed Zarqawi and a cohort of
Arab mujahedin he had commanded in Afghanistan, including Hakaymah, to reenter its territory. 236
Al-Adl, who previously arranged travel for Afghanistan-bound fighters, now arranged for Zarqawi
and his fighters to travel to Iraq from Iran.237 Al-Adl coordinated these Zarqawi and al-Qaeda
movements from Iran, where he likely remained through at least 2005. 238

The Strategic and Operational Impacts of Iran’s Permissive Facilitation Environment. Beyond his affiliation with
Zarqawi while in Iran, Hakaymah may have also played a key role in shaping al-Qaeda’s future actions
by authoring a consequential strategic text. “Several informed sources” believe Hakaymah was the
author of the text known as The Management of Savagery.239 This book was an “influential text among
jihadis” that was designed to build upon the ideas put forth in the master plan that Saif al-Adl
shaped while he was under house arrest in Iran.240 Fishman explains that, “unlike the master plan, The
Management of Savagery discusses operational questions of leadership, training programs, target selection,
and ultimately, the sort of governance an Islamic state should provide.” 241 Fishman further elaborates
on the implications of Hakaymah being the likely author of this text:

          The Management of Savagery has long been considered an influential text among jihadis,
          but if Hakaymah was the author it takes on added importance. Just like al-Adl,
          Hakaymah lived in Iran when the book was published, and just like al-Adl he had ties
          with the Iranian government predating 9/11. Moreover, The Management of Savagery was
          first published by Mu’askar al-Battar, an al-Qaeda propaganda outlet based in Saudi
          Arabia that published many of al-Adl’s articles during the same period. Hakaymah also
          knew Zarqawi personally, having escaped with them from Afghanistan and Pakistan
          after 9/11. Taken together, the master plan and The Management of Savagery offered

233 Ibid., locs. 525-39.
234 Ibid., loc. 188.
235 Fishman, “Revising the History of al-Qai’da’s Original Meeting with Abu Musab al-Zarqawi,” p. 30.
236 Fishman, The Master Plan, Kindle ed. locs. 546-53.
237 “Saif al-Adel Profile,” Combating Terrorism Center at West Point, n.d., pp. 2-3, 4, https://ctc.westpoint.edu/wp-

content/uploads/2011/06/Saif.pdf.
238 Ibid., p. 5.
239 Fishman, The Master Plan, Kindle ed. loc. 829.
240 Ibid., loc. 834.
241 Ibid., loc. 822.




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          strategic and operational plans for Zarqawi’s war in Iraq and beyond. But these were
          not documents developed remotely from Zarqawi; they were produced by men that
          knew him personally and were likely in direct communication with him when they
          were written.242

The Iranian government occasionally placed restrictions on al-Adl’s movement within Iran, but these
restrictions do not appear to have significantly restricted al-Adl’s work. In addition to the master plan,
al-Adl authored a biography on Zarqawi, and was “confined on an Iranian military base” when it was
published.243 In 2015, the New York Times reported that, “according to intercepts and letters that were
later recovered,” al-Adl “continued to communicate with Al Qaeda” throughout his confinement in
Iran.244

Hakaymah’s likely authorship of The Management of Savagery and al-Adl’s decades-long and continuing
contribution to al-Qaeda operations from Iran illustrate the impact of Iranian sanctuary for key al-
Qaeda leaders. Men like Hakaymah and al-Adl had the opportunity to think deeply about jihadist
strategy and develop critical texts that would guide both al-Qaeda and also the Zarqawi organization’s
“strategic and operational plans” for the “war in Iraq and beyond,” from Iran. 245 A press release from
Multi-National Force-Iraq in May 2007 reported the capture of a suspected liaison to al-Qaeda in Iraq
in Diyala Province “who assists in the movement of information and documents from al-Qaeda in
Iraq leadership in Baghdad to al-Qaeda senior leaders in Iran.” 246

Nor are al-Adl and Hakaymah the only recognized Iran-based al-Qaeda strategists, operatives, and
facilitators. On July 28, 2011, the U.S. Department of the Treasury identified Ezedin Abdel Aziz
Khalil, aka Yasin al-Suri, as “an Iran-based senior al-Qa’ida facilitator currently residing and
conducting operations in Iran pursuant to an arrangement between al-Qa’ida and the Iranian
government.”247 According to the Treasury Department, Iran had permitted al-Suri’s activities within
its territory since 2005.248 Among other responsibilities, the Treasury Department identified one of al-
Suri’s roles as “moving significant amounts of money via Iran for onward passage to al-Qa’ida’s
leadership in Afghanistan and Iraq.”249

Further illustrating the permissive environment that existed in Iran for al-Qaeda facilitators who would
assist Zarqawi organization activities, in October 2012 the U.S. Treasury Department designated two
men, Adel Radi Saqr al-Wahabi al-Harbi and Muhsin al-Fadhli, for their facilitation of al-Qaeda
activities from Iran—including specifically those that bolstered the Zarqawi organization. The
designation identifies Harbi and Fadhli as part of “al-Qa’ida’s critically important Iran-based funding
and facilitation network,” and underscored “Iran’s ongoing complicity in this network’s operation.” 250
242 Ibid., locs. 834-37.
243 Fishman, “Revising the History of al-Qai’da’s Original Meeting with Abu Musab al-Zarqawi,” p. 29.
244 Rukmini Callimachi & Eric Schmitt, “Iran Released Top Members of Al Qaeda in a Trade,” New York Times, September

17, 2015.
245 Fishman, The Master Plan, Kindle ed. locs. 834-37.
246 Multi-National Force-Iraq Release A070531a, “Three Suspected Terrorists Captured,” May 31, 2007.
247 U.S. Treasury Department, “Treasury Targets Key Al-Qa’ida Funding and Support Network Using Iran as a Critical

Transit Point,” July 28, 2011, https://home.treasury.gov/news/press-releases/tg1261.
248 Ibid.
249 Ibid.
250 Treasury Department, “Treasury Further Exposes Iran-Based Al-Qa’ida Network,” October 18, 2012.

https://home.treasury.gov/news/press-releases/tg1741.



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Fadhli and Harbi’s facilitation work sent money and fighters to support al-Qaeda operations and fund
attacks across the Middle East and South Asia, including supporting Zarqawi organization activities
in Iraq.251 The designation notes in particular that al-Fadhli started working as an al-Qaeda facilitator
in Iran in 2009, was arrested by Iranian authorities, and was released in 2011—at which point he took
over leadership of the Iranian-based al-Qaeda facilitation network from al-Suri. 252

Treasury’s designation thus implicates the Iranian government’s knowledge of al-Fadhli’s activities,
since he immediately resumed these activities upon his release. Beyond that, the October 2012
designation includes explicit details about the Iranian government’s acknowledgement of, and
approval of, al-Qaeda’s broader Iran-based facilitation network:

            This network uses Iran as a critical transit point and operates under an agreement
            between al-Qa’ida and the Iranian government. Under the terms of the agreement
            between al-Qa’ida and Iran, al-Qa’ida must refrain from conducting any operations
            within Iranian territory and recruiting operatives inside Iran while keeping Iranian
            authorities informed of their activities. In return, the Government of Iran gave the
            Iran-based al-Qa’ida network freedom of operation and uninhibited ability to travel
            for extremists and their families. Al-Qa’ida members who violate these terms run the
            risk of being detained by Iranian authorities. Yasin al-Suri agreed to the terms of this
            agreement with Iran with the knowledge of now-deceased al-Qa’ida leader ‘Atiyah
            ‘Abd al Rahman.253

Thus, al-Qaeda’s support to the Zarqawi organization was critical for the organization’s early and
continued growth, and was linked to Iran’s support for al-Qaeda:

           First, al-Qaeda provided funding for the Zarqawi organization that helped all aspects of its
            operations.254

           Second, al-Qaeda’s support for the Zarqawi organization specifically increased its
            membership and size through financing, training, and other forms of support.255 A more
            sizable membership allowed the Zarqawi organization to conduct more complex operations.
            Furthermore, success bred success, as the Zarqawi organization’s size allowed it to absorb
            other Sunni militant factions, increasing its prominence in the Iraqi militant scene over time.

           Third, al-Qaeda’s support for the Zarqawi organization enhanced the Zarqawi organization’s
            intelligence collection efforts. Illustrating this, one of the specific expenditures that the
            Zarqawi organization was able to make, based on its financial resources, was paying “civilians
            $10 a day to spy on coalition forces.” 256

251 Ibid.
252 Ibid.
253  Treasury Department, “Treasury Further Exposes Iran-Based Al-Qa’ida Network,” October 18, 2012.
https://home.treasury.gov/news/press-releases/tg1741
254 Col. Joel D. Rayburn & Col. Frank K. Sobchak eds., The U.S. Army in the Iraq War: Volume 1 Invasion - Insurgency - Civil

War 2003-2006 (Strategic Studies Institute and U.S. Army War College Press, 2019), p. 393.
255 Ibid, p. 394.
256 Ibid, p. 393.




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         Fourth, al-Qaeda was able to play an overall “force multiplier” role for the Zarqawi
          organization. Iran was essential to this al-Qaeda function, as Iranian support enabled al-
          Qaeda’s financial, logistical, and travel support network that facilitated the Zarqawi
          organization’s activities in Iraq.257

Direct Iranian Material Support to the Zarqawi Organization
In addition to Iran’s role in allowing al-Qaeda to bolster the Zarqawi organization, direct Iranian
material support also proved critical to the Zarqawi organization. In a briefing entitled “Multi-National
Force – Iraq Commander’s
Counterinsurgency
Guidance,” Gen. David
Petraeus, the former
commander of Multi-
National Force – Iraq,
highlighted what the
Zarqawi         organization
required to establish itself.
According to General
Petraeus’s briefing, the
Zarqawi         organization
required weapons, money,
command and control
facilitation, safe havens,
and senior leader guidance.
The accompanying graphic
shows how Gen. Petraeus
illustrated the Zarqawi organization’s needs.258

Tehran ultimately either provided or otherwise empowered the Zarqawi organization to obtain all of
these various requirements through the Islamic Republic’s provision of weapons, funding, training,
logistics and organizational facilitation, as well as sanctuary for senior Zarqawi organization leaders.
What follows is my summary of specific ways that Iran’s leadership helped to fulfill these material
needs for the Zarqawi organization.

Weapons. Iran’s provision of weapons to the Zarqawi organization was one of the most substantial
types of support that Iran provided—significant enough to be a causal factor in the U.S. Department
of the Treasury’s designation of Iran’s Ministry of Intelligence and Security (MOIS). In February 2012,
the Treasury Department designated the MOIS for human rights abuses and support for terrorism,
stating that MOIS “provided money and weapons to al Qa’ida in Iraq (AQI).” 259 Indeed, this Court
previously held that Iran’s provision of material support and resources to the Zarqawi organization

257  Treasury Department, “Treasury Further Exposes Iran-Based Al-Qa’ida Network,” October 18, 2012.
https://home.treasury.gov/news/press-releases/tg1741.
258 “Multi-National Force – Iraq Commander’s Counterinsurgency Guidance,” Multi-National Force – Iraq, July 15, 2008.
259 Treasury Department, “Treasury Designates Iranian Ministry of Intelligence and Security for Human Rights Abuses

and Support for Terrorism,” (February 16, 2012), https://home.treasury.gov/news/press-releases/tg1424.



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(including training, funding, small arms, RPGs, IEDs, IEDs with mortar components, specially shaped
explosive charges, and grenades) was sufficient to hold Iran liable for attacks carried out by the
Zarqawi organization.260 The United States District Court for the Southern District of Texas similarly
held Iran liable for Zarqawi organization attacks on the basis of significant material contributions of
this kind.261 I agree with the reasoning underlying these judicial determinations.

Details of Iran’s provision of weaponry to the Zarqawi organization have surfaced in open-source and
government reporting. In July 2006, a Jordanian intelligence official told journalist Mary Anne Weaver
that early Iranian support for the Zarqawi organization included provision of automatic weapons,



260 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *8 (D.D.C., Dec. 28, 2022). To quote

this Court’s opinion at length:

         After consideration of the record evidence, as well as the findings in Neiberger and Espitia, of which
         the Court takes judicial notice, cf. Barry v. Islamic Republics of Iran, 437 F. Supp. 3d 15, 33 (D.D.C.
         2020) (relying on the “the voluminous evidentiary records complied by other courts in related cases in
         this Circuit” to conclude that a foreign state provided material support to a terrorist organization), the
         Court finds that Plaintiffs have sufficiently demonstrated at the default stage that Iran was providing
         material support to the Zarqawi organization—including ISI —by providing funding and weaponry, as
         well as facilitating travel and the use of safe houses throughout Iran, during the period relevant to the
         ISI attack that led to Ms. Parhamovich’s death. The Court further finds that Plaintiffs have
         demonstrated that Iran’s material support was provided at the direction of Iranian officials or agents
         acting within the scope of their “office, employment, or agency,” 28 U.S.C. § 1605A(a)(1), specifically,
         the Quds Force.”); Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 at *15 (D.D.C.,
         Jan. 17, 2023) (Iran provided these groups with training, weapons, soldiers, safe haven and smooth
         passage, and more. … Plaintiffs have thus provided ample evidence “satisfactory to the court,” 28
         U.S.C. §1608(e), that Iran materially supported the terrorist groups and that this support came from an
         “agent of such foreign state while acting within the scope of his or her office, employment, or agency,”);
         Mem. Op. and Order, Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023);
         and Neiberger v. Islamic Republic of Iran, No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept.
         8, 2022), at *14, 15, 20-21 (“Iran provided safe haven to Zarqawi and its leaders by permit[ting] Zarqawi
         recruits to transit Iranian territory and make use of safe houses in different parts of the country[.]
         Evidence further suggests that Iran coordinated to provide funding and weapons to Zarqawi/AQI. […]
         The above findings demonstrate that Iran provided material support and resources to AQI. […]
         Plaintiffs have thus established ‘some reasonable connection’ between Iran’s provision of material
         support and AQI’s killing of SPC Davis.”) (internal citations omitted).

261 See Battles v. Islamic Republic of Iran, Civil Action No. 1: 21-CV-179 (S.D. Tex. Aug. 17, 2022) (“The evidence
demonstrates that Iran provided material support specifically to AQI. The United States and the United Nations have
identified a long-standing partnership between Iran and al Qaeda that included harboring Zarqawi and other AQI
operatives in a ‘safe haven’, as well as providing funds, training, and weapons to al Qaeda operatives in various Middle
Eastern countries, including Iraq.[…] [T]he Court concludes that the evidence is satisfactory to demonstrate that Iran,
through various state officials and agents, contributed significantly to AQI’s ability to orchestrate the IED attack that killed
Sergeant Battles in Baghdad in October 2004.”); Espitia v. Islamic Republic of Iran, Civil Action No. 1: 21-CV-123 (S.D. Tex.
June 16, 2022) (“Several years after the EFP and IED attacks injured Espitia, intelligence experts determined that Iran was
responsible for a significant portion of AQI’s weapons arsenal, and would have been AQI’s principal supplier of EFPs.
[…] [T]he Court concludes that the evidence is satisfactory to demonstrate that Iran, through various state officials and
agents, contributed significantly to AQI’s ability to orchestrate multiple attacks throughout the Sunni Triangle in this brief
period of time.”); Herrick v. Islamic Republic of Iran, Civil Action No. 1: 21-CV-168 (S.D. Tex. Aug. 17, 2022) (“[T]he Court
concludes that the evidence is satisfactory to demonstrate that Iran, through various state officials and agents, contributed
significantly to AQI’s ability to orchestrate an attack with a weapon that was powerful enough to penetrate an armored
combat vehicle, such as the one in which Herrick was patrolling on September 20, 2007.”).



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uniforms, and military equipment.262 In December 2006, evidence attained from IRGC Quds Force
operatives detained in Baghdad detailed “how the Quds Force [was] working with individuals affiliated
with Al Qaeda in Iraq and Ansar al Sunnah,” including by “importing modern, specially shaped
explosive charges,” among other weapons and organizational support. 263

Throughout 2007, weapons caches uncovered in areas held by the Zarqawi organization included
weapons of Iranian origin. On February 3, 2007, Coalition forces discovered a Zarqawi organization
weapons cache in Abu Ghraib (Baghdad Province) containing Iranian-manufactured mortars. 264 In
April 2007, the chief American military spokesman in Iraq, Gen. William B. Caldwell IV, disclosed
that U.S. forces had again discovered Iranian-manufactured arms and that Sunni detainees had
described assistance that Iranian intelligence provided to them:

         Arms that American military officials say appear to have been manufactured in Iran as
         recently as last year have turned up in the past week in a Sunni-majority area, the chief
         spokesman for the American military command in Iraq said Wednesday in a news
         conference. The spokesman, Maj. Gen. William B. Caldwell IV, said that detainees in
         American custody had indicated that Iranian intelligence operatives had given support
         to Sunni insurgents.265

In May, Gen. Rick Lynch, the commander of the Army’s Task Force Marne, noted that “powerful
roadside bombs believed to be of Iranian origin ... are turning up in the hands of Sunni insurgents
south of Baghdad.”266 Given that the Zarqawi organization was the predominant Sunni group in the
area directly south of Baghdad City at this time, it was the likeliest group to which Gen. Lynch was
referring.267 Indeed, during Operation Marne Torch in June and July 2007, U.S. forces identified
weapons caches in Arab Jabour marked with indications of Iranian origin. 268 Notably, the Zarqawi
organization frequently smuggled weapons from Arab Jabour into Baghdad using the Tigris River as
a supply route.269

Funding. The funding Iran provided to the Zarqawi organization had a significant impact on the
organization’s ability to execute a high volume of attacks against Coalition forces. 270 This Court and

262  Mary Anne Weaver, “The Short, Violent Life of Abu Musab al-Zarqawi,” The Atlantic, July/August 2006,
https://www.theatlantic.com/magazine/archive/2006/07/the-short-violent-life-of-abu-musab-al-zarqawi/304983/
263 Eli Lake, “Iran’s Secret Plan for Mayhem,” The New York Sun, January 3, 2007, https://www.nysun.com/article/foreign-

irans-secret-plan-for-mayhem; Sudarsan Raghavan & Robin Wright, “Iraq Expels 2 Iranians Detained by U.S.,” The
Washington Post, December 30, 2006, https://www.washingtonpost.com/archive/politics/2006/12/30/iraq-expels-2-
iranians-detained-by-us-span-classbankheadamerican-defense-official-calls-release-obviously-troublingspan/f9f56a51-
bd96-418f-9267-e8d63d7d80b8/
264 Kimberly Kagan, “The Battle for Diyala,” Institute for the Study of War, (February 11, 2007 – April 25, 2007), p. 12.

https://www.understandingwar.org/sites/default/files/reports/IraqReport04.pdf.
265 Alissa Rubin, “U.S. Suspects That Iran Aids Both Sunni and Shiite Militias,” New York Times, April 12, 2007.
266 Marisa Cochrane, “Backgrounder #26 Iran and Al-Qaeda in Iraq: What’s the Connection?,” Institute for the Study of

War, (March 2008), p. 6.
267 “Baghdad Belts,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/baghdad-belts;

“Southwest,” Institute for the Study of War, n.d., https://www.understandingwar.org/region/southwest.
268 Frederick Kagan et al., “Iranian Influence in the Levant, Iraq, and Afghanistan,” The American Enterprise Institute,

(February 2008), p. 25, https://understandingwar.org/sites/default/files/20080215_IranianInfluence.pdf.
269 Ibid.
270 Col. Joel D. Rayburn & Col. Frank K. Sobchak eds., The U.S. Army in the Iraq War: Volume 1 Invasion -

Insurgency - Civil War 2003-2006, (Strategic Studies Institute and U.S. Army War College Press, 2019), p. 393.



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the United States District Court for the Southern District of Texas have found Iran liable for various
Zarqawi organization attacks in part due to Iran’s provision of funding to the Zarqawi organization. 271
A significant amount of credible evidence undergirds such judicial holdings about the connection
between Iranian funding and Zarqawi organization attacks.

Specifically, the U.S. Treasury Department’s February 2012 designation of Iran’s Ministry of
Intelligence and Security (MOIS) was likewise in part due to the funding that MOIS provided to the
Zarqawi organization: Treasury noted that MOIS “provided money and weapons to al Qa’ida in Iraq
(AQI) … and negotiated prisoner releases of AQI operatives.” 272

Other Treasury designations further illustrate the Islamic Republic’s funding of Sunni militant
factions. In January 2008, U.S. Treasury Department designated Ahmed Foruzandeh, a brigadier
general in the Iranian Revolutionary Guard Corps – Quds Force (IRGC-QF), as an individual who
had committed, directed, or supported acts of violence against Coalition forces via his financial and
material support of insurgent groups in Iraq. Foruzandeh’s designation details his directive to
subordinates to “continue targeting Shia and Sunnis to further sectarian violence within Iraq,” a
directive that put him in alignment with the Zarqawi organization’s own goal of igniting sectarian
violence that would force the Coalition out of Iraq.273 Foruzandeh directed Quds Force intelligence
officers under his command to disburse support that included direct funding of Sunni militant
operations against Coalition forces in Saladin Province. 274


271 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *8 (D.D.C., Dec. 28, 2022) (“After

consideration of the record evidence, as well as the findings in Neiberger and Espitia, of which the Court takes judicial
notice […], the Court finds that Plaintiffs has sufficiently demonstrated at the default stage that Iran was providing material
support to the Zarqawi organization—including ISI—by providing funding and weaponry, as well as facilitating travel and
the use of safe houses throughout Iran, during the period relevant to the ISI attack that led to Ms. Parhamovich’s death.
The Court further finds that Plaintiffs have demonstrated that Iran’s material support was provided at the direction of
Iranian officials or agents acting within the scope of their ‘office, employment, or agency,’ 28 U.S.C. § 1605A(a)(1),
specifically, the Quds Force.”); Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577, at *15 (D.D.C. Jan. 17,
2023) (Iran provided these groups with training, weapons, soldiers, safe haven and smooth passage, and more. […]
Plaintiffs have thus provided ample evidence “satisfactory to the court,” 28 U.S.C. §1608(e), that Iran materially supported
the terrorist groups and that this support came from an “agent of such foreign state while acting within the scope of his
or her office, employment, or agency,”); Mem. Op. and Order, Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC
(D.D.C., Aug. 18, 2023); and Neiberger v. Islamic Republic of Iran, No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C.
Sept. 8, 2022), at *14, 15, 20-21 (“Iran provided safe haven to Zarqawi and its leaders by permit[ting] Zarqawi recruits to
transit Iranian territory and make use of safe houses in different parts of the country[.] Evidence further suggests that
Iran coordinated to provide funding and weapons to Zarqawi/AQI. […] The above findings demonstrate that Iran
provided material support and resources to AQI. […] Plaintiffs have thus established ‘some reasonable connection’
between Iran’s provision of material support and AQI’s killing of SPC Davis.”) (internal citations omitted); Battles v. Islamic
Republic of Iran, Civil Action No. 1:21-CV-179 (S.D. Tex. Aug. 17, 2022); Espitia v. Islamic Republic of Iran, Civil Action No.
1: 21-CV-123 (S.D. Tex. June 16, 2022); Herrick v. Islamic Republic of Iran, Civil Action No. 1:21-CV-168 (S.D. Tex. Aug. 17,
2022).
272 Treasury Department, “Treasury Designates Iranian Ministry of Intelligence and Security for Human Rights Abuses

and Support for Terrorism,” (February 16, 2012), https://home.treasury.gov/news/press-releases/tg1424.
273 Treasury Department, “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency,” January 9, 2008.

https://home.treasury.gov/news/press-releases/hp759; Emily Hunt, “Zarqawi's 'Total War' on Iraqi Shiites Exposes a
Divide among Sunni Jihadists,” The Washington Institute on Near East Policy, November 15, 2005.
https://www.washingtoninstitute.org/policy-analysis/zarqawis-total-war-iraqi-shiites-exposes-divide-among-sunni-
jihadists.
274 Treasury Department, “Treasury Designates Individuals, Entity Fueling Iraqi Insurgency.”




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The fact that Foruzandeh directed this support to Sunni groups in Saladin Province means that his
efforts very likely financed the Zarqawi organization specifically. Through 2007, Coalition operations
in Saladin Province, a noted “stronghold of al-Qaeda in Iraq,” largely focused on the Zarqawi
organization.275 For example, in July 2007, U.S. special forces advised Iraqi forces in capturing the
leader of a 50-person-strong Zarqawi organization cell in Saladin Province’s Samarra that
manufactured IEDs.276 In September, a U.S. special forces team attacked a building associated with
the Zarqawi organization where the group’s local emir was thought to reside. 277 During that same
period, Zarqawi organization operations in Saladin Province were heavily focused on Coalition forces.
For example, in August 2007 more than 40 Zarqawi organization fighters attacked a Coalition
observation post in an attempt to abduct American soldiers on watch.278 Given the Zarqawi
organization’s significant presence in Saladin during this period and its focus on anti-Coalition attacks,
it is likely that Foruzandeh’s funding that was earmarked for Sunni militant attacks on Coalition forces
in Saladin Province supported the Zarqawi organization’s anti-Coalition operations in the province.

Training. There is evidence that Iran contributed to the training of Zarqawi organization operatives
directly and also via al-Qaeda—evidence that aligns with this Court’s previous findings validating the
causal connection between Iran’s provision of training to the Zarqawi organization and the terrorist
group’s ability to execute attacks.279

Iranian “master terrorist” Imad Mughniyah provided training in explosives attack planning to
members of al-Qaeda in the early 1990s, including Saif al-Adl.280 Adl, who spent significant time in
Iran, would prove to be a critical link between Iran, al-Qaeda, and the Zarqawi organization. Adl
would steadily rise through al-Qaeda’s ranks, such that experts assess him to likely be the group’s emir
today. The U.S. Department of State has also assessed Adl to have been a “senior lieutenant” to
Zarqawi.281 Given Adl’s close affiliation with Zarqawi and his interest in the Zarqawi organization’s
success, the training and other largesse that Adl received from Iran doubtless benefited the Zarqawi
organization.

Moreover, in April 2007, the chief American military spokesman in Iraq, Gen. William B. Caldwell
IV, told reporters that Iranian intelligence agents’ support for Sunni insurgents in Iraq included

275  Jon T. Hoffman, “U.S. Army Small-Unit Action in Iraq, 2004-2007: Tip of the Spear,” 2009, p. 175,
https://history.army.mil/html/books/iraq/TotS/Tip_Spear.pdf.
276 Marisa Cochrane, “Backgrounder #26: Iran and Al-Qaeda in Iraq: What’s the Connection?” Institute for the Study of

War, March 20, 2008, p. 12, https://www.understandingwar.org/sites/default/files/reports/Iran%20and%20Al-
Qaeda%20in%20Iraq.pdf#page=12.
277 Ibid; Col. Joel D. Rayburn & Col. Frank K. Sobchak eds., The U.S. Army in the Iraq War: Volume 2, (Strategic Studies

Institute and U.S. Army War College Press, 2019), p. 214.
278 Rayburn & Sobchak, The U.S. Army in the Iraq War – Volume 2, p. 214.
279 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *8 (D.D.C., Dec. 28, 2022); Roth v.

Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 at *15 (D.D.C., Jan. 17, 2023) (“Iran provided these groups
with training, weapons, soldiers, safe haven and smooth passage, and more. […] Plaintiffs have thus provided ample
evidence ‘satisfactory to the court,’ 28 U.S.C. §1608(e), that Iran materially supported the terrorist groups and that this
support came from an ‘agent of such foreign state while acting within the scope of his or her office, employment, or
agency,’”); Memorandum Opinion and Order, Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18,
2023); Neiberger v. Islamic Republic of Iran, No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at 14,
15, 20-21.
280 Thomas Joscelyn, “Al-Qaeda’s ‘De Facto’ Leader is Protected by Iran,” Program on Extremism at George Washington

University, (February 16, 2003), https://extremism.gwu.edu/al-qaeda-de-facto-leader-sayf-al-adl.
281 U.S. State Department, “Sayf al-Adl,” Rewards for Justice, https://rewardsforjustice.net/rewards/sayf-al-adl/




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training of Iraqi insurgents in Iran.282 In this description of support, he noted that Gen. Lynch said
that “We’re seeing Iranian EFPs in the hands of Sunni extremists,” and that the “use of EFPs requires
some degree of training.”283 EFPs (explosively formed penetrators) are specially shaped explosives.
EFPs are among the weapons that IRGC-QF members provided to the Zarqawi organization, as
noted earlier in this report). The provision of these weapons has been discussed by both this Court
and also the United States District Court for the Southern District of Texas. 284

Facilitation and Logistical Support. In addition to enabling facilitation networks that I have described
above, Iran provided substantial logistical support and operational facilitation to the Zarqawi
organization. This Court has already rightly recognized Iran’s history of “facilitating travel” and
allowing Zarqawi organization operatives to use safe houses throughout Iran as part of a pattern of
Iranian support to the Zarqawi organization.285

Iran’s facilitation and logistical support for the Zarqawi organization has included assistance from
explosives experts and even securing prisoner releases of Zarqawi organization operatives who had
been captured by Iraqi security forces and their allies. The Treasury Department’s 2012 designation
of the MOIS for its support of al-Qaeda and the Zarqawi organization details that “MOIS has

282 Marisa Cochrane, “Backgrounder #26 Iran and Al-Qaeda in Iraq: What’s the Connection?,” Institute for the Study of

War, March 2008, p. 4, https://www.understandingwar.org/sites/default/files/reports/Iran%20and%20Al-
Qaeda%20in%20Iraq.pdf.
283 Ibid., pp. 6, 7.
284 Sudarsan Raghavan & Robin Wright, “Iraq Expels 2 Iranians Detained by U.S.,” The Washington Post, December 30,

2006. See Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577 at *4 (D.D.C., Jan. 17, 2023) (“Iran also
provided training and weapons to all of these proxies [Asa’ib Ahl Al-Haq, Special Groups, Kata’ib Hezbollah, AQI, Badr
Corps] […] In terms of weapons, Iran primarily provided explosively formed penetrators (EFPs), improvised explosive
devices (IEDs), mortars, and rocket-propelled grenades (RPGs), plus training on how to use them.”); Mem. Op. and
Order, Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248-CRC (D.D.C., Aug. 18, 2023) (“The connection between EFP
attacks and Iranian support has been well documented.”); Battles v. Islamic Republic of Iran, Civil Action No. 1: 21-CV-179
(S.D. Tex. Aug. 17, 2022) (“The evidence demonstrates that Iran provided material support specifically to AQI.[…] AQI’s
use of smuggled Iranian IED and EFP components was a mutually beneficial arrangement.[…] By the early 2000s, a
‘supply of arms flowed from Iran into al Qaeda strongholds’ in Iraq, and ‘Iranian arms became an important part of al
Qaeda’s arsenal.’”); Espitia v. Islamic Republic of Iran, Civil Action No. 1: 21-CV-123 (S.D. Tex. June 16, 2022) (“Several years
after the EFP and IED attacks injured Espitia, intelligence experts determined that Iran was responsible for a significant
portion of AQI’s weapons arsenal, and would have been AQI’s principal supplier of EFPs.[…] [T]he Court concludes that
the evidence is satisfactory to demonstrate that Iran, through various state officials and agents, contributed significantly to
AQI’s ability to orchestrate multiple attacks throughout the Sunni Triangle in this brief period of time.”); Herrick v. Islamic
Republic of Iran, Civil Action No. 1: 21-CV-168 (S.D. Tex. Aug. 17, 2022) (“[T]he Court concludes that the evidence is
satisfactory to demonstrate that Iran, through various state officials and agents, contributed significantly to AQI’s ability
to orchestrate an attack with a weapon that was powerful enough to penetrate an armored combat vehicle, such as the one
in which Herrick was patrolling on September 20, 2007.”).
285 See Est. of Parhamovich v. Syrian Arab Republic, No. 17-cv-61, 2022 WL 18071921 at *8 (D.D.C., Dec. 28, 2022) (“[T]he

Court finds that Plaintiffs has sufficiently demonstrated at the default stage that Iran was providing material support to
the Zarqawi organization—including ISI—by providing funding and weaponry, as well as facilitating travel and the use of safe
houses throughout Iran, during the period relevant to the ISI attack that led to Ms. Parhamovich’s death.”) (emphasis added);
Roth v. Islamic Republic of Iran, No. 1:19-cv-02179, 2023 WL 196577, at *15 (D.D.C., Jan. 17, 2023) (“Iran provided these
groups with training, weapons, soldiers, safe haven and smooth passage, and more.”) (emphasis added); and Neiberger v. Islamic
Republic of Iran, No. 1:16-cv02193-EGS-ZMF, 2022 WL 17370239 (D.D.C. Sept. 8, 2022), at *14, 15, 20-21 (“Iran provided
safe haven to Zarqawi and its leaders by permit[ting] Zarqawi recruits to transit Iranian territory and make use of safe
houses in different parts of the country…. Evidence further suggests that Iran coordinated to provide funding and
weapons to Zarqawi/AQI.… Plaintiffs have thus established ‘some reasonable connection’ between Iran’s provision of
material support and AQI’s killing of SPC Davis.”) (internal citations omitted).



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facilitated the movement of al Qa’ida operatives in Iran and provided them with documents,
identification cards, and passports. MOIS also provided money and weapons to al Qa’ida in Iraq
(AQI), a terrorist group designated under E.O. 13224, and negotiated prisoner releases of AQI
operatives.”286

Iran granted Abu Musab al-Zarqawi passage through its territory to carry out recruitment and other
organizational activities. As far back as the early 2000s, Zarqawi leveraged terrorist networks he had
developed in Iran to plan attacks.287 Prior to the 2003 U.S. invasion of Iraq, Iran provided Zarqawi
with authentic Iranian passports, and IRGC-QF equipped him with a Swiss satellite phone and two
Iranian cell phones that he could use for communication. 288

In 2011, the U.S. Department of State identified Muhammad Hisham Muhammad Isma’il Abu
Ghazala, a Hamas operative, as a facilitator specializing in the construction and deployment of
improvised explosive devices (IEDs). The State Department notes Ghazala’s affiliations with Iran and
al-Qaeda, identifies his work in distributing designs for remote detonation devices used by terrorist
organizations in Iraq, and connects him to multiple IED networks across northern Iraq, where the
Zarqawi organization primarily operated.289 Given his affiliations with Iran and al-Qaeda, and the
nature of his activities in Iraq, it is very likely that Ghazala played a role in facilitating IED attacks for
the Zarqawi organization.

Sanctuary for Senior Leadership. In addition to the passage Iran granted to Zarqawi and his organization
for network-building and operational activities, Iran provided sanctuary to Zarqawi himself, as well as
other Zarqawi organization operatives. Zarqawi and other operatives from his group used this
sanctuary to plan and execute attacks in Iraq. The United States District Court for the Southern
District of Texas has noted the impact of Iran’s willingness to harbor “Zarqawi and other AQI
operatives in a ‘safe haven’, as well as providing funds, training, and weapons to al Qaeda operatives
in various Middle Eastern countries, including Iraq.” 290 Indeed, in the latter part of 2003, European

286 Treasury Department, “Treasury Designates Iranian Ministry of Intelligence and Security for Human Rights Abuses

and Support for Terrorism,” February 16, 2012, https://home.treasury.gov/news/press-releases/tg1424.
287 Sean Durns, “Iran’s Support for al-Qaida,” The Jerusalem Post, October 23, 2017, https://www.jpost.com/opinion/irans-

support-for-al-qaida-508130; Geoffrey Gresh, “Instigating Instability: Iran’s Support of Non-State Armed Groups in
Iraq,” al Nakhlah, Spring 2006, p. 8, https://ciaotest.cc.columbia.edu/olj/aln/aln_spring06/aln_spring06b.pdf.
288 Durns, “Iran’s Support for al-Qaida.”
289 Office of the Spokesperson, “Terrorist Designation of HAMAS Operative Muhammad Hisham Muhammad Isma’il

Abu        Ghazala,”        U.S.       Department      of      State,     September         22,       2011,      https://2009-
2017.state.gov/r/pa/prs/ps/2011/09/173352.htm.
290 See Battles v. Islamic Republic of Iran, Civil Action No. 1: 21-CV-179 (S.D. Tex. Aug. 17, 2022) (“The evidence

demonstrates that Iran provided material support specifically to AQI. The United States and the United Nations have
identified a long-standing partnership between Iran and al Qaeda that included harboring Zarqawi and other AQI
operatives in a ‘safe haven’, as well as providing funds, training, and weapons to al Qaeda operatives in various middle
eastern countries, including Iraq. […] [T]he Court concludes that the evidence is satisfactory to demonstrate that Iran,
through various state officials and agents, contributed significantly to AQI’s ability to orchestrate the IED attack that killed
Sergeant Battles in Baghdad in October 2004.”); Espitia v. Islamic Republic of Iran, Civil Action No. 1: 21-CV-123 (S.D. Tex.
June 16, 2022) (“The evidence demonstrates that Iran provided material support specifically to AQI. The United States
and the United Nations have identified a long-standing partnership between Iran and al Qaeda that included harboring
Zarqawi and other AQI operatives in a ‘safe haven’, as well as providing funds, training, and weapons to al Qaeda
operatives in various middle eastern countries, including Iraq. (United Against Nuclear Iran Brief, Doc. 12-5; AEI Brief,
Doc. 13-8, 13-36).… [T]he Court concludes that the evidence is satisfactory to demonstrate that Iran, through various
state officials and agents, contributed significantly to AQI’s ability to orchestrate multiple attacks throughout the Sunni



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intelligence assessed that Zarqawi was located in Iran, using it as a base from which to coordinate his
group’s operations in Iraq, including attacks. 291

Rationalizing Iranian Support to al-Qaeda and the Zarqawi Organization
Iranian support to the al-Qaeda network and the Zarqawi organization is essentially a product of
pragmatic expediency. While the Islamic Republic has never sought to consolidate an ideological
alliance with either al-Qaeda or the Zarqawi organization because both are Sunni extremist in
orientation, Iran has been willing to coordinate with them when doing so furthers Iran’s own interests.

Adopting such a stance is in line with Tehran’s general approach to foreign relations and is one that
has borne dividends. Iran’s provision of logistical and operational support buttressed the ability of al-
Qaeda and the Zarqawi organization to target a common enemy, the United States. At the same time,
allowing the groups’ cadres to shelter on its soil afforded Iran with leverage in its dealings with
Washington: restrictions on al-Qaeda’s activities can be loosened to deter or retaliate against American
actions, while tighter control can be exercised in exchange for concessions, or to improve bilateral
relations.292 Finally, working with al-Qaeda provided Iran with an insurance policy that often helped
to shield it from the group’s attacks.

Indeed, during the 2003-2011 period this arrangement seemingly provided Iran with a great deal of
insulation from the Zarqawi organization.293 There are multiple illustrations of this insulation,
including ISIS spokesman Abu Muhammad al-Adnani’s thunderous 2014 accusation that al-Qaeda
core had held the Zarqawi organization back from striking Iran. Another illustration of this dynamic
is a 2005 letter from Ayman al-Zawahiri to Zarqawi, in which the former denounced the latter’s use
of indiscriminate violence against the Shia and called for a cessation in order to preserve relations with
Tehran:

         Why kill ordinary Shia considering that they are forgiven because of their ignorance?
         And what loss will befall us if we did not attack the Shia? And do the brothers forget
         that we have more than 100 prisoners—many of whom are from the leadership who
         are wanted in their countries—in the custody of the Iranians? And even if we attack
         the Shia out of necessity, then why do you announce this matter and make it public,
         which compels the Iranians to take counter measures? And do the brothers forget that
         both we and the Iranians need to refrain from harming each other at this time in which
         the Americans are targeting us?294

Triangle in this brief period of time.”); Herrick v. Islamic Republic of Iran, Civil Action No. 1: 21-CV-168 (S.D. Tex. Aug. 17,
2022) (“After the United States invaded Afghanistan in 2001, Iran provided ‘safe haven’ to several al Qaeda leaders and
prominent extremists, including Abu Musab Al-Zarqawi, a Jordanian-born Sunni extremist who “initially operated under
the protection of the IRGC and its elite Quds Brigade…. According to intelligence officials, the time Zarqawi spent in
Iran was crucial for rebuilding his network before relocating to Iraq.… [T]he Court concludes that the evidence is
satisfactory to demonstrate that Iran, through various state officials and agents, contributed significantly to AQI’s ability
to orchestrate an attack with a weapon that was powerful enough to penetrate an armored combat vehicle, such as the one
in which Herrick was patrolling on September 20, 2007.”) (internal citations omitted).
291 Matthew Levitt, “USA Ties Terrorist Attacks in Iraq to Extensive Zarqawi Network,” Washington Institute for Near

East Policy, April 1, 2004, https://www.washingtoninstitute.org/policy-analysis/usa-ties-terrorist-attacks-iraq-extensive-
zarqawi-network; Gresh, “Instigating Instability.”
292 Daniel Byman, “The Odd Couple,” Foreign Policy, February 21, 2012; Moghadam, “Marriage of Convenience.”
293 Byman, “Unlikely Alliance,” p. 29.
294 “Letter from al-Zawahiri to al-Zarqawi,” 2005, available at https://fas.org/irp/news/2005/10/letter_in_english.pdf.




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Scholar Assaf Moghadam assesses that although the Zarqawi organization “continued to target Shi’a
in Iraq, AQI and its successor organizations clearly heeded al-Zawahiri’s injunction when it came to
Shi’a in Iran.”295

In summary, as former Director of National Intelligence James Clapper testified before the Senate
Armed Forces Committee in 2012, Iran’s relationship with al-Qaeda can be viewed as tantamount to
a “longstanding … shotgun marriage or marriage of convenience.”296 Tehran has identified operational
interests that can be advanced by working with al-Qaeda. The Islamic Republic accordingly
demonstrated its willingness put aside ideological reservations that could serve as a barrier to such
cooperation.

Iran’s assistance to the Zarqawi organization can be viewed in the same self-interested light as its
support for al-Qaeda. For the most part, Tehran’s backing for Zarqawi’s group was part of a wider
strategy aimed at accelerating the eviction of U.S. troops from Iraq, while simultaneously providing
some insurance against the emergence of a strong Shia state that could threaten the legitimacy—and
predominance—of Iran’s clerical regime.297 This effort entailed a deliberate policy of creating
instability in Iraq that would both impose political, economic, and human costs on the United States
and delegitimize the American-led coalition.298

Conclusion
Iranian support proved to be essential in fulfilling the Zarqawi organization’s material needs, as
identified by General Petraeus. Iran’s support enabled the Zarqawi organization to become a lethal
and formidable militant force. Iranian support ranged from the provision of weapons and financial
assistance to training and coordination with the Zarqawi organization. Iran’s support materially aided
the Zarqawi organization in the following ways:

        First, Iran enabled operational establishment of the Zarqawi organization through
         provision of supplies that the group’s leadership could use for command and control purposes
         (e.g., communication equipment); transit routes; and safe haven to Zarqawi and other
         operatives.299

        Second, Iran critically enabled al-Qaeda’s support for the Zarqawi organization –
         support that helped to increase the Zarqawi organization’s membership and size through
         financing, training, and other forms of support. 300

        Third, Iranian provision of weapons and training enabled the Zarqawi organization to
         execute a variety of attacks in Iraq, but the Islamic Republic’s provision of IEDs and IED

295 Moghadam, “Marriage of Convenience.”
296 Thomas Joscelyn, “DNI Clapper: ‘Shotgun Marriage’ Between Iran and Al Qaeda,” Weekly Standard, February 17, 2012.
297 Rayburn & Sobchak, The U.S. Army in the Iraq War – Volume 1, p. 187; Brian Fishman and Joseph Felter, Iranian Strategy

in Iraq: Politics and “Other Means” (West Point, NY: Combating Terrorism Center at West Point, 2008), p. 56; Daniel Byman,
“Iran’s Support for Terrorist Groups,” Lawfare, May 25, 2015, https://www.lawfareblog.com/irans-support-terrorist-
groups.
298 Rayburn & Sobchak, The U.S. Army in the Iraq War – Volume 1, p. 187.
299 Durns, “Iran’s Support for al-Qaida;” Gresh, “Instigating Instability.”
300 Rayburn & Sobchak, The U.S. Army in the Iraq War – Volume 1, p. 394.




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          components was especially critical in supporting a hallmark of Zarqawi’s operations:
          spectacular attacks that were often achieved via bombings. 301

         Fourth, Iran enabled continuity of operations for the Zarqawi organization directly
          through extended funding and facilitation of the Zarqawi organization, and indirectly via
          enablement of al-Qaeda’s financial, logistical, and travel support network to facilitate the
          Zarqawi organization’s activities in Iraq.302

         Fifth, Iranian support enabled oversight and direction of al-Qaeda and the Zarqawi
          organization’s “strategic and operational plans” for the “war in Iraq and beyond.” 303

VI.       Ansar al-Islam/Ansar al-Sunna

Ansar al-Islam, a Salafist militant group, has gone through several name changes since its formation
in December 2001. Originally established under the name Jund al-Islam, Ansar al-Islam emerged from
a conglomeration of several smaller Kurdish Sunni extremist groups based in Iraq’s Kurdistan region.
Also known as Ansar al-Islam Army, Ansar al-Sunna, Army of Ansar al-Islam, Devotees of Islam,
Followers of Islam in Kurdistan, Jaysh Ansar al-Sunna, Jaysh Ansar al-Islam, Jund al-Islam, Kurdish
Taliban, Kurdistan Supporters of Islam, Partisans of Islam, Protectors of Islam, Protectors of the
Sunna Faith, Soldiers of God, Soldiers of Islam, and Supporters of Islam in Kurdistan, 304 the group is
listed as Ansar al-Islam in the U.S. government’s designation.305

Origins in the Kurdistan Islamic Movement
The roots of Ansar al-Islam can be found in Iraq’s Kurdistan Islamic Movement (IMK). 306 The IMK
was founded in 1987 by Othman Abdul Aziz, who was a prominent Muslim Brotherhood member
from 1960 until 1980.307 In 1984, Aziz fled the persecution of Saddam Hussein’s regime and sought

301  Eric Hamilton, Targeting the Diyala Suicide Bombing Network (Institute for the Study of War, March 2008), p. 1.
https://www.understandingwar.org/sites/default/files/reports/Targeting%20the%20Diyala%20Suicide%20Bombing%
20Network.pdf.
302 Treasury Department, “Treasury Designates Iranian Ministry of Intelligence and Security for Human Rights Abuses

and Support for Terrorism,” February 16, 2012, https://home.treasury.gov/news/press-releases/tg1424; Treasury
Department, “Treasury Further Exposes Iran-Based Al-Qa'ida Network,” October 18, 2012,
https://home.treasury.gov/news/press-releases/tg1741.
303 Fishman, The Master Plan, Kindle ed. locs. 834-37.
304 Parliament of Australia, Parliamentary Joint Committee on Intelligence and Security, “Review of the Re-Listing of

Ansar Al-Islam, Islamic Movement of Uzbekistan, Lahkar-e Jhangvi, and Jaish-e-Mohammad as Terrorist Organisations”
(2015), https://www.aph.gov.au/DocumentStore.ashx?id=59c6be2a-62a6-46b0-a243-a3ea03a8cade&subId=305072.
305 U.S. Department of the Treasury, “Treasury Department Statement Regarding the Designation of Ansar Al-Islam,”

February 20, 2003. It is also listed this way in the U.N. Security Council Consolidated List, and by the government of
Canada. See United Nations Security Council, “United Nations Security Council Consolidated List,” accessed May 23,
2019, https://www.un.org/securitycouncil/content/un-sc-consolidated-list; Public Safety Canada, “Currently Listed
Entities,” December 21, 2018, https://www.publicsafety.gc.ca/cnt/ntnl-scrt/cntr-trrrsm/lstd-ntts/crrnt-lstd-ntts-
en.aspx. Though Ansar al-Islam and Ansar al-Sunna are the same entity, they are listed separately by the British
government. Government of the United Kingdom, “Proscribed Terrorist Groups or Organisations,” April 12, 2019,
https://www.gov.uk/government/publications/proscribed-terror-groups-or-organisations--2.
306 Iraq’s Kurdistan Islamic Movement is also sometimes referred to as the Islamic Movement in Iraqi Kurdistan.
307 Saed Kakei, “The Islamic Movement of Kurdistan: From Conflict to Cooperation,” Ekurd Daily, March 25, 2013,

https://ekurd.net/mismas/articles/misc2013/3/state6950.htm; David Romano, “An Outline of Kurdish Islamist Groups
in Iraq,” The Jamestown Foundation, October 1, 2007; “Profile: Kurdish Islamist Movement,” BBC News, January 13,



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sanctuary in Iran.308 During the Iran-Iraq War that ravaged both countries in the 1980s, Tehran funded
a variety of Iraqi Kurdish groups with the goal of stirring up domestic unrest and forcing Saddam to
fight a two-front war.309 With funding from Iran, and supported by IRGC trainers, Aziz returned to
Iraqi Kurdistan in 1987 to head the newly formed IMK. 310

Under Aziz’s leadership, Kurdish Islamists—a relatively marginal group compared to the far better
structured and organized leftist Kurdish Patriotic Union (PUK) and Democratic Party of Kurdistan
(KDP)—promoted the idea of a jihad against Saddam Hussein. 311 They compared the Kurdish cause
to that of the Afghans at a time when the Afghan-Soviet War had become a cause célèbre throughout
the Arab world. The Kurdish Islamists declared Iraq’s Baathist government to be an infidel regime
occupying Islamic lands in Kurdistan, similar to Soviet forces in Afghanistan. Indeed, during the
Afghan-Soviet War, Kurdish Islamists established ties to various factions fighting the Soviets in
Afghanistan, including Afghan and Pakistani groups, as well as to “Afghan Arab” foreign fighter
contingents.312 These ties facilitated Iraqi Kurdish involvement on the front lines of the Afghan-Soviet
War.313 The ties forged between Kurdish Islamists and some Afghanistan-based fighters, including al-
Qaeda, during the Afghan-Soviet War proved to be long lasting. Throughout the 1990s, contacts
between al-Qaeda and Kurdish Islamists continued. Kurdish militants travelled to Afghanistan to
undertake training and to support al-Qaeda’s fight against the Northern Alliance. 314

As Kurdish fighters returned from Afghanistan during the Iran-Iraq War, the IMK, supported by
Iran’s Ministry of Intelligence and Security (MOIS), joined secular Kurdish parties (KDP and PUK)
in fighting alongside Iranian forces during the Val Fajr-10 offensive. 315 Kurdish participation in the
Iran-Iraq War factored into Saddam Hussein’s later decision to deploy chemical weapons against the
Kurdish city of Halabja, in which he notoriously killed up to 5,000 Kurdish people. In 1988, the Iraqi
government’s al-Anfal campaign included the use of ground offensives, aerial bombing, systematic
destruction of settlements, mass deportation, and chemical warfare designed to suppress the Kurdish
populations in Northern Iraq.316 Following this campaign, the IMK, like many other Kurdish groups,
largely ceased its operations until the 1991 Gulf War.317

2003, http://news.bbc.co.uk/2/hi/not_in_website/syndication/monitoring/media_reports/2588623.stm.
308 Mohammed Shareef, Kurdish Islamists in Iraq from the Muslim Brotherhood to the So-Called Islamic State: Continuity or Departure?

(King Faisal Center for Research and Islamic Studies, 2015), pp. 22–23; Kakei, “The Islamic Movement of Kurdistan:
From Conflict to Cooperation.”
309 Romano, “An Outline of Kurdish Islamist Groups in Iraq.”
310   Mapping Militant Organizations, Stanford University, “Islamic Movement of Kurdistan,” n.d.,
https://cisac.fsi.stanford.edu/mappingmilitants/profiles/islamic-movement-kurdistan.
311 Adel Bakawan, “Three Generations of Jihadism in Iraqi Kurdistan,” Notes de l’Ifri, July 2017, p. 8,

https://www.ifri.org/sites/default/files/atoms/files/bakawan_jihadism_iraqi_kurdistan_2017.pdf.
312 PEX 220, Ami M. Angell and Rohan Gunaratna, Terrorist Rehabilitation: The U.S. Experience in Iraq (Boca Raton, FL: CRC

Press, 2012), pp. 9–10.
313       Human          Rights       Watch,       “Ansar        al-Islam         in        Iraqi       Kurdistan”          (2003),
https://www.hrw.org/legacy/backgrounder/mena/ansarbk020503.htm; Sunil Ram, “The Enemy of My Enemy: The
Odd Link Between Ansar al-Islam, Iraq, and Iran,” The Canadian Institute of Strategic Studies, April 2003.
314 PEX 220, pp. 10–11.
315 Miguel Ángel Ballesteros Martin, “Iraqi Kurdistan,” in Geopolitical Overview of Conflicts 2017 (Madrid: Spanish Institute of

Strategic Studies, 2018), p. 117, https://publicaciones.defensa.gob.es/media/downloadable/files/links/g/e/geopolitical-
overview-2017.pdf; International Crisis Group, “Radical Islam in Iraqi Kurdistan: The Mouse That Roared,” ICG Middle
East Briefing, 2003, p. 2, https://www.refworld.org/pdfid/3efde9634.pdf.
316 European Parliament, “The Kurdish Genocide: Achieving Justice through EU Recognition” (2014), p. 2.
317 Joost Jongerden, “Governing Kurdistan: Self-Administration in the Kurdistan Regional Government in Iraq and the




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Following the Gulf War, with the installment of a no-fly zone north of the 36th parallel, many Kurdish
political organizations resumed their political and military activities. 318 Under the protection of the no-
fly zone, the Iraqi Kurds began to prepare for their first free election and the establishment of a
Kurdish parliament. The 1992 elections illustrated the sharp differences between the IMK and the
general population of Iraqi Kurdistan. The IMK gathered only 5% of the vote, failing to meet the 7
percent threshold required to secure parliamentary seats. 319

Disaffected from the political process as a result of their loss, IMK separated itself from ordinary
Kurdish politics.320 Focusing on consolidating its power in Halabja, IMK established a separate
consultative shura (council), and organized education, health, and social services for its members in
areas where the group possessed influence.321 This proved to be a source of friction between the IMK
and the PUK and KDP, with the latter two accusing the IMK of not recognizing or accepting the
legitimacy of the Kurdish administration and its institutions. 322

Tensions between IMK and secular Kurdish factions boiled over in 1993-94, as IMK attempted to
expand its influence into Irbil and Sulamaniyah.323 With support from Syria and Iran, which supported
Kurdish Islamist groups in the hope of countering the Kurdish nationalist parties, IMK began carrying
out terrorist attacks against the PUK/KDP Kurdish nationalist government.324 Iran provided financial
backing and military training to IMK, while the Syrian government recruited foreign fighters with
experience against the Soviets in the Afghanistan theater to train IMK members on how to plan
attacks, assassinations, and roadside bombings.325 Consequently, IMK’s militant activities increased
during this period. In response, the PUK initiated a large-scale military campaign against the IMK
stronghold of Halabjah in December 1993 and arrested Aziz, forcing the majority of IMK members
to flee to Iran temporarily.326


Democratic         Federation       of      Northern       Syria,”       Ethnopolitics     18:1      (2019),       p.       63,
https://doi.org/10.1080/17449057.2018.1525166; Martin van Bruinessen, “Genocide in Kurdistan?: The Suppression of
the Dersim Rebellion in Turkey (1937-1938) and the Chemical War Against the Iraqi Kurds (1988),” in George J.
Andreopoulos ed., Genocide: Conceptual and Historical Dimensions (Philadelphia: University of Pennsylvania Press, 1997), p.
161.
318 Matan Chorev, “Iraqi Kurdistan: The Internal Dynamics and Statecraft of a Semistate,” Al Naklah, Fall 2007, p. 4;

Jongerden, “Governing Kurdistan,” p. 63.
319 Romano, “An Outline of Kurdish Islamist Groups in Iraq,” p. 9.
320 Amnesty International, Iraq: Human Rights Abuses in Iraqi Kurdistan Since 1991 (New York: Amnesty International USA,

1995), pp. 19–20, https://www.amnesty.org/download/Documents/180000/mde140011995en.pdf.
321 Romano, “An Outline of Kurdish Islamist Groups in Iraq,” p. 9; Hugh Naylor, “Iraq’s Islamist Kurds under Fire from

Both Sides of the War,” The National (U.A.E.), September 22, 2014, https://www.thenational.ae/world/iraq-s-islamist-
kurds-under-fire-from-both-sides-of-the-war-1.239844; Amnesty International, Iraq: Human Rights Abuses in Iraqi Kurdistan
Since 1991, p. 20.
322 Amnesty International, Iraq: Human Rights Abuses in Iraqi Kurdistan Since 1991, p. 20.
323 Michael M. Gunter, “The KDP-PUK Conflict in Northern Iraq,” Middle East Journal 50:2 (1996), p. 232.
324 Joshua R. Itzkowitz Shifrinson, “The Kurds and Regional Security: An Evaluation of Developments Since the Iraq

War,” Middle East Brief 14 (2006), pp. 1–2; Kakei, “The Islamic Movement of Kurdistan: From Conflict to Cooperation.”
325 Kakei, “The Islamic Movement of Kurdistan: From Conflict to Cooperation.”
326 Amnesty International, Iraq: Human Rights Abuses in Iraqi Kurdistan Since 1991, p. 35; Gunter, “The KDP-PUK Conflict

in Northern Iraq,” p. 232; Shareef, Kurdish Islamists in Iraq from the Muslim Brotherhood to the So-Called Islamic State, p. 9;
Mapping Militant Organizations, Stanford University, “Islamic Movement of Kurdistan,” accessed May 30, 2019,
https://web.stanford.edu/group/mappingmilitants/cgi-bin/groups/view/25 - cite20; Human Rights Watch, “Ansar al-
Islam in Iraqi Kurdistan.”



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In 1994, violence broke out between the PUK and the KDP, distracting both groups from their fight
against the IMK. With the PUK weakened by its ongoing fight with the KDP, Iran pressured it to
cede control of the Halabja-Howraman region to the IMK, which it did in 1996. 327

Following the end of the PUK-KDP fighting, the IMK and PUK agreed to a truce. IMK joined the
Kurdish Regional Government in exchange for control over the Ministry of Endowment and
Religious Affairs and the Ministry of Justice. 328 However, the truce between the IMK and PUK
alienated many of the IMK’s more extreme members, thus producing several splinter groups between
1997 and 2000.329 These splinter groups, led by both Kurdish and non-Iraqi Arab veterans of the
Afghan war against the Soviets, included Kurdish Hamas (unrelated to the Palestinian Hamas
organization or to Hamas Iraq), the Second Soran Unit, the Reformist Group, the Islamic Group, and
Tawhid.330 These groups promoted a militant Salafist interpretation of Islam. 331

Ansar al-Islam’s Formation
In December 2001, after a series of reconciliations and reorganization under various names (including
Jund al-Islam), many splinter groups of IMK—including al-Tawhid, Kurdish Hamas, the Reformist
Group, and the Second Soran Unit—merged with other Arab and Kurdish Islamist groups to form
Ansar al-Islam. This group was led by former IMK member Mullah Fatih Krekar (real name
Najmaddin Faraj Ahmad).332 Krekar had studied Islamic jurisprudence in Pakistan under Abdullah
Azzam, Osama bin Laden’s mentor.333 Indeed, Krekar wrote about meeting bin Laden in his
autobiography and referred to the al-Qaeda chief as “a jewel in the crown of Islam.” 334 Mullah Krekar’s
open lauding of bin Laden and al-Qaeda continued even after the 9/11 attacks. 335

Even prior to Ansar al-Islam’s inception, Kurdish Islamist factions appeared to be seeking closer ties
to al-Qaeda, though there are questions about how strong their relationship to al-Qaeda was prior to
the creation of Ansar al-Islam. In August 2001, several Kurdish Islamist factions reportedly visited al-
Qaeda’s leadership in Afghanistan, which wanted to create a base for al-Qaeda in northern Iraq. 336
This relationship with al-Qaeda may have manifested not just through funding but also training. In
October 2000, Kurdish Islamist leaders reportedly sent fighters to train with al-Qaeda, who returned
with a message from bin Laden calling for Kurdish Islamist groups to unite.337 Brian Fishman provides
further details about Kurdish militants training in Afghanistan prior to the 9/11 attacks:
327 Romano, “An Outline of Kurdish Islamist Groups in Iraq,” p. 9; Michael Rubin, “The Islamist Threat in Iraqi

Kurdistan,”         Middle        East        Intelligence    Bulletin       3,        no.        2       (December        2001),
https://www.meforum.org/meib/articles/0112_ir1.htm; David McDowall, A Modern History of the Kurds (I.B. Tauris,
2004), pp. 389–90.
328 Shareef, Kurdish Islamists in Iraq from the Muslim Brotherhood to the So-Called Islamic State, p. 30; Angel Rabasa et al., The

Muslim World After 9/11 (Santa Monica: Rand Corporation, 2004); International Crisis Group, Radical Islam in Iraqi Kurdistan:
The Mouse That Roared, p. 3.
329 Romano, “An Outline of Kurdish Islamist Groups in Iraq,” p. 9.
330 See discussion in ibid., pp. 9-10; Rubin, “The Islamist Threat in Iraqi Kurdistan”; Husni Mahalli, “Another ‘al-Qa’ida’

and New Mullahs in Iraqi Kurdistan; Will Kurdistan Become Tora Bora?,” Al-Majallah (Arabic), February 10, 2002.
331 “Ansar al-Islam in Iraqi Kurdistan”; Ram, “The Enemy of My Enemy: The Odd Link Between Ansar Al-Islam, Iraq,

and Iran.”
332 “Ansar al-Islam in Iraqi Kurdistan”; Romano, “An Outline of Kurdish Islamist Groups in Iraq,” p. 12.
333 Romano, “An Outline of Kurdish Islamist Groups in Iraq,” p. 12.
334 See discussion in J.M. Berger, “The Mullah Krekar Show,” Foreign Policy, July 22, 2011.
335 PEX 219, p. 114.
336 Mahalli, “Another ‘al-Qa’ida’ and New Mullahs in Iraqi Kurdistan.”
337 Abbas al-Badri, “Al-Sharq al-Awsat Obtains Document That Reveals: Bin Ladin Blessed the Establishment of the




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         The Kurdish jihadi community was fractured but well known to al-Qaeda’s leadership
         in Afghanistan. The largest group was led by Mullah Fatih Krekar, a veteran of the
         anti-Soviet jihad, but the most internationally focused group was led by Abu Abdallah
         al-Shafi’i, himself a veteran of Chechnya and Afghanistan’s training camps. It is not
         clear whether al-Shafi’i worked closely with al-Qaeda in Afghanistan, but a jihadi map
         of the al-Faruq training camp in Afghanistan shows a “Kurds Camp” in it. 338

As noted, there is some countervailing evidence concerning the strength of the relationship between
Kurdish Islamists and al-Qaeda at this point. Documents found in Afghanistan after the defeat of the
Taliban do not appear to provide a strong link between al-Qaeda and Islamist groups in Iraqi
Kurdistan prior to the defeat of the Taliban regime.339

In the immediate aftermath of 9/11, Jund al-Islam (as Ansar al-Islam was then known) established a
small enclave, providing Kurdish Islamists the first actual territory that they managed to hold in more
than a decade. In this enclave, the group sought to establish an Islamic state explicitly modeled after
that of the Taliban.340 The establishment of this enclave brought Jund al-Islam into direct conflict with
the PUK.341 In September 2001, the group ambushed and killed 42 PUK fighters. 342 Jund al-Islam,
anticipating the Taliban regime’s fall, also sought to provide safe haven to Arab militants fleeing
Afghanistan.343

Though there is some lack of clarity regarding the relationship between al-Qaeda and Kurdish militant
groups prior to Ansar al-Islam’s (AAI) creation, Ansar al-Islam represented a deepening in the
relationship between Kurdish militancy and al-Qaeda. As the U.S. Treasury has revealed, Ansar al-
Islam “came into being with the blessing of bin Laden after its leaders visited al-Qa’ida in Afghanistan
in 2000 and 2001. Bin Laden provided AAI with an estimated $300,000 to $600,000 in seed money.” 344
Further, former high-ranking Ansar al-Islam members report that bin Laden regularly provided the
group with installments of $10,000 from 2001 to 2003 through couriers. 345 Interviews with Ansar al-
Islam prisoners also seemed to corroborate this claim.



Kurdish ‘Jund Al-Islam’ and Sent It a ‘Gift’ in Dollars,” Al-Sharq Al-Awsat (Arabic), September 28, 2001.
338 Brian Fishman, The Master Plan, locs. 572-580 of 8220.
339 C.J. Chivers, “Kurds Face a Second Enemy: Islamic Fighters on Iraq Flank,” New York Times, January 13, 2003.
340 “Group Linked to Al-Qaeda Establishes Enclave in North,” Radio Free Europe/Radio Liberty, July 17, 2002,

https://www.rferl.org/a/1100292.html; Rubin, “The Islamist Threat in Iraqi Kurdistan”; Mahalli, “Another ‘al-Qa’ida’
and New Mullahs in Iraqi Kurdistan.”
341 Mahalli, “Another ‘al-Qa’ida’ and New Mullahs in Iraqi Kurdistan”; “Peshmerga Expel Jund al-Islam from Halabja,”

Kurdistan Newsline, October 9, 2001; “Peshmerga Continue Campaign Against Jund al-Islam,” Kurdistan Newsline, September
28, 2001.
342 “Group Linked to Al-Qaeda Establishes Enclave in North.”
343 “Ansar al-Islam in Iraqi Kurdistan.” In this report, Human Rights Watch notes that the PUK alleged that 57 Arab

fighters entered Iraqi Kurdistan from Iran after the 9/11 attacks, in September 2001. Human Rights Watch concluded:
“While Human Rights Watch did not investigate these alleged links, the testimonies of villagers who had fled Biyara and
Tawela and were interviewed in September 2002 appeared to support this contention.”
344 U.S. Department of the Treasury, “Treasury Department Statement Regarding the Designation of Ansar al-Islam,”

February 20, 2003.
345 Cremonesi Lorenzo, “The Terrorist Leader, Funds for the Organization Come from bin Laden,” Corriere Della Sera

(Italian), February 2, 2004.



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By 2002, Ansar al-Islam was harboring more than 80 foreign jihadists, most of them members of
Jamaat al-Tawhid wa-l-Jihad (JTJ), including Abu Musab al-Zarqawi.346 With Ansar al-Islam’s blessing,
JTJ quickly established two bases at Dar Ghayish Khan and Sarghat. 347 The benefits of this relationship
for Ansar al-Islam were two-fold. First, AAI’s ranks were bolstered by the arrival of several hundred
trained fighters fleeing from Afghanistan, including several European nationals. 348 Second, the arrival
of European foreign fighters allowed AAI to develop a support network across Europe that included
a network of religious centers in Germany and Italy.349 In Europe, JTJ and AAI’s networks frequently
overlapped. The two groups shared a common goal of facilitating new recruits and money to northern
Iraq and sending trained fighters back to Europe.350

The arrival of Zarqawi and his cadre in Northern Iraq coincided with Ansar al-Islam’s renewed actions
against the PUK in early 2002 and the eventual departure of Mullah Krekar from Iraq in May 2002. 351
Krekar sought exile in Norway in the summer of 2002, where he continued to act as Ansar al-Islam’s
spiritual leader and funneled money to the group.352 Abu Abdullah al-Shafi eventually succeeded
Mullah Krekar as Ansar al-Islam’s new leader.353

Ansar al-Islam’s actions against leftist Kurdish groups increased in the summer of 2002. They included
attacks against PUK fighters and the Kurdish Communist Party, the capture of villages inhabited by
the Kaka’i (a syncretistic religious movement) and the displacement of their populations, and the
destruction of the Naqshbandi Sufi sect’s shrines.354 Ansar al-Islam’s campaign against the PUK and
against Kaka’i villages is significant because it reflects the degree to which Ansar al-Islam had begun
to adhere to the sectarian values that would later be associated with Zarqawi.

The fighting between Ansar al-Islam and the PUK intensified throughout the fall of 2002, with Ansar
al-Islam regularly attacking checkpoints outside Halabjah and planning terrorist attacks inside the city.


346 George Michael, “The Legend and Legacy of Abu Musab Al-Zarqawi,” Defence Studies 7, no. 3 (September 1, 2007), p.

340; Charles Lister, Profling the Islamic State (Washington, D.C: The Brookings Institution, 2014), p. 9; “Study of the
Insurgency in Anbar Province, Iraq” (Marine Corps Intelligence Activity, June 13, 2007),
https://ahec.armywarcollege.edu/CENTCOM-IRAQ-papers/0989.%20chapter3.pdf; Chivers, “Kurds Face a Second
Enemy”; Col. Joel D. Rayburn & Col. Frank K. Sobchak eds., The U.S. Army in the Iraq War: Volume 1, (Washington, D.C:
Office of the Chief of Staff of the U.S. Army, 2019), pp. 21, 48.
347 Fu’ad Husayn, “Al-Zarqawi: The Second Generation of Al-Qa’ida,” serialized in Al-Quds Al-Arabi, June 8, 2005,

http://gtrp.haverford.edu/static/gtr_site/alzarqawi2ndgenpart1.pdf; PEX 219, p. 108.
348 PEX 219, p. 108; Jeffrey Fleishman, “Militants’ Crude Camp Casts Doubt on U.S. Claims,” Los Angeles Times, April 27,

2003.
349 Sebastian Rotella, “A Road to Ansar Began in Italy,” Los Angeles Times, April 28, 2003; Sebastian Rotella, “3 Terror

Network Suspects Arrested,” Los Angeles Times, November 29, 2003; Petter Nesser, “Jihadism in Western Europe After
the Invasion of Iraq: Tracing Motivational Influences from the Iraq War on Jihadist Terrorism in Western Europe,” Studies
in Conflict & Terrorism 29, no. 4 (2006), p. 324; Raymond Bonner & Don Van Natta Jr., “Regional Terrorist Groups Pose
Growing Threat, Experts Warn,” New York Times, February 8, 2004.
350 Bonner & Van Natta Jr., “Regional Terrorist Groups Pose Growing Threat.”
351 Craig S. Smith, “Kurdish Islamic Leader Arrested in Norway on Murder Charges,” New York Times, January 3, 2004.
352 Bill Roggio, “Iraqi Troops Detain Deputy Leader of Ansar Al Islam,” Long War Journal, August 4, 2009; Angel Rabasa

et al., Beyond Al-Qaeda: The Global Jihadist Movement (Santa Monica, CA: Rand Corporation, 2006), p. 139.
353 Kathryn Gregory “Ansar al-Islam (Iraq, Islamists/Kurdish Separatists), Ansar al-Sunna,” Council on Foreign Relations,

backgrounder, n.d., https://www.cfr.org/backgrounder/ansar-al-islam-iraq-islamistskurdish-separatists-ansar-al-Sunna.
354 “U.S. vs. Iraq: Saddam May Have Fired the First Shot,” Christian Science Monitor, April 9, 2002; C. J. Chivers, “Islamic

Militants Clash with Kurdish Forces in Northern Iraq,” New York Times, December 5, 2002; “Kurdish Group Formed to
Fight Secular Rule,” The New York Times, December 15, 2002.



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Ansar al-Islam’s ability to sustain its operation against the PUK astonished Kurdish observers, to
whom this suggested that the group was receiving significant external support, specifically from Iran. 355
Their conclusions about Iranian support align with those of outside observers. David Romano, an
academic who has focused on Kurdish issues, writes that:

         A significant degree of Iranian support was necessary for Ansar al-Islam to function,
         given that the group’s military supplies came in from Iran (the mountainous region
         they controlled touches the Iranian border), veterans from Afghanistan joined them
         via Iran, and their cadres (including Mullah Krekar himself) entered and left the area
         via Iran. The Shiite regime in Iran likely provided support to this radical Sunni group
         as a means of exercising leverage on the Kurdish secular parties ruling the KRG.
         Support for Ansar al-Islam could provide Iran with a particularly effective means of
         warning Iraqi Kurds not to allow Iranian Kurdish dissidents based in the KRG (the
         Kurdistan Democratic Party of Iran and Komala) to make too much trouble for
         Iran.356

With the prospect of Coalition forces invading Iraq looming, the JTJ cadre in Ansar al-Islam’s territory
consolidated at Dar Ghayish Khan, choosing this location because it was remote. 357 Ansar al-Islam’s
leadership relocated to Hanay Din and Shakhi Shiram, relying on caves to keep them safe from
anticipated Coalition attacks. This period also coincided with another reported influx of al-Qaeda
members to Ansar al-Islam.358 Designating Ansar al-Islam as a terrorist group in February 2003, the
U.S. Treasury shed light on the tight cooperation between Ansar al-Islam and al-Qaeda at this time:

         [Ansar al-Islam, which Treasury acronymizes as AI] is a terrorist group operating in
         northeastern Iraq with close links to and support from al-Qa’ida. Al-Qa’ida and Bin
         Laden participated in the formation and funding of Ansar al-Islam and AI has
         provided safe haven to al-Qaeda in northeastern Iraq.… AI has acknowledged that it
         contracted ‘Islamic figures’ abroad before declaring jihad in northeastern Iraq.

         Ansar al-Islam has received training and logistical assistance from al-Qa’ida. Groups
         of AI’s Kurdish members have traveled to Afghanistan to train with al-Qa’ida, while
         AI’s foreign members are believed to be al-Qaida-trained veterans of conflicts in
         Afghanistan and Chechnya.

         Ansar al-Islam has a close association with senior al-Qa’ida operative Abu Musab al-
         Zarqawi, … whose network has established a poison and explosives training camp in
         the area of northeastern Iraq that is controlled by Ansar al-Islam. 359


355 International Crisis Group, “Radical Islam in Iraqi Kurdistan: The Mouse That Roared,” 8–9; “Al-Qaeda in Northern

Iraq?,” Strategic Comments 8, no. 7 (September 1, 2002), p. 2, https://doi.org/10.1080/1356788020873.
356 Romano, “An Outline of Kurdish Islamist Groups in Iraq,” p. 12.
357 “Ansar Al-Islam Confirms Death of Al-Qa’idah Member in Iraqi Kurdistan,” BBC Monitoring Middle East, January 7,

2003.
358 Rotella, “A Road to Ansar Began in Italy”; Craig Whitlock, “In Europe, New Force for Recruiting Radicals,” Washington

Post, February 18, 2005.
359 U.S. Department of the Treasury, “Treasury Department Statement Regarding the Designation of Ansar al-Islam,”

February 20, 2003.



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Operation Viking Hammer
Coalition military actions against Ansar al-Islam commenced on March 21, 2003, with Tomahawk
missile strikes against villages in the Ansar al-Islam enclave.360 Many fighters who were part of, or
aligned with, Ansar al-Islam surrendered after these air strikes. On March 28, a ground attack
commenced. It consisted of a six-prong advance, with each prong composed of several Special Forces
teams, CIA paramilitary operations officers, and upwards to 1,000 Kurdish fighters. 361 During the
course of the subsequent battle (March 28-30), between 120 and 250 Ansar al-Islam fighters died, and
150 were captured. Identification of the bodies of those killed during Viking Hammer reportedly
revealed how Ansar al-Islam had a “melting pot of fighters from all over the Arab world, with troves
of documents linking Al-Islam to Al-Qaida, Hezbollah, and Hamas.” 362

Ansar al-Islam lost more than half of its fighters. Nonetheless, scores of members managed to escape
across the Iranian border.363 Around 40 of these fighters were arrested by Iranian authorities and
handed over to the PUK.364 Tehran’s actions in arresting and handing over these militants do not
contradict the fact that Iran had supported, and continued to support, Ansar al-Islam. Iran’s support
for Sunni militants has always been based on “enemy of my enemy” logic rather than affinity or a
sense of permanent partnership. As Sunni militants tend to be anti-Shia in outlook, Iran has always
regarded them with suspicion even when these militants were useful to the Islamic Republic. Iran has
always tried to hedge against the threat that these Sunni militants could pose to adherents to the Shia
creed or to Iran itself. Further, Iran has been consistently willing to sell out or turn over these erstwhile
allies when there was something to be gained by doing so, just as it turned over the Ansar al-Islam
fighters in this case. Nonetheless, it is clear that far more Ansar al-Islam members fled to Iran than
were arrested by the Islamic Republic. Estimates regarding the number of Ansar al-Islam fighters who
escaped to Iran vary widely from source to source, with some estimates as high as 700.

In the aftermath of Operation Viking Hammer, Coalition forces discovered the remnants of Ansar al-
Islam chemical weapons experiments, including traces of ricin and potassium chloride, hazardous
materials suits, atropine nerve gas antidotes, and manuals on the manufacturing of chemical
weapons.365 Journalists also uncovered notes from a JTJ scientist that documented his successful
production of ricin, chlorine, phosgene, and cyanide compounds, as well as his manufacture of the
conventional explosives nitroglycerine, RDX, ammonium nitrate, and aluminum powder. 366

360 Timothy Brown, Unconventional Warfare as a Strategic Force Multiplier: Task Force Viking in Northern Iraq, 2003 (Joint Special

Operations University Press, 2017), p. 14; Rayburn & Sobchak, The U.S. Army in the Iraq War vol. 1, p. 95.
361 Brown, Unconventional Warfare as a Strategic Force Multiplier, p. 14; Rayburn & Sobchak, The U.S. Army in the Iraq War, vol.

1, p. 95; Janet Ritz, “Special Ops Deployed to Iraq: What Does It Mean?,” Huffington Post, December 6, 2017.
362 Mike Perry, “Operation Viking Hammer,” SOFREP, May 20, 2012, https://sofrep.com/news/operation-viking-

hammer/.
363 Fleishman, “Militants’ Crude Camp Casts Doubt on U.S. Claims”; Brown, Unconventional Warfare as a Strategic Force

Multiplier: Task Force Viking in Northern Iraq, 2003, p. 14; Eli Lake, “U.S., Iran in Talks over Al-Qaida Suspects,” UPI, May
8, 2003; Chris Kutschera, “L’ascension d’Ansar Al Islam,” Radio France Internationale, December 30, 2003,
http://www1.rfi.fr/actufr/articles/051/article_26927.asp; Bakawan, “Three Generations of Jihadism in Iraqi Kurdistan,”
p. 16; Rayburn & Sobchak, The U.S. Army in the Iraq War vol. 1, p. 115.
364 Paul Gallagher, “Terrorist Camp Wiped Out by U.S.,” The Scotsman, March 31, 2003; Scott Peterson, “The Rise and Fall

of Ansar Al-Islam,” Christian Science Monitor, October 16, 2003.
365 Dana Priest & Bradley Graham, “Toxic Gas Tests Draw U.S. Study; Kurdish Group in N. Iraq Accused,” The Washington

Post, August 20, 2002; C.J. Chivers, “Instruction and Methods From Al Qaeda Took Root in North Iraq with Islamic
Fighters,” New York Times, April 27, 2003.
366 Fleishman, “Militants’ Crude Camp Casts Doubt on U.S. Claims.”




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Despite the heavy losses sustained during Operation Viking Hammer, the destruction of Ansar al-
Islam’s enclave did not mark the end of the group. The survival of Ansar al-Islam as a coherent
organization is largely a function of the support it received from the IRGC. In the wake of Operation
Viking Hammer, the IRGC facilitated AAI members’ escape into Iran. IRGC also provided medical
treatment to injured members, and provided those who wanted to travel to Afghanistan, or return to
Iraq, with fake identification cards.367 From Iran, Ansar al-Islam worked with local smugglers to
facilitate the movement of fighters seeking to return to Iraq between June and August 2003. 368 Further
supporting the conclusion that Iranian support was critical to Ansar al-Islam’s rebound following its
military losses, veteran journalist Scheherezade Faramarzi—whose long career has included coverage
of the Iranian revolution, the Iran-Iraq war, and hostage crises—writes:

         When the United States bombed Ansar al-Islam’s base in Iraq, some of the hundred
         or so survivors fled to Iran and some went on to fight in Afghanistan. Those who
         remained in Iran established the al-Qaeda Brigades in Kurdistan and pledged allegiance
         to al-Qaeda. Mullah Abdulhamid and Mullah Mohammad were the group’s more
         prominent leaders, proselytizing in the open and giving sermons in the mosques of
         major Iranian cities such as Sanandaj, Marivan, Saqqez and Bokan.

         Prominent Ansar al-Islam leaders who pledged allegiance to Zarqawi and returned to
         Iraq reorganized the group in Mosul, Howeiza and Kirkuk. Their primary goal
         remained fighting the secular Kurdistan Regional Government (KRG).

         “It’s been said that the Revolutionary Guards left the border points open and did not
         hinder their back-and-forth crossings,” said Mokhtar Hooshmand, an Iranian Kurd
         and former political prisoner who now lives in Germany, where he researches the
         spread of jihadist ideologies among Kurds.

         Hooshmand told this author, “They also allowed what remained of Ansar’s Iraqi
         fighters in Iran to proselytize and establish Salafi jihadi groups because they wanted to
         use them as a bargaining chip in their dealings with Kurdish parties in Iraq.” 369

As part of its rebound following its military losses, Ansar al-Islam began recruiting unemployed Iraqi
military and security personnel to conduct low-level attacks in return for cash payments. 370 As Ansar



367 International Crisis Group, “Iran in Iraq: How Much Influence?,” ICG Middle East Briefing, March 21, 2005, pp. 19–20;

Jeffrey Fleishman, “Ansar Fighters Surrender to Kurds; Denied Refuge in Iran, Hundreds Have Agreed to Turn
Themselves in, a Commander Says,” Los Angeles Times, April 7, 2003; “While Many Islamic Fighters Surrender, Kurds
Remain Wary of New Terrorist Attacks,” New York Times, April 7, 2003.
368 Neil MacFarquhar, “Iraq Draws a New Tide of Islamic Militants,” International Herald Tribune, August 15, 2003;

Thanassis Cambanis, “Along Border, Kurds Say, Iran Gives Boost to Uprising,” Boston Globe, November 7, 2004.
369    Scheherezade     Faramarzi,     “Iran’s   Salafi    Jihadis,”     Atlantic  Council,    May      17,  2018.
https://www.atlanticcouncil.org/blogs/iransource/iran-s-salafi-jihadis/.
370 Hisham Mohammed, “Insurgency Provides Financial Lure,” Institute for War and Peace Reporting, November 17,

2005, https://iwpr.net/global-voices/insurgency-provides-financial-lure; “Q&A: Who’s Behind the Escalating Terror
Attacks in Iraq?,” New York Times, August 19, 2003; Human Rights Watch, “A Face and a Name: Civilian Victims of
Insurgent Groups in Iraq” (2005), https://www.hrw.org/reports/2005/iraq1005/3.htm#_ftnref29.



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al-Islam continued this gradual resurgence, its leaders put out public statements signaling its intent to
resume its attacks against the U.S.-led forces.371

Initial attempts by Ansar al-Islam to reassert itself in Iraqi Kurdistan in the aftermath of Operation
Viking Hammer were frustrated by a PUK crackdown against the IMK from August to September
2003, which resulted in the arrest of hundreds of IMK members suspected of having ties to Ansar al-
Islam.372 AAI was initially far more successful in establishing itself in central Iraq, particularly in the
greater Baghdad area.373 Drawing on its support network in Europe, Ansar al-Islam also sought to
internationalize the conflict and recruit suicide bombers. It drew on financial support and foreign
fighter recruits from Britain, Germany, Italy, and France.374

Ansar al-Sunna’s Formation and Activities
Ansar al-Islam’s efforts occurred independently from JTJ and Zarqawi’s efforts, the alliance between
the groups having been severed, at least temporarily by Operation Viking Hammer. 375 On August 23,
2003, Kurdish jihadist leader Abu Abdullah al-Shafi’i made a formal declaration denouncing Krekar,
Ansar al-Islam’s former leader, as “secular” and an “apostate.”376 This declaration was followed on
September 20, 2003 with a statement announcing the establishment of Ansar al-Sunna as the group’s
national organization.377 Following the statement’s release, attacks conducted by Ansar al-Islam
members were claimed under the name Ansar al-Sunna (AAS). However, many operatives abroad,
particularly in Kurdish immigrant communities in Europe, retained their identity as a part of Ansar al-
Islam while continuing to work on behalf of Ansar al-Sunna.

In Iraq, propaganda released by Ansar al-Sunna in February 2004 suggests that the group’s initial
operations were concentrated on Mosul, Baghdad, Kirkuk, and Ramadi. AAI/AAS militants were
connected to or claimed responsibility for several high-profile attacks. 378 Ansar al-Sunna also remained

371 PEX 219, p. 126.
372 Ramadan Shamal, “No ‘Islamic Group’ Member Arrested,” Al-Sharq Al-Awsat, September 21, 2003; Kathleen Ridolfo,

“Kurdish Peshmerga Continue to Arrest Militants,” Radio Free Europe/Radio Liberty, September 25, 2003; “Al-Qa’ida
Regrouping in Iraq, ‘Arab Afghans’ in Kurdish Jails,” Al-Hayah (Arabic), April 25, 2004.
373 “Ansar Al-Islam Seen as Main Threat to U.S. in Iraq – Some Linkage to Former Regime Loyalist,” Reuters, October

23, 2003; Rayburn & Sobchak, The U.S. Army in the Iraq War vol. 1, p. 174.
374 See, for example, “Police Pounce on ‘Al-Qaeda Cell,’” BBC, November 28, 2003; “‘Serious Threat’ to Germany from

Islamist Terror Network,” BBC Monitoring, December 4, 2003; Daniel McGrory & Andrew Norfolk, “Briton Arrested in
Iraq ‘As He Tried to Join Terrorist Group,’” The Times (London), December 2, 2003; Celal Ozcan, “Terrorist With One-
Way-Ticket,” Hurriyet, October 12, 2003; Luca Fazzo, “Coi proventi della droga si finanziano i kamikaze,” La Repubblica
(Italian), November 30, 2003; Sebastian Rotella, “Italy Arrests 6 Suspects in Terror Probe,” Los Angeles Times, April 2, 2003;
Rayburn & Sobchak, The U.S. Army in the Iraq War, vol. 1, p. 174.
375 Rabasa et al., Beyond Al-Qaeda: The Global Jihadist Movement, p. 140.
376 Al-Sharq Al-Awsat, August 23, 2003 (Arabic); Rayburn & Sobchak, The U.S. Army in the Iraq War, vol. 1, p. 174.
377 Kathleen Ridolfo, “A Survey of Armed Groups in Iraq,” Radio Free Europe/Radio Liberty, June 4, 2004.
378 These attacks include the August 7, 2003, attack against the Jordanian Embassy in central Baghdad; the August 19,

2003, Canal Hotel bombing in Baghdad which targeted the U.N.’s presence in Iraq; the August 29, 2003, car bombing in
Najaf that killed 82 people; the October 9, 2003, bombing of the International Committee of the Red Cross headquarters
in Baghdad; the October 14, 2003, car bomb attack against the Turkish Embassy in Baghdad; the November 12, 2003,
bombing of the Italian paramilitary police command and control post in Nasiriyah; the November 20, 2003, attack against
the PUK headquarters in Kirkuk; the November 29, 2004, ambush of vehicles carrying Spanish intelligence officers; the
December 12, 2003, attack against a U.S. facility in Ramadi; the January 5, 2004, ambush and killing of Canadian and
British citizens; the January 18, 2004, bombing of the coalition headquarters in Baghdad; the January 31, 2004, bombing
of the al-Taqafah police center in Mosul; the February 23, 2004, bombing of the Rahimawa police station in Kirkuk; the
March 3, 2004, simultaneous bombings of Shia shrines in Baghdad and Karbala that killed at least 143 worshippers; and



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involved in northern Iraq through the first half of 2004. 379 The group’s activities, in particular its
bombing of PUK and KDP headquarters, which represented the single greatest loss inflicted on
Kurdish leadership in decades, drove home the fact that Ansar al-Sunna was making a comeback.

In February 2004, Ansar al-Sunna released a propaganda video that provided a specific but clearly
inflated tally of its activities, claiming to have perpetrated 285 attacks, resulting in 1,155 deaths since
October 2003. Such propaganda videos featuring the group’s exploits were regularly distributed in
Baghdad and Fallujah, extolling Ansar al-Sunna’s exploits, and framing its fight in Iraq as part of the
global jihad.380

As I have noted, the group’s earlier rhetoric called for attacks against American forces in Iraq. With
its escalation in militant operations, Ansar al-Sunna’s propaganda continued to be anti-U.S., but now
became explicitly pro-al-Qaeda.381 Al-Qaeda’s influence over AAI/AAS during this period could be
found not only in its public statements but also in its operational profile. AAI/AAS increasingly
became known for its well-timed, planned, and precise attacks. 382 The group’s attacks also regularly
employed disguises, and it developed sophisticated ambush techniques that used improvised explosive
devices and RPGs.383

Abroad, wiretaps into Ansar al-Sunna’s external networks highlighted that as early as June 2002, the
group was intent on conducting transnational terrorist attacks. 384 This international focus would later
be to Ansar al-Sunna’s detriment, as the group faced severe crackdowns by European authorities in
the wake of the March 11, 2004 terrorist attacks in Spain.385 Following these crackdowns, Ansar al-
Sunna’s European networks struggled to reorganize.

Disputes between al-Shafi’i and Zarqawi over the use of sectarian violence impeded Ansar al-Sunna’s
integration into the broader insurgency in Iraq during the first half of 2004, though the group played
a secondary role in the first battle of Fallujah.386 Unlike JTJ, Ansar al-Sunna generally avoided sectarian
rhetoric and violence in the early days of the insurgency. For example, al-Shafi’i publicly described
Ansar al-Sunna’s collaboration with the Shia militant group Jaysh al-Mahdi in an August 2004


the March 28, 2004, ambush of British and Canadian contractors near Mosul. See, for example, United Nations, “Report
of the Independent Panel on the Safety and Security of UN Personnel in Iraq,” October 20, 2003, p. 13,
https://www.un.org/News/dh/iraq/safety-security-un-personnel-iraq.pdf; Rabasa et al., Beyond Al-Qaeda: The Global
Jihadist Movement, pp. 139–40; United Nations High Commissioner for Refugees, “Chronology of Events in Iraq, February
2004” (February 2004).
379 See, for example, Rory McCarthy, “Attacks Increase Ethnic Tension Ahead of Handover,” The Guardian, February 2,

2004; Jeffrey Gettleman & Edward Wong, “Twin Bombings in Northern Iraq Kill at Least 56,” The New York Times,
February 1, 2004; Joel Roberts, “Iraq Suicide Bomber Caught on Tape,” CBS News, February 4, 2004; United Nations
High Commissioner for Refugees, “Chronology of Events in Iraq, February 2004.”
380 See discussion in Rubin, “Ansar Al-Sunna: Iraq’s New Terrorist Threat.”
381 PEX 219, p. 130.
382 Rabasa et al., Beyond Al-Qaeda: The Global Jihadist Movement, p. 143.
383 Rayburn & Sobchak, The U.S. Army in the Iraq War vol. 1, p. 353.
384 Keith Johnson & David Crawford, “Spain Bomb Suspects Had Ties Linking to Al Qaeda,” Wall Street Journal Europe,

March 16, 2004; Chivers, “Instruction and Methods From Al Qaeda Took Root in North Iraq with Islamic Fighters.”
385 “Police Pounce on ‘Al-Qaeda Cell,’” BBC, November 28, 2003; Daniel McGrory & Andrew Norfolk, “Briton Arrested

in Iraq ‘As He Tried to Join Terrorist Group,’” The Times (London), December 2, 2003; Ozcan, “Terrorist With One-Way-
Ticket”; Fazzo, “Coi proventi della droga si finanziano i kamikaze”; Rotella, “Italy Arrests 6 Suspects in Terror Probe.”
386 Rayburn & Sobchak, The U.S. Army in the Iraq War vol. 1, p. 459.




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interview with Al-Muharrir.387 This implicit criticism of Zarqawi caused a breach between JTJ (which
is what Zarqawi’s organization called itself at the time) and Ansar al-Sunna. As a result of these
disputes, it is unclear whether Ansar al-Sunna’s more extreme actions, such as the kidnapping and
execution of a dozen Nepalese contractors in August 2004, were carried out at the direction of Ansar
al-Sunna leadership or by members of the group’s cadre who were working at JTJ’s behest. 388

As this report noted previously, in October 2004, Zarqawi formally swore an oath of loyalty (bayah) to
Osama bin Laden. Zarqawi then changed JTJ’s name to Tanzim Qa’idat al-Jihad fi Bilad al-Rafidayn,
commonly known as al-Qaeda in Iraq (AQI). Ansar al-Sunna was embittered by having been passed
over as an overt al-Qaeda affiliate in favor of the Zarqawi organization. This animosity led to tense
relations between AQI and Ansar al-Sunna. The U.S. Army’s definitive history of its involvement in
the Iraq War, which involved years of research, depicts this tense relationship that forced al-Qaeda’s
senior leadership to intervene. It explains that al-Qaeda’s

         alarm had been magnified by exaggerated warnings from the insurgent group Ansar al
         Sunna, which had long resented Zarqawi and believed it—rather than AQI—should
         be in charge of al-Qaeda’s franchise in Iraq. Ansar al Sunna held Zarqawi personally
         responsible for the destruction of its parent organization, Ansar al-Islam, in northern
         Iraq in 2003, and, like some other insurgent groups, opposed Zarqawi’s targeting of
         Iraqi civilians and brutal beheadings. Moreover, Ansar al Sunna’s leaders believed that
         AQI and Zarqawi frequently took credit for attacks that Ansar al Sunni launched, and
         poached members from among their ranks. Relations between the two insurgent
         groups were bad enough that al-Qaeda’s senior leaders received reports that open
         fighting might break out. To resolve this dispute and get a better grasp of the situation
         in Iraq, Abdul Hadi, part of Osama Bin Laden’s inner circle, twice requested Zarqawi’s
         help to infiltrate Iraq, but Zarqawi claimed the security situation would not permit it.
         Abdul Hadi’s visit to mediate between the two groups was delayed 7 months because
         of Zarqawi’s intransigence, and the AQI–Ansar al Sunna feud festered in the
         meantime.389

Ansar al-Sunna’s bitterness was eventually tempered by two factors: (1) the fact that bin Laden had
only appointed Zarqawi as his representative, rather than as the emir of all militant groups in Iraq, and
(2) the fact that Ansar al-Sunna was given direct access to Osama bin Laden. 390 Documents later
recovered from Osama bin Laden’s compound in Abbottabad illustrate the degree to which Ansar al-
Sunna continued to be regularly consulted and valued by al-Qaeda’s senior leadership. 391 Ansar al-
Sunna’s contact with al-Qaeda’s leadership eventually led to a rapprochement between AQI and Ansar
al-Sunna. Thereafter, Ansar al-Sunna served as an intermediary between AQI and al-Qaeda. Further

387 See Kathleen Ridolfo, “Iraq: Al-Sadr Reasserts Himself – This Time Against Coreligionists,” Radio Free Europe/Radio

Liberty, August 25, 2005, https://www.rferl.org/a/1060941.html; “Iraq Report: September 10, 2004,” Radio Free
Europe/Radio Liberty, September 10, 2004, https://www.rferl.org/a/1343087.html.
388 See Sabrina Tavernise, “12 Hostages from Nepal Are Executed in Iraq, a Militant Group Claims,” New York Times,

September 1, 2004.
389 Rayburn & Sobchak, The U.S. Army in the Iraq War vol. 1, p 459.
390 Weaver, “The Short, Violent Life of Abu Musab Al-Zarqawi”; PEX 220, p. 19.
391 See, for example, “SOCOM-2012-0000011-HT: Letter from Unknown to Hafiz Sultan,” dated March 28, 2011,

https://www.hsdl.org/?abstract&did=; “SOCOM-2012-0000019-HT: Letter from Osama Bin Laden to Sheikh
Mahmud,” date estimated May 2010, https://www.hsdl.org/?abstract&did=.



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cooperation between AQI and Ansar al-Sunna was facilitated in the aftermath of the Second Battle of
Fallujah—a joint American, Iraqi, and British offensive in November and December 2004. During
the battle, Ansar al-Sunna used the outskirts of Mosul as a refuge for combatants fleeing the city,
including Zarqawi.392

This temporary reconciliation between Ansar al-Sunna and AQI is illustrated by a November 2004
joint statement, signed by a dozen organizations pledging to continue fighting Coalition forces. AAS’s
commitment to continuing the insurgency was also demonstrated by its suicide bombing against the
al-Ghazlani Coalition military base in Mosul that killed 22, including 19 Americans, on December 21,
2004. Iraq expert Kimberly Kagan of the Institute for the Study of War details U.S and British
intelligence reporting from 2004 concluding that “AAS coordinated with both AQI and Iran at the
time.”393 Kagan details reports concerning Iranian support for AAS:

         U.S. and British intelligence reports in 2004 “concluded that Ansar al-Islam was
         working closely with Iran, and also al Qaeda, in its terrorist attacks against coalition
         forces…. [O]ne British defense report noted pointedly: ‘Some elements of [Ansar al-
         Islam] remain in Iran. Intelligence indicates that elements’ of Iran’s Islamic
         Revolutionary Guard Corps ‘are providing safe haven and basic training to Iran-based
         AI [Ansar al-Islam] cadres.’” A report by the Iraq Survey Group noted that a source
         had reported “approximately 320 Ansar al-Islam terrorists being trained in Iran…for
         various attack scenarios including suicide bombings, assassinations, and general
         subversion against U.S. forces in Iraq.’” Another British intelligence source “said that
         Iranian government agencies were also secretly helping Ansar al-Islam members cross
         into Iraq from Iran, as part of a plan to mount sniper attacks against coalition forces.”
         American sources confirmed this information, adding that “an Iranian was aiding
         Ansar al-Islam ‘on how to build and set up’ improvised explosive devices, known as
         IEDs. An analyst for the U.S. Central Command offered this assessment: ‘AI [Ansar
         al-Islam] is actively attempting to improve IED effectiveness and sophistication.’” 394

Throughout the first half of 2005, AAS also appeared to significantly expand its presence in central
Iraq, likely taking advantage of its alliances with the Islamic Army of Iraq and Jaysh al-Mujahedin,
based on the number of joint operational claims filed by the three groups.

Abroad, throughout 2005-06, Ansar al-Sunna tried to rebuild and reinvigorate its European networks,
which were still reeling from the law enforcement crackdown in the aftermath of the 2004 Madrid
train bombings. Ansar al-Sunna’s efforts appear to have met with limited success, thus prompting
Ansar al-Sunna to step up its recruitment of Saudi foreign fighters. 395 This recruitment effort allowed
AAS to create its own foreign fighter network and thus bolster its standing relative to other insurgent
groups.396 Despite its growing standing, the decision by al-Shafi’i and his inner circle to keep a low

392 Truls Hallberg Tønnessen, “Training on a Battlefield: Iraq as a Training Ground for Global Jihadis,” Terrorism and

Political Violence 20, no. 4 (2008), p. 554; Weiss and Hassan, ISIS, p. 38; “Study of the Insurgency in Anbar Province, Iraq.”
393 Kimberly Kagan, Iran’s Proxy War against the United States and the Iraqi Government, Iraq Report May 2006—August 20,

2007, Institute for the Study of War, https://www.understandingwar.org/sites/default/files/reports/IraqReport06.pdf.
394 Ibid.
395 Thomas Hegghammer, “Saudis in Iraq: Patterns of Radicalization and Recruitment,” Cultures & Conflicts, June 12, 2008,

http://journals.openedition.org/conflits/10042.
396 Omer Mahdi & Rory Carroll, “Under U.S. Noses, Brutal Insurgents Rule Sunni Citadel,” The Guardian, August 21, 2005;




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profile to ensure their own security meant that the group’s leaders had increasingly little control over
their own fighters.397 In the fall of 2005, Operation SAYAID II, which was aimed at stabilizing the
western Euphrates River valley, swiftly degraded Ansar al-Sunna in the area. In the aftermath, Ansar
al-Sunna’s operations became further integrated with those of AQI, with the majority of the group’s
western Anbar cadres either falling under the operational leadership of AQI or defecting to AQI. 398
For example, the February 2006 bombing of the al-Askari Mosque, which ignited a wave of sectarian
violence, was perpetrated by Ansar al-Sunna members from Anbar who joined AQI following
Operation SAYAID II. 399 The close proximity with AQI, and the influx of foreign fighters within the
ranks of Ansar al-Sunna, coincided with Ansar al-Sunna shifting toward AQI’s sectarian targeting
strategy.400

While the aftermath of Operation SAYAID II saw close collaboration between Ansar al-Islam and
AQI, declassified correspondence between al-Shafi’i and Zarqawi’s successor Abu Ayyub al-Masri
highlights a multitude of issues between the two groups. 401 These disagreements provide insight into
some of the factors that motivated Ansar al-Sunna to remain independent from the newly-created
Mujahidin Shura Council that united AQI with five other Sunni insurgent groups, or its successor the
Islamic State of Iraq (ISI). Another factor is that much of AAS’s senior leadership was detained over
the course of 2006.402 Yet AAS and AQI retained connections. Illustrating this fact, in January 2006,
U.S. military intelligence officials described AQI, Ansar al-Islam, and Ansar al-Sunna as “three
interconnected groups [that] are the most powerful actors in the Iraqi insurgency.” 403

Ansar al-Sunna’s weakened state in 2006 led Iran to renew its support for the group in Kurdistan. Iran
reportedly facilitated the recruitment of Iranian Kurds by offering them monthly salaries of $1,500 in
return for submitting to ideological and military training.404 The scale and scope of AAS activities

Mohammed M. Hafez, “Suicide Terrorism in Iraq: A Preliminary Assessment of the Quantitative Data and Documentary
Evidence,” Studies in Conflict & Terrorism 29, no. 6 (2006), pp. 592–93.
397 Edward Wong, “Attacks by Militant Groups Rise in Mosul,” New York Times, February 22, 2005.
398 Oscar E. Gilbert, The Marine Corps Tanks Collection (Open Road Media, 2018), p. 221.
399 Edward Wong, “Iraqi Led Bombing of Shiite Shrine, Official Says,” New York Times, June 28, 2006; Kathleen Ridolfo,

“Samarra Bombing Set Off Year of Violence,” Radio Free Europe/Radio Liberty, February 12, 2007.
400 Bakawan, “Three Generations of Jihadism in Iraqi Kurdistan,” p. 15; Lionel Beehner, backgrounder, “Iraq’s Post-

Saddam Insurgency,” Council on Foreign Relations, November 14, 2006; Hafez, “Suicide Terrorism in Iraq,” p. 612.
401   See “Letter from Abu Hamza Al-Mujahir to Abi `Abdullah Al-Shafi`i,” NMEC-2007-636898,
https://ctc.usma.edu/harmony-program/letter-from-abu-hamza-al-mujahir-to-abi-abdullah-al-shafii-original-language-
2/; “Letter from Abu Hamza to Ansar Al-Sunna Highlighting Divisions,” NMEC-2007-636878,
https://ctc.usma.edu/harmony-program/letter-from-abu-hamza-to-ansar-al-Sunna-highlighting-divisions-original-
language-2/; “Letters between Abu Hamza and a Member of Al-Ansar,” NMEC-2007-636892,
https://ctc.usma.edu/harmony-program/letters-between-abu-hamza-and-a-member-of-al-ansar-page-1-original-
language-2/; “Letters between Abu Hamza and a Member of Al-Ansar,” NMEC-2007-636888,
https://ctc.usma.edu/harmony-program/letters-between-abu-hamza-and-a-member-of-al-ansar-page-2-original-
language-2/.
402 See, for example, Michael Howard, “Michael Howard in Kirkuk on Iraq’s Hospital Murders,” The Guardian, April 16,

2006, https://www.theguardian.com/world/2006/apr/17/iraq.topstories3; “Germans Give Iraqi 2½ Years for Aiding
Terrorists,” The New York Times, September 26, 2007; Bill Roggio, “Ansar Al-Sunna Shura Member Captured,” Long War
Journal, September 24, 2006.
403 Home Office Immigration and Nationality Directorate, “Operational Guidance Note: Iraq,” January 12, 2006,

https://www.ecoi.net/en/file/local/1234188/hl990_Iraq_v2.0_January_2006.pdf.
404 “Iran Allegedly Using Ansar Al-Islam, Al-Qa’idah to Interfere in Iraqi Kurdistan,” BBC Monitoring Middle East, April 28,

2007; “Report Views Relationship between Iran, Iraqi Kurds,” BBC Monitoring Middle East, April 27, 2007; “Iraqi Kurdish
Article: Border Attack Shows Iran Cannot Be Trusted,” BBC Monitoring Middle East, July 18, 2007.



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prompted Iraqi Kurdistan to temporarily close its border with Iran in April 2007. While Iran ostensibly
ended its open support for Ansar al-Sunna activities in late June 2007 under Iraqi Kurdish pressure,
Iran did not suppress Ansar al-Sunna, and the group remained active in Iranian Kurdistan. 405
Additionally, in December 2006, evidence found on captured IRGC-QF operatives detained in
Baghdad described “how the Quds Force [was] working with individuals affiliated with Al Qaeda in
Iraq and Ansar al Sunnah,” including by “importing modern, specially shaped explosive charges,”
among other weapons and organizational support.406

However, an important divide occurred that eventually led to large-scale defections from AAS. After
being released by Coalition forces, Abu Wa’il (real name Saadoun Mahoud al-Ani) attempted to
persuade the group’s leadership to reach an accord with Coalition forces.407 Abu Wa’il was a former
member of the Iraqi security services, a veteran of the Soviet-Afghan War, and the religious emir of
Ansar al-Sunna. Al-Shafi’i opposed Abu Wa’il’s proposal. This dispute led Abu Wa’il to leave AAS,
bringing numerous AAS members to be part of his new organization: Ansar al-Sunna Diwan al-Sharia
wa-l-Qada (Ansar al-Sunna Sharia and Judicial Bureau).408 Abu Wa’il’s new organization aligned itself
with the Islamic Army of Iraq, 1920 Revolution Brigades, Jaysh Rijal al-Tariqa al-Naqshabandiya, and
several other minor insurgent groups opposed to AQI that formed the Jihad and Reform Front
(JRF).409 From early May 2007, JRF sought to consolidate Sunni insurgent leadership under a single
banner to facilitate negotiations with the Government of Iraq. 410 These highly publicized defections
harmed Ansar al-Sunna.

Following the defection of Abu Wa’il, conflict between the remaining AAS senior leadership, attrition
of the group’s leadership cadre due to Coalition targeting, and the absorption of the majority of the
group’s cadres into those of AQI led to the group’s continued decline. In the face of these setbacks,
al-Shafi’i tried to rebrand his organization and rebuild, declaring on November 28, 2007 to have
reverted back to the group’s former name of Ansar al-Islam.411 In all likelihood, this rebranding was
intended to differentiate his organization from Wa’il’s splinter group. This rebranding as Ansar al-
Islam coincided with a second attempt by the group throughout 2008 to reassert itself in Diyala, Mosul,
and Kurdistan by establishing a presence in local villages.412 In doing so, AAI/AAS illustrated that it
remained active in Iraq, and that it continued to fight against Coalition forces and the Government of
Iraq despite its decline.
405 Lydia Khalil, “The Hidden Hand of Iran in the Resurgence of Ansar Al-Islam,” Terrorism Monitor 5:11, June 7, 2007,

https://jamestown.org/program/the-hidden-hand-of-iran-in-the-resurgence-of-ansar-al-islam/; Ram, “The Enemy of
My Enemy: The Odd Link Between Ansar Al-Islam, Iraq, and Iran”; “Iran’s Envoy to Iraq Says Tehran Not Behind
Infiltration in Kurdistan,” BBC Monitoring Middle East, September 15, 2007; Alexandra Zavis, “Iran Reopens Its Border
with Iraq’s Kurdish North,” Los Angeles Times, October 9, 2007.
406 Eli Lake, “Iran’s Secret Plan for Mayhem,” The New York Sun, January 3, 2007, https://www.nysun.com/article/foreign-

irans-secret-plan-for-mayhem; Sudarsan Raghavan & Robin Wright, “Iraq Expels 2 Iranians Detained by U.S.,” The
Washington Post, December 30, 2006.
407 Stanley McChrystal, My Share of the Task: A Memoir (New York: Penguin, 2013), pp. 247–48.
408 Ibid., p. 261.
409 See ibid.; “Six Iraqi Sunni Insurgent Groups Form New Body,” Reuters, October 11, 2007.
410 McChrystal, My Share of the Task, p. 261; “Iraq Islamist Groups Form Rival Coalition to Qaeda,” Reuters, May 3, 2007.
411 Gus Martin, The SAGE Encyclopedia of Terrorism, Second Edition (SAGE Publications, 2011).
412 “Iraqi Diyala Official Says Kurdish-Speaking Gunmen in League with Suicide Attackers,” BBC Monitoring Middle East,

May 9, 2008; “Mosul Operation Has Led Al Qaida Gunmen ‘to Leave,’” Gulf News, May 27, 2008; “Iraq Ansar Al-Islam
Claims Attack on U.S. Minesweeper in Mosul,” BBC Monitoring Middle East, July 3, 2008; “Iraqi Kurdistan Forces Foil
Ansar Al-Islam Infiltration Attempts,” BBC Monitoring Middle East, July 21, 2008; “Iraqi Kurd Paper Reports on Rise of
Islamic Group Activity on Iran Border,” BBC Monitoring Middle East, February 14, 2008.



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While AAI/AAS remained a significant terrorist threat—particularly in the Nineveh and Diyala
provinces—Ansar al-Islam was nonetheless a significantly diminished force. In Iranian Kurdistan,
Ansar al-Sunna was forced to fight alongside members of the IRGC against the Partiya Jiyana Azad a
Kurdistanê (Kurdistan Free Life Party, or PJAK) in return for a continued Iran-based safe haven. They
did this despite having adopted a severe anti-Shia stance in 2006-07.413

On May 3, 2010, al-Shafi’i was captured by U.S. forces in Baghdad. Al-Shafi’i’s capture marked the
removal of one of the last remaining members of AAI/AAS’s original leadership cadre and forced
Ansar al-Islam into a period of near inactivity. It took nearly a year until a new emir was named. On
December 15, 2011, Ansar al-Islam announced its decision to name Abu Hashim Muhammad bin
Abd al-Rahman al-Ibrahim as its new emir.414 Following the appointment of Abu Hashim, Ansar al-
Islam’s major focus seems to have been rebuilding the group’s technical capabilities, as propaganda
released by the group following his succession publicized its expertise in remote-controlled cars for
use as VBIEDs, the independent development and manufacture of rockets, electronic circuit boards,
and IEDs intended to defeat Coalition electronic counter-measures. 415

Summary of Iranian Support for Ansar al-Islam/Ansar al-Sunna
Overall, Iran provided several categories of material support to Ansar al-Islam/Ansar al-Sunna during
the relevant period. Here are the support activities that Iran likely engaged in during the period at issue
in this case:

      ● First, Iran consistently bolstered AAI/AAS as a fighting and terrorist force, including
        even before Operation Viking Hammer. As this section has explained, Ansar al-Islam’s ability
        to sustain its operation against the PUK in the fall of 2002 led Kurdish observers to conclude
        that the group received significant external support from Iran, a conclusion that aligned with
        that of informed outside observers. This support reportedly came in the form of military
        supplies and serving as a transit point for militants. For example, reporting from 2004 indicates
        Iran’s provision of weapons training to AAI members in Iran, as well as travel facilitation to
        execute specific attacks against Coalition forces.416 In 2006, evidence of Iran’s continued
        provision of weapons to AAS emerged after IRGC-QF members were detained in Baghdad. 417
        Validating my conclusion in this regard, this Court has previously held Iran liable for an AAI-
        attributed attack based on Iran’s provision of material support to AAI that bolstered the group
        as a fighting and terrorist force.418

413     Scheherezade      Faramarzi,        “Iran’s     Salafi     Jihadis,”      Atlantic     Council,      May       17,     2018,
https://www.atlanticcouncil.org/blogs/iransource/iran-s-salafi-jihadis; “Iran Reportedly Backed by Ansar Al-Islam
against PJAK Rebels,” BBC Monitoring Middle East, April 11, 2008.
414 Thomas Joscelyn & Bill Roggio, “Ansar Al Islam Names New Leader,” Long War Journal, January 5, 2012.
415 See Small Arms Survey 2013 (Cambridge University Press, 2013), p. 235; Marc Goodman, “How Terrorists Are Turning

Robots Into Weapons,” Defense One, April 16, 2015; “Home Made, Printed, and Remote Controlled Firearms,” TRENDS
Research and Advisory, June 21, 2015, http://trendsinstitution.org/home-made-printed-and-remote-controlled-firearms-
terrorism-and-insurgency-implications/; Noah Shachtman, “Iraq Militants Brag: We’ve Got Robotic Weapons, Too,”
Wired, October 4, 2011.
416 Kagan, “Iran’s Proxy War.”
417 Lake, “Iran’s Secret Plan for Mayhem;” Raghavan & Wright, “Iraq Expels 2 Iranians Detained by U.S.”
418 Memorandum Opinion and Order, Fishbeck v. Islamic Republic of Iran, No. 1:18-cv-02248- CRC (D.D.C., Aug. 18, 2023)

(“Given the sophistication of the attack, the location of the attack in an AAI safe haven, and a credible attribution by both
plaintiffs’ expert and a military report, the Court is satisfied that there is sufficient evidence to attribute the fifth bellwether
attack to AAI, which received material support from the defendants, and holds the defendants liable for the attack.”).


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   ● Second, Iran provided safe haven to fleeing members and leaders following Operation
     Viking Hammer in 2003. The IRGC helped facilitate the escape of these leaders and
     operatives, provided them with medical assistance, and eventually provided refuge for them
     inside Iran. Given the intensity of the Operation Viking Hammer military operation, it is
     reasonable to conclude, as I do, that the survival of Ansar al-Islam as a coherent organization
     is largely a function of the support it received from the IRGC.

   ● Third, Iran’s provision of safe haven to AAI/AAS continued for years thereafter. As I
     detailed, Iran arranged a quid pro quo with AAI/AAS in 2008 in which AAI/AAS fought
     alongside members of the IRGC against the Kurdistan Free Life Party in exchange for
     continued safe haven in Iran. Safe haven is a significant boon for any militant organization,
     bolstering the full range of its capabilities, and it is evident that AAI/AAS highly valued its
     safe haven in Iran—enough that it could be persuaded to fight Iran’s enemies to maintain this
     territorial access. This safe haven in Iran significantly enhanced AAI/AAS’s ability to conduct
     operations in Iraq, which was the major focus of the group’s militant activities.

   ● Fourth, Iran provided travel facilitation to AAI/AAS in multiple ways. These included not
     only allowing fighters to pass through the Iran-Iraq border, but also providing them with fake
     identification cards and coordinating the movement of AAI/AAS fighters with local
     smugglers. This travel facilitation helped AAI/AAS’s militant efforts in Iraq by bolstering the
     safe haven that the group enjoyed in Iran and also providing it with greater access to resources,
     given that travel facilitation routes can also double as routes to smuggle goods, money, and
     personnel.

   ● Fifth, Iran aided AAI/AAS’s recruitment during a period of the group’s weakness in
     2006. As I detailed, at this time Iran reportedly facilitated the recruitment of Iranian Kurds by
     offering them monthly salaries of $1,500, which bolstered AAI/AAS’s operations in Iraq.
     Even after Iran ostensibly ended its open support for Ansar al-Sunna activities in late June
     2007 under Iraqi Kurdish pressure, the Islamic Republic still did not suppress Ansar al-Sunna,
     and the group remained active in Iranian Kurdistan.

VII.     Conclusion

Thus, relying on my background, education, training and experience, as well as substantial evidence
commonly used by experts in relevant fields, it is my expert opinion that:

  ● The Islamic Republic of Iran has an extensive history of using VNSAs as proxy groups to
    advance its foreign policy goals. Among other things, Iran has used these groups to launch
    attacks against U.S. forces in Iraq while retaining a degree of plausible deniability. The Islamic
    Republic has backed militant groups that include al-Qaeda, the Zarqawi organization (aka al-
    Qaeda in Iraq), and Ansar al-Islam/Ansar al-Sunna, when such support aligned with Iran’s state
    interests.

  ● Iran provided substantial support to al-Qaeda, the Zarqawi organization, and Ansar al-
    Islam/Ansar al-Sunna, in the form of training, financial support, weapons, safe haven, lodging,
    travel and transportation, and expert knowledge and assistance in tactics, techniques,


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      procedures, and attack planning. Iranian support to al-Qaeda also enabled al-Qaeda to support
      the Zarqawi organization and Ansar al-Islam/Ansar al-Sunna.

I have been assisted by Valens Global staff in this matter. My analyses, opinions, and conclusions are
based solely on the work performed by me, and those under my supervision, through the date of this
report. I am compensated for my work on this matter at an hourly rate of $420. My compensation is
not contingent upon my opinions and conclusions, or the outcome of this matter. This report is
subject to change or modification should additional relevant information become available, which
bears upon the analysis, opinions, or conclusions contained herein.

I hold the conclusions and opinions detailed in this declaration to a reasonable degree of professional
certainty, and declare the foregoing under the penalty of perjury:


_________________________________________
Daveed Gartenstein-Ross, Ph.D.




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